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                        EXHIBIT A
                                    In Support of
                 Motion for Leave to Amend to Add OptumRx
    Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 2 of 88. PageID #: 640492
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                       Plaintiff       State         Signed by

                     City of Lorain v. Purdue Pharma L.P. et
1:17-op-45000-DAP                                                  Lorain city      Ohio      /s/ Shayna E. Sacks
                                        al
                     City of Parma v. Purdue Pharma L.P. et
1:17-op-45001-DAP                                                 Parma City        Ohio      /s/ Shayna E. Sacks
                                       al
                     County of Cuyahoga v. Purdue Pharma
1:17-op-45004-DAP                                              Cuyahoga County      Ohio      /s/ Shayna E. Sacks
                                  L.P. et al

1:17-op-45005-DAP City of Toledo v. Purdue Pharma LP et al        Toledo City       Ohio      /s/ Shayna E. Sacks

                       Anderson County Fiscal Court v.
1:17-op-45006-DAP    Amerisourcebergen Drug Corporation et      Anderson County    Kentucky   /s/ Peter J. Mougey
                                      al
                        Franklin County Fiscal Court v.
1:17-op-45007-DAP    Amerisourcebergen Drug Corporation et      Franklin County    Kentucky   /s/ Peter J. Mougey
                                      al
                            Birmingham, City of v.
1:17-op-45008-DAP    Amerisourcebergen Drug Corporation et      Birmingham City    Alabama    /s/ Shayna E. Sacks
                                      al
                        Shelby County Fiscal Court v.
1:17-op-45009-DAP    Amerisourcebergen Drug Corporation et       Shelby County     Kentucky   /s/ Peter J. Mougey
                                      al
                         Henry County Fiscal Court v.
1:17-op-45010-DAP    Amerisourcebergen Drug Corporation et       Henry County      Kentucky   /s/ Peter J. Mougey
                                      al
                       Madison County Fiscal Court v.
1:17-op-45011-DAP    Amerisourcebergen Drug Corporation et      Madison County     Kentucky   /s/ Peter J. Mougey
                                      al
                     Fiscal Court of Cumberland County v.
1:17-op-45012-DAP   AmerisourceBergen Drug Corporation et      Cumberland County   Kentucky   /s/ Peter J. Mougey
                                       al
                    Louisville/Jefferson County Metro
1:17-op-45013-DAP Government v. AmerisourceBergen Drug          Jefferson County   Kentucky   /s/ Peter J. Mougey
                             Corporation et al
                      Fiscal Court of Union County v.
1:17-op-45015-DAP   AmerisourceBergen Drug Corporation et        Union County      Kentucky   /s/ Peter J. Mougey
                                      al
                      Fiscal Court of Carlisle County v.
1:17-op-45016-DAP   AmerisourceBergen Drug Corporation et       Carlisle County    Kentucky   /s/ Peter J. Mougey
                                      al
                         Boyle County Fiscal Court v.
1:17-op-45018-DAP    Amerisourcebergen Drug Corporation et       Boyle County      Kentucky   /s/ Peter J. Mougey
                                      al
                        Fleming County Fiscal Court v.
1:17-op-45019-DAP    Amerisourcebergen Drug Corporation et      Fleming County     Kentucky   /s/ Peter J. Mougey
                                      al
                         Boone County Fiscal Court v.
1:17-op-45020-DAP    Amerisourcebergen Drug Corporation et       Boone County      Kentucky   /s/ Peter J. Mougey
                                      al
                       Pendleton County Fiscal Court v.
1:17-op-45021-DAP    Amerisourcebergen Drug Corporation et      Pendleton County   Kentucky   /s/ Peter J. Mougey
                                      al
                       Campbell County Fiscal Court v.
1:17-op-45022-DAP    Amerisourcebergen Drug Corporation et      Campbell County    Kentucky   /s/ Peter J. Mougey
                                      al
                        Garrard County Fiscal Court v.
1:17-op-45023-DAP    Amerisourcebergen Drug Corporation et      Garrard County     Kentucky   /s/ Peter J. Mougey
                                      al



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    Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 3 of 88. PageID #: 640493
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff          State         Signed by

                       Lincoln County Fiscal Court v.
1:17-op-45024-DAP   Amerisourcebergen Drug Corporation et           Lincoln County       Kentucky   /s/ Peter J. Mougey
                                     al
                      Nicholas County Fiscal Court v.
1:17-op-45025-DAP   Amerisourcebergen Drug Corporation et          Nicholas County       Kentucky   /s/ Peter J. Mougey
                                     al
                         Bell County Fiscal Court v.
1:17-op-45026-DAP   Amerisourcebergen Drug Corporation et            Bell County         Kentucky   /s/ Peter J. Mougey
                                     al
                       Harlan County Fiscal Court v.
1:17-op-45027-DAP   Amerisourcebergen Drug Corporation et           Harlan County        Kentucky   /s/ Peter J. Mougey
                                     al
                        Knox County Fiscal Court v.
1:17-op-45028-DAP   Amerisourcebergen Drug Corporation et            Knox County         Kentucky   /s/ Peter J. Mougey
                                     al
                        Leslie County Fiscal Court v.
1:17-op-45029-DAP   Amerisourcebergen Drug Corporation et           Leslie County        Kentucky   /s/ Peter J. Mougey
                                     al
                       Whitley County Fiscal Court v.
1:17-op-45030-DAP   Amerisourcebergen Drug Corporation et           Whitley County       Kentucky   /s/ Peter J. Mougey
                                     al
                         Clay County Fiscal Court v.
1:17-op-45031-DAP   Amerisourcebergen Drug Corporation et            Clay County         Kentucky   /s/ Peter J. Mougey
                                     al

1:17-op-45032-DAP      Dayton v. Purdue Pharma LP et al       Dayton city (MONTGOMERY)    Ohio      /s/ Shayna E. Sacks

                      Clermont County Board Of County
1:17-op-45033-DAP    Commissioners v. AmerisourceBergen            Clermont County        Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al
                       Belmont County Board of County
1:17-op-45034-DAP    Commissioners v. AmerisourceBergen            Belmont County         Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al
                       Brown County Board of County
1:17-op-45035-DAP    Commissioners v. Amerisourcebergen             Brown County          Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al
                       Vinton County Board of County
1:17-op-45036-DAP    Commissioners v. AmerisourceBergen             Vinton County         Ohio      /s/ Peter J. Mougey
                              Corporation et al
                       Jackson County Board of County
1:17-op-45037-DAP    Commissioners v. Amerisourcebergen             Jackson County        Ohio      /s/ Peter J. Mougey
                            Drug Corporation et al
                       Scioto County Board of County
1:17-op-45038-DAP    Commissioners v. AmerisourceBergen             Scioto County         Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al
                        Pike County Board of County
1:17-op-45039-DAP    Commissioners v. Amerisourcebergen              Pike County          Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al
                        Ross County Board of County
1:17-op-45040-DAP    Commissioners v. Amerisourcebergen              Ross County          Ohio      /s/ Peter J. Mougey
                           Drug Corporation et al

                    City Of Cincinnati v. Amerisourcebergen
1:17-op-45041-DAP                                                   Cincinnati City       Ohio      /s/ Peter J. Mougey
                             Drug Corporation et al

                    City of Portsmouth v. Amerisourcebergen
1:17-op-45042-DAP                                                  Portsmouth City        Ohio      /s/ Peter J. Mougey
                             Drug Corporation et al




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    Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 4 of 88. PageID #: 640494
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                      Case Caption                               Plaintiff                    State             Signed by

                    Gallia County Board of Commissioners v.
1:17-op-45043-DAP   AmerisourceBergen Drug Corporation et                  Gallia County                   Ohio          /s/ Peter J. Mougey
                                       al
                    Hocking County Board of Commissioners
1:17-op-45044-DAP   v. AmerisourceBergen Drug Corporation                 Hocking County                   Ohio          /s/ Peter J. Mougey
                                    et al
                         Lawrence County Board of
1:17-op-45045-DAP     Commissioners v. AmerisourceBergen                 Lawrence County                   Ohio          /s/ Peter J. Mougey
                            Drug Corporation et al

1:17-op-45046-DAP City of Everett v. Purdue Pharma LP et al                 Everett City               Washington      /s/ Christopher M. Huck

                    City of Tacoma v. Purdue Pharma, L.P. et
1:17-op-45047-DAP                                                           Tacoma City                Washington           /s/ David Ko
                                       al
                       People of the State of Illinois et al v.   People of the State of Illinois et
1:17-op-45048-DAP                                                                                         Illinois         /s/ David Cates
                             Purdue Pharma LP et al                              al
                      People of the State of Illinois et al v.
1:17-op-45049-DAP    Amerisourcebergen Drug Corporation et                 Jersey County                  Illinois       /s/ Peter J. Mougey
                                        al
                       People of State of Illinois et al v.
1:17-op-45050-DAP    Amerisourcebergen Drug Corporation et               Alexander County                 Illinois       /s/ Peter J. Mougey
                                       al
                       Wyoming County Commission v.
                                                                                                                       /s/ Warren R. McGraw
1:17-op-45051-DAP    AmerisourceBergen Drug Corporation et               Wyoming County                West Virginia
                                                                                                                                 II
                                      al
                       Fiscal Court of Oldham County v.
1:17-op-45067-DAP    AmerisourceBergen Drug Corporation et                Oldham County                  Kentucky        /s/ Peter J. Mougey
                                       al
                      Fiscal Court of Henderson County v.
1:17-op-45069-DAP    AmerisourceBergen Drug Corporation et              Henderson County                 Kentucky        /s/ Peter J. Mougey
                                       al
                       Fiscal Court of Christian County v.
1:17-op-45070-DAP    AmerisourceBergen Drug Corporation et               Christian County                Kentucky        /s/ Peter J. Mougey
                                        al
                       Fiscal Court of Marshall County v.
1:17-op-45071-DAP    AmerisourceBergen Drug Corporation et               Marshall County                 Kentucky        /s/ Peter J. Mougey
                                       al
                      People of the State of Illinois et al v.
1:17-op-45078-DAP    AmerisourceBergen Drug Corporation et               Christian County                 Illinois       /s/ Peter J. Mougey
                                       al
                        City of Fort Payne, Alabama v.
1:17-op-45079-DAP    Amerisourcebergen Drug Corporation et                Fort Payne City                Alabama         /s/ Peter J. Mougey
                                       al
                  County of Mora v. Purdue Pharma L.P. et
1:17-op-45080-DAP                                                          Mora County                 New Mexico        /s/ Shayna E. Sacks
                                     al
                   St. Louis County, Missouri v. Purdue
1:17-op-45083-DAP                                                         St Louis County                Missouri         /s/ Jayne Conroy
                             Pharma L.P. et al
                         Boyd County Fiscal Court v.
1:17-op-45084-DAP    Amerisourcebergen Drug Corporation et                 Boyd County                   Kentucky        /s/ Peter J. Mougey
                                      al
                  County of Upshur v. Purdue Pharma L.P.
1:17-op-45085-DAP                                                         Upshur County                   Texas          /s/ Jeffrey B. Simon
                                   et al
                  County of Morris v. Purdue Pharma L.P.
1:17-op-45086-DAP                                                          Morris County                  Texas          /s/ Jeffrey B. Simon
                                   et al
                       Fiscal Court of Greenup County v.
1:17-op-45088-DAP    Amerisourcebergen Drug Corporation et                Greenup County                 Kentucky        /s/ Peter J. Mougey
                                       al



                                                                                                                              Page 3 of 87
    Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 5 of 88. PageID #: 640495
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                         Plaintiff              State             Signed by

                      Fiscal Court of Kenton County v.
1:17-op-45089-DAP   Amerisourcebergen Drug Corporation et          Kenton County           Kentucky        /s/ Peter J. Mougey
                                      al
                      Jessamine County Fiscal Court v.
1:17-op-45090-DAP   Amerisourcebergen Drug Corporation et         Jessamine County         Kentucky        /s/ Peter J. Mougey
                                     al
                       Lexington-Fayette Urban County
1:17-op-45092-DAP   Government v. Amerisourcebergen Drug Lexington-Fayette Urban County    Kentucky        /s/ Peter J. Mougey
                              Corporation et al

1:17-op-45093-DAP Adams County v. Purdue Pharma LP et al           Adams County            Wisconsin        /s/ Jayne Conroy

                     Scott County Indiana Board of
1:17-op-45094-DAP Commissioners v. Purdue Pharma L.P. et            Scott County            Indiana      /s/ D. Blayne Honeycutt
                                    al
                    Marathon County v. Purdue Pharma LP et
1:17-op-45095-DAP                                                 Marathon County          Wisconsin        /s/ Jayne Conroy
                                      al

1:17-op-45096-DAP   Green County v. Purdue Pharma LP et al          Green County           Wisconsin        /s/ Jayne Conroy

                       Tallapoosa County, Alabama v.
1:17-op-45097-DAP   Amerisourcebergen Drug Corporation et         Tallapoosa County        Alabama         /s/ Peter J. Mougey
                                     al

1:17-op-45098-DAP    Sauk County v. Purdue Pharma LP et al          Sauk County            Wisconsin        /s/ Jayne Conroy

1:17-op-45099-DAP    Iowa County v. Purdue Pharma LP et al          Iowa County            Wisconsin        /s/ Jayne Conroy

                    Luzerne County, Pennsylvania v. Purdue
1:17-op-45100-DAP                                                  Luzerne County         Pennsylvania     /s/ Peter J. Mougey
                              Pharma L.P. et al
                      City of Gadsden, Alabama et al v.
1:17-op-45101-DAP   Amerisourcebergen Drug Corporation et          Etowah County           Alabama         /s/ Peter J. Mougey
                                     al
                      City of Gadsden, Alabama et al v.
1:17-op-45101-DAP   Amerisourcebergen Drug Corporation et           Gadsden city           Alabama         /s/ Peter J. Mougey
                                     al
                    County of Wayne et al v. Purdue Pharma                                                    /s/ Sharon S.
1:17-op-45102-DAP                                                  Oakland County          Michigan
                                  L.P. et al                                                                   Almonrode
                    County of Wayne et al v. Purdue Pharma                                                    /s/ Sharon S.
1:17-op-45102-DAP                                                WAYNE COUNTY              Michigan
                                  L.P. et al                                                                   Almonrode
                     People of the State of Illinois, et al v.
1:17-op-45103-DAP   Amerisourcebergen Drug Corporation, et         Wabash County            Illinois       /s/ Peter J. Mougey
                                       al

1:17-op-45104-DAP    Door County v. Purdue Pharma LP et al          Door County            Wisconsin        /s/ Jayne Conroy

                        Laurel County Fiscal Court v.
1:17-op-45105-DAP   Amerisourcebergen Drug Corporation et          Laurel County           Kentucky        /s/ Peter J. Mougey
                                     al
                    Fond du Lac County v. Purdue Pharma
1:17-op-45106-DAP                                                Fond Du Lac County        Wisconsin        /s/ Jayne Conroy
                                  LP et al
                    Douglas County v. Purdue Pharma LP et
1:17-op-45107-DAP                                                  Douglas County          Wisconsin        /s/ Jayne Conroy
                                      al

1:17-op-45108-DAP   Rock County v. Purdue Pharma LP et al           Rock County            Wisconsin        /s/ Jayne Conroy

                       Pulaski County Fiscal Court v.
1:17-op-45109-DAP   Amerisourcebergen Drug Corporation et          Pulaski County          Kentucky        /s/ Peter J. Mougey
                                     al




                                                                                                                Page 4 of 87
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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                       Plaintiff         State         Signed by

                        Perry County Fiscal Court v.
1:17-op-45110-DAP   Amerisourcebergen Drug Corporation et        Perry County      Kentucky    /s/ Peter J. Mougey
                                     al
                    Eau Claire County v. Purdue Pharma LP
1:17-op-45112-DAP                                             Eau Claire County    Wisconsin    /s/ Jayne Conroy
                                     et al
                     Washington County v. Purdue Pharma
1:17-op-45114-DAP                                             Washington County    Wisconsin    /s/ Jayne Conroy
                                  Inc et al

1:17-op-45115-DAP   Grant County v. Purdue Pharma LP et al       Grant County      Wisconsin    /s/ Jayne Conroy

1:17-op-45116-DAP   Rusk County v. Purdue Pharma Inc et al       Rusk County       Wisconsin    /s/ Jayne Conroy

                   Columbia County v. Purdue Pharma LP
1:17-op-45118-DAP                                              Columbia County     Wisconsin    /s/ Jayne Conroy
                                  et al
                  Shawano County v. Purdue Pharma LP et
1:17-op-45119-DAP                                              Shawano County      Wisconsin    /s/ Jayne Conroy
                                    al

1:17-op-45120-DAP Oconto County v. Purdue Pharma LP et al       Oconto County      Wisconsin    /s/ Jayne Conroy

                     Jackson County v. Purdue Pharma LP et
1:17-op-45121-DAP                                               Jackson County     Wisconsin    /s/ Jayne Conroy
                                        al
                    Jefferson County v. Purdue Pharma LP et
1:17-op-45122-DAP                                              Jefferson County    Wisconsin    /s/ Jayne Conroy
                                        al
                     Washburn County v. Purdue Pharma LP
1:17-op-45123-DAP                                              Washburn County     Wisconsin    /s/ Jayne Conroy
                                      et al
                    Langlade County v. Purdue Frederick Co
1:17-op-45124-DAP                                              Langlade County     Wisconsin    /s/ Jayne Conroy
                                      et al
                    Florence County v. Purdue Pharma LP et
1:17-op-45125-DAP                                              Florence County     Wisconsin    /s/ Jayne Conroy
                                       al

1:17-op-45126-DAP   Price County v. Purdue Pharma LP et al       Price County      Wisconsin    /s/ Jayne Conroy

1:17-op-45127-DAP   Wood County v. Purdue Pharma LP et al       Wood County        Wisconsin    /s/ Jayne Conroy

                    Sheboygan County v. Purdue Pharma LP
1:17-op-45128-DAP                                             Sheboygan County     Wisconsin    /s/ Jayne Conroy
                                    et al

1:17-op-45129-DAP Oneida County v. Purdue Pharma LP et al       Oneida County      Wisconsin    /s/ Jayne Conroy

                    Ashland County v. Purdue Pharma LP et
1:17-op-45130-DAP                                              Ashland County      Wisconsin    /s/ Jayne Conroy
                                      al
                    Burnett County v. Purdue Pharma LP et
1:17-op-45131-DAP                                               Burnett County     Wisconsin    /s/ Jayne Conroy
                                      al
                    Chippewa County v. Purdue Pharma LP
1:17-op-45132-DAP                                              Chippewa County     Wisconsin    /s/ Jayne Conroy
                                     et al

1:17-op-45133-DAP   Dunn County v. Purdue Pharma LP et al        Dunn County       Wisconsin    /s/ Jayne Conroy

1:17-op-45134-DAP   Forest County v. Purdue Pharma LP et al     Forest County      Wisconsin    /s/ Jayne Conroy

                    Manitowoc County v. Purdue Pharma LP
1:17-op-45135-DAP                                             Manitowoc County     Wisconsin    /s/ Jayne Conroy
                                    et al
                    Marquette County v. Purdue Pharma LP
1:17-op-45136-DAP                                              Marquette County    Wisconsin    /s/ Jayne Conroy
                                    et al
                    Sawyer County v. Purdue Pharma LP et
1:17-op-45137-DAP                                               Sawyer County      Wisconsin    /s/ Jayne Conroy
                                     al
                    Trempealeau County v. Purdue Pharma
1:17-op-45138-DAP                                             Trempealeau County   Wisconsin    /s/ Jayne Conroy
                                  LP et al
                    Waushara County v. Purdue Pharma LP
1:17-op-45139-DAP                                              Waushara County     Wisconsin    /s/ Jayne Conroy
                                    et al




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  Case Number                     Case Caption                            Plaintiff                State            Signed by

                     Buffalo County v. Purdue Pharma LP et
1:17-op-45141-DAP                                                     Buffalo County             Wisconsin       /s/ Jayne Conroy
                                       al
                    Calumet County v. Purdue Pharma LP et
1:17-op-45142-DAP                                                     Calumet County             Wisconsin       /s/ Jayne Conroy
                                      al

1:17-op-45143-DAP Dodge County v. Purdue Pharma LP et al               Dodge County              Wisconsin       /s/ Jayne Conroy

                    Kenosha County v. Purdue Pharma LP et
1:17-op-45144-DAP                                                     Kenosha County             Wisconsin       /s/ Jayne Conroy
                                      al
                  Marinette County v. Purdue Pharma LP et
1:17-op-45145-DAP                                                    Marinette County            Wisconsin       /s/ Jayne Conroy
                                     al
                  Monroe County v. Purdue Pharma LP et
1:17-op-45146-DAP                                                     Monroe County              Wisconsin       /s/ Jayne Conroy
                                     al
                    St. Croix County v. Purdue Pharma LP et
1:17-op-45147-DAP                                                     St Croix County            Wisconsin       /s/ Jayne Conroy
                                        al
                     Vernon County v. Purdue Pharma LP et
1:17-op-45148-DAP                                                      Vernon County             Wisconsin       /s/ Jayne Conroy
                                      al

1:17-op-45150-DAP    Clark County v. Purdue Pharma LP et al            Clark County              Wisconsin       /s/ Jayne Conroy

                      People of the State of Illinois et al v.
1:17-op-45151-DAP    Amerisourcebergen Drug Corporation et          Washington County             Illinois      /s/ Peter J. Mougey
                                        al
                      People of the State of Illinois et al v.
1:17-op-45152-DAP    Amerisourcebergen Drug Corporation et            Gallatin County             Illinois      /s/ Peter J. Mougey
                                        al

                    Buncombe County v. AmerisourceBergen
1:17-op-45153-DAP                                                    Buncombe County           North Carolina   /s/ Peter J. Mougey
                           Drug Corporation et al

                    County of Rusk v. Purdue Pharma L.P. et
1:17-op-45154-DAP                                                       Rusk County                Texas        /s/ Jeffrey B. Simon
                                       al
                   County of Cherokee v. Purdue Pharma
1:17-op-45155-DAP                                                     Cherokee County              Texas        /s/ Jeffrey B. Simon
                                 L.P. et al
                  Township of Irvington v. Purdue Pharma
1:17-op-45156-DAP                                                   Irvington Township          New Jersey      /s/ James E. Cecchi
                                 L.P. et al
                      People of the State of Illinois et al v.
1:17-op-45157-DAP    Amerisourcebergen Drug Corporation et            Hamilton County             Illinois      /s/ Peter J. Mougey
                                        al
                      People of the State of Illinois et al v.
1:17-op-45158-DAP    Amerisourcebergen Drug Corporation et             Pulaski County             Illinois      /s/ Peter J. Mougey
                                        al
                     County of Bowie v. Purdue Pharma L.P.
1:17-op-45159-DAP                                                      Bowie County                Texas        /s/ Jeffrey B. Simon
                                     et al
                     County of Red River v. Purdue Pharma
1:17-op-45160-DAP                                                    Red River County              Texas        /s/ Jeffrey B. Simon
                                   L.P. et al
                  County of Titus v. Purdue Pharma L.P. et
1:17-op-45161-DAP                                                       Titus County               Texas        /s/ Jeffrey B. Simon
                                      al
                  County of Lamar v. Purdue Pharma L.P.
1:17-op-45162-DAP                                                      Lamar County                Texas        /s/ Jeffrey B. Simon
                                     et al
                    Manchester, NH, City of v. Purdue
1:17-op-45163-DAP                                                     Manchester City          New Hampshire    /s/ Shayna E. Sacks
                             Pharma L.P. et al
1:17-op-45164-DAP  Anderson v. Purdue Pharma L P et al           Sheriff Of Avoyelles Parish     Louisiana       /s/ Jayne Conroy

1:17-op-45165-DAP   Pierce County v. Purdue Pharma LP et al            Pierce County             Wisconsin       /s/ Jayne Conroy

                  Waupaca County v. Purdue Pharma LP et
1:17-op-45166-DAP                                                     Waupaca County             Wisconsin       /s/ Jayne Conroy
                                    al
                  Lincoln County v. Purdue Pharma LP et
1:17-op-45167-DAP                                                     Lincoln County             Wisconsin       /s/ Jayne Conroy
                                    al




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  Case Number                    Case Caption                             Plaintiff                 State               Signed by

                    Bayfield County v. Purdue Pharma LP et
1:17-op-45168-DAP                                                     Bayfield County             Wisconsin         /s/ Jayne Conroy
                                       al
                        Clark County Fiscal Court v.
1:17-op-45172-DAP   Amerisourcebergen Drug Corporation et               Clark County              Kentucky         /s/ Peter J. Mougey
                                     al
                        Scott County Fiscal Court v.
1:17-op-45173-DAP   Amerisourcebergen Drug Corporation et               Scott County              Kentucky         /s/ Peter J. Mougey
                                     al
                      Woodford County Fiscal Court v.
1:17-op-45174-DAP   Amerisourcebergen Drug Corporation et            Woodford County              Kentucky         /s/ Peter J. Mougey
                                     al
1:17-op-45178-DAP     Hilton v. Purdue Pharma L P et al           Sheriff Of Rapides Parish       Louisiana         /s/ Jayne Conroy
1:17-op-45179-DAP    Mancuso v. Purdue Pharma L P et al          Sheriff Of Calcasieu Parish      Louisiana         /s/ Jayne Conroy
1:17-op-45180-DAP     Garber v. Purdue Pharma L P et al          Sheriff Of Lafayette Parish      Louisiana         /s/ Jayne Conroy
                    Local 404 Teamsters Health Service and       Local 404 Teamsters Health
1:18-op-45001-DAP                                                                               Massachusetts      /s/ Frank Schirripa
                       Insurance Plan v. Purdue Pharma           Service and Insurance Plan
                     People of the State of Illinois et al v.
1:18-op-45003-DAP   Amerisourcebergen Drug Corporation et              Hardin County               Illinois        /s/ Peter J. Mougey
                                       al
                     People of the State of Illinois et al v.
1:18-op-45004-DAP   Amerisourcebergen Drug Corporation et               Bond County                Illinois        /s/ Peter J. Mougey
                                       al
                      Town of Cherokee Alabama et al v.
1:18-op-45005-DAP                                                      Cherokee town              Alabama             /s/ Matt Conn
                          Purdue Pharma LP et al
                      Town of Cherokee Alabama et al v.
1:18-op-45005-DAP                                                      Colbert County             Alabama             /s/ Matt Conn
                          Purdue Pharma LP et al
                      Town of Cherokee Alabama et al v.
1:18-op-45005-DAP                                                  FRANKLIN COUNTY                Alabama             /s/ Matt Conn
                          Purdue Pharma LP et al
                      Town of Cherokee Alabama et al v.
1:18-op-45005-DAP                                                      Tuscumbia city             Alabama             /s/ Matt Conn
                          Purdue Pharma LP et al
                           New Hanover County v.
1:18-op-45006-DAP   AmerisourceBergen Drug Corporation et           New Hanover County          North Carolina     /s/ Peter J. Mougey
                                     al
                     People of the State of Illinois et al v.
1:18-op-45007-DAP   AmerisourceBergen Drug Corporation et              Shelby County               Illinois        /s/ Peter J. Mougey
                                      al
                      Fiscal Court of Bullitt County v.
1:18-op-45009-DAP   AmerisourceBergen Drug Corporation et              Bullitt County             Kentucky         /s/ Peter J. Mougey
                                      al
                      Fiscal Court of Hopkins County v.
1:18-op-45010-DAP   AmerisourceBergen Drug Corporation et             Hopkins County              Kentucky         /s/ Peter J. Mougey
                                      al
                          City of Opp, Alabama v.
1:18-op-45011-DAP   Amerisourcebergen Drug Corporation et                 Opp City                Alabama          /s/ Peter J. Mougey
                                     al
                       Ashland County Board of County
1:18-op-45012-DAP    Commissioners v. AmerisourceBergen               Ashland County                Ohio           /s/ Peter J. Mougey
                            Drug Corporation et al
                     American Federation of State, County       American Federation of State,
                      and Municipal Employees District             County and Municipal
1:18-op-45013-DAP                                                                                 New York       /s/ Elizabeth J. Cabraser
                     Council 37 Health & Security Plan v.       Employees District Council 37
                          Purdue Pharma L.P. et al                Health & Security Plan
                      Yadkin County, North Carolina v.
1:18-op-45014-DAP   Amerisourcebergen Drug Corporation, et             Yadkin County            North Carolina     /s/ Peter J. Mougey
                                     al




                                                                                                                         Page 7 of 87
    Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 9 of 88. PageID #: 640499
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                         Plaintiff            State              Signed by

                           Rockingham County v.
1:18-op-45015-DAP   AmerisourceBergen Drug Corporation et       Rockingham County      North Carolina    /s/ Peter J. Mougey
                                     al

                    City of Greenfield, v. Amerisourcebergen
1:18-op-45017-DAP                                               Greenfield Town City   Massachusetts     /s/ Peter J. Mougey
                             Drug Corporation et al

                       Rowan County Fiscal Court v.
1:18-op-45018-DAP   Amerisourcebergen Drug Corporation et          Rowan County          Kentucky        /s/ Peter J. Mougey
                                     al
                      Houston County, Alabama v. Purdue
1:18-op-45019-DAP                                                 Houston County         Alabama          /s/ Jeffrey D. Price
                              Pharma L.P. et al
                    Sunflower County, Mississippi v. Purdue
1:18-op-45020-DAP                                                Sunflower County       Mississippi     /s/ James R. Segars, III
                              Pharma, L.P. et al
                       Humphreys County, Mississippi v.
1:18-op-45021-DAP                                                Humphreys County       Mississippi     /s/ James R. Segars, III
                          Purdue Pharma, L.P. et al
                       Washington County, Mississippi v.
1:18-op-45022-DAP                                                Washington County      Mississippi     /s/ James R. Segars, III
                          Purdue Pharma, L.P. et al
                     City of Greenville, Alabama v. Purdue
1:18-op-45023-DAP                                                  Greenville City       Alabama          /s/ Jeffrey D. Price
                               Pharma L.P. et al
                     People of the State of Illinois et al v.
1:18-op-45024-DAP   Amerisourcebergen Drug Corporation et          White County           Illinois       /s/ Peter J. Mougey
                                       al
                        Sedgwick County Board of
1:18-op-45025-DAP    Commissioners v. Amerisourcebergen          Sedgwick County          Kansas         /s/ Peter J. Mougey
                          Drug Corporation et al
                     People of the State of Illinois et al v.
1:18-op-45026-DAP   Amerisourcebergen Drug Corporation et          Jasper County          Illinois       /s/ Peter J. Mougey
                                       al
                      Coshocton County Board of County
1:18-op-45027-DAP    Commissioners v. Amerisourcebergen          Coshocton County          Ohio          /s/ Peter J. Mougey
                           Drug Corporation et al
                       Buchanan County, Missouri v.
1:18-op-45028-DAP   AmerisourceBergen Drug Corporation et        Buchanan County         Missouri        /s/ Brian J. Madden
                                     al
                      Smith County, Tennessee v. Purdue
1:18-op-45029-DAP                                                  Smith County          Tennessee         /s/ Mark Chalos
                              Pharma L.P. et al
                       Ottawa County Board of County
1:18-op-45031-DAP    Commissioners v. AmerisourceBergen            Ottawa County           Ohio          /s/ Peter J. Mougey
                           Drug Corporation et al
                  County of Lake v. Purdue Pharma L.P. et
1:18-op-45032-DAP                                                   Lake County            Ohio          /s/ Shayna E. Sacks
                                     al
                  County of Cascade v. Purdue Pharma et
1:18-op-45033-DAP                                                 Cascade County         Montana         /s/ Jeffrey B. Simon
                                     al
                    County of Cascade v. Purdue Pharma et
1:18-op-45033-DAP                                               GALLATIN COUNTY          Montana         /s/ Jeffrey B. Simon
                                      al
                    Claiborne County, Mississippi v. Purdue
1:18-op-45035-DAP                                                Claiborne County       Mississippi     /s/ James R. Segars, III
                               Pharma, L.P. et al
                      Lawrence County, Mississippi v.
1:18-op-45036-DAP   Amerisourcebergen Drug Corporation et        Lawrence County        Mississippi      /s/ Peter J. Mougey
                                     al
                    Fairfield Board of County Commissioners
1:18-op-45038-DAP    v. Amerisourcebergen Drug Corporation        Fairfield County         Ohio          /s/ Peter J. Mougey
                                       et al
                       Licking County Board of County
1:18-op-45041-DAP    Commissioners v. Amerisourcebergen           Licking County           Ohio          /s/ Peter J. Mougey
                            Drug Corporation et al



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                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                           Plaintiff             State            Signed by

                        Adams County Board of County
1:18-op-45042-DAP     Commissioners v. Amerisourcebergen              Adams County              Ohio        /s/ Peter J. Mougey
                           Drug Corporation et al
                       Guernsey County Board of County
1:18-op-45044-DAP     Commissioners v. Amerisourcebergen             Guernsey County            Ohio        /s/ Peter J. Mougey
                            Drug Corporation et al
                        Darke County Board of County
1:18-op-45046-DAP     Commissioners v. Amerisourcebergen               Darke County             Ohio        /s/ Peter J. Mougey
                            Drug Corporation et al
                        Logan County Board of County
1:18-op-45047-DAP     Commissioners v. Amerisourcebergen               Logan County             Ohio        /s/ Peter J. Mougey
                            Drug Corporation et al
                      People of the State of Illinois et al v.
1:18-op-45049-DAP    Amerisourcebergen Drug Corporation et            Edwards County           Illinois     /s/ Peter J. Mougey
                                        al
                   County of Ashtabula v. Purdue Pharma
1:18-op-45050-DAP                                                    Ashtabula County           Ohio        /s/ Shayna E. Sacks
                                  L.P. et al
                   Leech Lake Band of Ojibwe v. Purdue
1:18-op-45052-DAP                                                Leech Lake Band of Ojibwe   Minnesota      /s/ Ralph Overholt
                              Pharma L.P. et al
                  Township of Bloomfield, New Jersey v.
1:18-op-45053-DAP                                                  Bloomfield Township       New Jersey     /s/ James E. Cecchi
                          Purdue Pharma L.P. et al
                  City of Lansing v. Purdue Pharma L.P. et
1:18-op-45054-DAP                                                      Lansing City          Michigan        /s/ Paul F. Novak
                                      al
                        Morrow County Board of County
1:18-op-45059-DAP     Commissioners v. Amerisourcebergen              Morrow County             Ohio        /s/ Peter J. Mougey
                            Drug Corporation et al

                     Clinton County Board of Commissioners
1:18-op-45060-DAP                                                     Clinton County            Ohio       /s/ Mark H. Troutman
                           v. Purdue Pharma L.P. et al

                       Champaign County Board of County
1:18-op-45065-DAP     Commissioners v. AmerisourceBergen            Champaign County            Ohio        /s/ Peter J. Mougey
                            Drug Corporation et al
                     Jefferson Davis County, Mississippi v.
1:18-op-45070-DAP    Amerisourcebergen Drug Corporation et         Jefferson Davis County    Mississippi    /s/ Peter J. Mougey
                                      al
                        Marion County, Mississippi v.
1:18-op-45075-DAP    Amerisourcebergen Drug Corporation et            Marion County          Mississippi    /s/ Peter J. Mougey
                                      al
                          City of Mobile, Alabama v.
1:18-op-45076-DAP    Amerisourcebergen Drug Corporation et              Mobile City           Alabama       /s/ Peter J. Mougey
                                      al
                     County of Lorain v. Purdue Pharma L.P.
1:18-op-45078-DAP                                                      Lorain County            Ohio        /s/ Shayna E. Sacks
                                      et al
                      County of Trumbull v. Purdue Pharma
1:18-op-45079-DAP                                                    Trumbull County            Ohio        /s/ Shayna E. Sacks
                                     L.P.

1:18-op-45080-DAP City of Elyria v. Purdue Pharma L.P. et al            Elyria City             Ohio        /s/ Brian K. Balser

                      County of Smith v. Purdue Pharma L.P.
1:18-op-45081-DAP                                                      Smith County            Texas       /s/ Jeffrey B. Simon
                                       et al
                      Saginaw, County of v. Purdue Pharma
1:18-op-45082-DAP                                                     Saginaw County         Michigan        /s/ Paul F. Novak
                                    L.P. et al
                       Genesee, County of v. Purdue Pharma
1:18-op-45083-DAP                                                     Genesee County         Michigan        /s/ Paul F. Novak
                                    L.P. et al

                     City of Detroit, Michigan, A Municipal
1:18-op-45084-DAP                                                       Detroit City         Michigan        /s/ Paul F. Novak
                     Corporation v. Purdue Pharma L.P. et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 11 of 88. PageID #: 640501
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                          Plaintiff                 State            Signed by

                     Macomb, County of v. Purdue Pharma
1:18-op-45085-DAP                                                  Macomb County              Michigan       /s/ Paul F. Novak
                                L.P. et al
                      Surry County v. AmerisourceBergen
1:18-op-45086-DAP                                                   Surry County            North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                     Metropolitan Government of Nashville
                                                                Nashville-Davidson
1:18-op-45088-DAP     and Davidson County Tennessee v.                                        Tennessee       /s/ Mark Chalos
                                                              Metropolitan Government
                           Purdue Pharma L.P. et al
                    County of Summit, Ohio et al v. Purdue
1:18-op-45090-DAP                                                    Akron City                 Ohio          /s/ Linda Singer
                              Pharma L.P. et al
1:18-op-45093-DAP      Seal v. Purdue Pharma LP et al        Sheriff Of Washington Parish     Louisiana       /s/ Jayne Conroy
                        Amite County, Mississippi v.
1:18-op-45097-DAP   Amerisourcebergen Drug Corporation et           Amite County             Mississippi     /s/ Peter J. Mougey
                                     al
                     Eastern Band of Cherokee Indians v.
                                                              Eastern Band of Cherokee
1:18-op-45098-DAP   AmerisourceBergen Drug Corporation et                                   North Carolina   /s/ Peter J. Mougey
                                                                       Indians
                                     al
                                                              Sheriff Of Jefferson Davis
1:18-op-45099-DAP      Woods v. Purdue Pharma L P et al                                       Louisiana       /s/ Jayne Conroy
                                                                        Parish
                          Cecil County, Maryland v.
1:18-op-45100-DAP   Amerisourcebergen Drug Corporation et           Cecil County              Maryland       /s/ Peter J. Mougey
                                     al
                    County of Anoka, Minnesota v. Purdue
1:18-op-45101-DAP                                                   Anoka County              Minnesota       /s/ Jayne Conroy
                               Pharma L.P. et al
                    City of Woburn v. Amerisourcebergen
1:18-op-45103-DAP                                                   Woburn City             Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al
                    Marquette, County of v. Purdue Pharma
1:18-op-45104-DAP                                                 Marquette County            Michigan       /s/ Paul F. Novak
                                  L.P. et al
                    City of Methuen v. Amerisourcebergen
1:18-op-45106-DAP                                                Methuen Town City          Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    Haywood County v. Amerisourcebergen
1:18-op-45107-DAP                                                 Haywood County              Tennessee      /s/ Peter J. Mougey
                          Drug Coropration et al

                     Onslow County v. AmerisourceBergen
1:18-op-45114-DAP                                                  Onslow County            North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                            City of Jacksonville v.
1:18-op-45115-DAP   AmerisourceBergen Drug Corporation et         Jacksonville City         North Carolina   /s/ Peter J. Mougey
                                       al

1:18-op-45116-DAP    Polk County v. Purdue Pharma LP et al           Polk County                Iowa          /s/ Jayne Conroy

                  Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                                   Brown County              Wisconsin       /s/ Jayne Conroy
                                   et al
                  Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                              CRAWFORD COUNTY                Wisconsin       /s/ Jayne Conroy
                                   et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                                 IRON COUNTY                 Wisconsin       /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                                JUNEAU COUNTY                Wisconsin       /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                              KEWAUNEE COUNTY                Wisconsin       /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                             OUTAGAMIE COUNTY                Wisconsin       /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                               OZAUKEE COUNTY                Wisconsin       /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                                 PEPIN COUNTY                Wisconsin       /s/ Jayne Conroy
                                     et al




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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                       Plaintiff        State           Signed by

                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                             PORTAGE COUNTY      Wisconsin      /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                              RACINE COUNTY      Wisconsin      /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                             RICHLAND COUNTY     Wisconsin      /s/ Jayne Conroy
                                     et al
                    Brown County et al v. Purdue Pharma LP
1:18-op-45117-DAP                                            WINNEBAGO COUNTY     Wisconsin      /s/ Jayne Conroy
                                     et al
                       Tippah County, Mississippi v.
1:18-op-45118-DAP   Amerisourcebergen Drug Corporation et        Tippah County    Mississippi   /s/ Peter J. Mougey
                                     al
                       Benton County, Mississippi v.
1:18-op-45119-DAP   Amerisourcebergen Drug Corporation et        Benton County    Mississippi   /s/ Peter J. Mougey
                                     al
                        Union County, Mississippi v.
1:18-op-45120-DAP   Amerisourcebergen Drug Corporation et        Union County     Mississippi   /s/ Peter J. Mougey
                                     al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                Adair County        Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              ADAMS COUNTY          Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             AUDUBON COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              BENTON COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              BREMER COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            BUCHANAN COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            BUENA VISTA COUNTY      Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             CALHOUN COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             CARROLL COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              CEDAR COUNTY          Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                               CLAY COUNTY          Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             CLAYTON COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             CLINTON COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              DALLAS COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            DELAWARE COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             FAYETTE COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                             HAMILTON COUNTY        Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              HARDIN COUNTY         Iowa        /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            HUMBOLDT COUNTY         Iowa        /s/ Jayne Conroy
                                      et al




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  Case Number                    Case Caption                           Plaintiff               State            Signed by

                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                 JOHNSON COUNTY                Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                    LEE COUNTY                 Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                MAHASKA COUNTY                 Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                 MARION COUNTY                 Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                MITCHELL COUNTY                Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                 MONROE COUNTY                 Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                               MONTGOMERY COUNTY               Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              O BRIEN COUNTY                   Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            PLYMOUTH COUNTY                    Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                          POTTAWATTAMIE COUNTY                 Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                                SAC COUNTY                     Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                               SCOTT COUNTY                    Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                              SHELBY COUNTY                    Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                               SIOUX COUNTY                    Iowa          /s/ Jayne Conroy
                                      et al
                    Adair County et al v. Purdue Pharma LP
1:18-op-45122-DAP                                            WINNESHIEK COUNTY                  Iowa          /s/ Jayne Conroy
                                      et al
                          City of Cleveland, Ohio v.
1:18-op-45132-DAP   AmerisourceBergen Drug Corporation et            Cleveland City             Ohio         /s/ Peter J. Mougey
                                      al

                    Campbell County v. AmerisourceBergen
1:18-op-45133-DAP                                                   Campbell County           Tennessee      /s/ Peter J. Mougey
                       Drug Corporation et al (JRG2)

                      Williamson County, Tennessee v.
1:18-op-45134-DAP   AmerisourceBergen Drug Corporation et          Williamson County          Tennessee      /s/ Peter J. Mougey
                                     al
                        Greene County, Tennessee v.
1:18-op-45136-DAP   Amerisourcebergen Drug Corporation et            Greene County            Tennessee      /s/ Peter J. Mougey
                                     al
                     Muskingum County Board of County
1:18-op-45137-DAP    Commissioners v. Amerisourcebergen            Muskingum County             Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                     People of the State of Illinois et al v.
1:18-op-45138-DAP   AmerisourceBergen Drug Corporation et             Coles County             Illinois      /s/ Peter J. Mougey
                                      al
1:18-op-45140-DAP      Craft v. Purdue Pharma L P et al          Sheriff Of Vernon Parish     Louisiana       /s/ Jayne Conroy
1:18-op-45142-DAP     Hebert v. Purdue Pharma L P et al           Sheriff Of Allen Parish     Louisiana       /s/ Jayne Conroy
1:18-op-45143-DAP   Richardson v. Purdue Pharma L P et al        Sheriff Of Sabine Parish     Louisiana       /s/ Jayne Conroy
                      Catawba County North Carolina v.
1:18-op-45145-DAP   AmerisourceBergen Drug Corporation et            Catawba County         North Carolina   /s/ Peter J. Mougey
                                     al




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  Case Number                    Case Caption                          Plaintiff                State            Signed by

                       Forrest County, Mississippi v.
1:18-op-45147-DAP   Amerisourcebergen Drug Corporation et           Forrest County           Mississippi     /s/ Peter J. Mougey
                                     al
                       Wayne County Board of County
1:18-op-45150-DAP    Commissioners v. AmerisourceBergen             Wayne County                Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                        Baldwin County, Alabama v.
1:18-op-45152-DAP   Amerisourcebergen Drug Corporation et           Baldwin County            Alabama        /s/ Peter J. Mougey
                                     al
                     Hancock County v. Amerisourcebergen
1:18-op-45153-DAP                                                  Hancock County             Tennessee      /s/ Peter J. Mougey
                              Drug Corporation et al
1:18-op-45154-DAP      Russell v. Purdue Pharma L P et al      Sheriff Of Ouachita Parish     Louisiana       /s/ Jayne Conroy
                      City of Revere v. Amerisourcebergen
1:18-op-45155-DAP                                                     Revere City           Massachusetts    /s/ Peter J. Mougey
                              Drug Corporation et al
                           City of Baton Rouge v.
1:18-op-45160-DAP   AmerisourceBergen Drug Corporation et          Baton Rouge City           Louisiana      /s/ Peter J. Mougey
                                      al
                       Franklin County Board of County
1:18-op-45162-DAP    Commissioners v. AmerisourceBergen             Franklin County             Ohio         /s/ Peter J. Mougey
                            Drug Corporation et al
                     City of Lebanon v. AmerisourceBergen
1:18-op-45163-DAP                                                    Lebanon City               Ohio         /s/ Peter J. Mougey
                              Drug Corporation et al
                     Johnson County v. Amerisourcebergen
1:18-op-45164-DAP                                                   Johnson County            Tennessee      /s/ Peter J. Mougey
                          Drug Corporation et al (TV1)
                     Gaston County v. AmerisourceBergen
1:18-op-45166-DAP                                                   Gaston County           North Carolina   /s/ Peter J. Mougey
                              Drug Corporation et al
                       County of Onondaga, New York v.
1:18-op-45170-DAP                                                  Onondaga County            New York       /s/ Eva B. Pearlman
                            Purdue Pharma, L.P. et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                      Dora city              Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                     Jasper city             Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                MARION COUNTY                Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                PICKENS COUNTY               Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                    Sumiton City             Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Marion County, Alabama et al v. Purdue
1:18-op-45171-DAP                                                WALKER COUNTY                Alabama          /s/ Matt Conn
                                 Pharma LP et al
                    Skagit County et al v. Purdue Pharma, LP
1:18-op-45173-DAP                                                   Burlington city          Washington         /s/ David Ko
                                       et al
                    Skagit County et al v. Purdue Pharma, LP
1:18-op-45173-DAP                                                 Mount Vernon city          Washington         /s/ David Ko
                                       et al
                    Skagit County et al v. Purdue Pharma, LP
1:18-op-45173-DAP                                                 Sedro-Woolley city         Washington         /s/ David Ko
                                       et al
                    Skagit County et al v. Purdue Pharma, LP
1:18-op-45173-DAP                                                    Skagit County           Washington         /s/ David Ko
                                       et al
                      Municipality of Guayanilla v. Purdue
1:18-op-45176-DAP                                                     Guayanilla             Puerto Rico      /s/ Randi Kassan
                                Pharma L.P. et al
                      Municipality of Loiza, Puerto Rico v.
1:18-op-45177-DAP                                                        Loiza               Puerto Rico      /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                          Phenix City, Alabama v.
1:18-op-45179-DAP   Amerisourcebergen Drug Corporation et          Phenix City City           Alabama        /s/ Peter J. Mougey
                                     al




                                                                                                                Page 13 of 87
   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 15 of 88. PageID #: 640505
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                            Plaintiff                 State             Signed by

                    Washington County, Alabama v. Actavis,
1:18-op-45180-DAP                                                  Washington County            Alabama        /s/ Peter J. Mougey
                                 LLC et al
                      Wilcox County, Alabama v. Actavis,
1:18-op-45181-DAP                                                    Wilcox County              Alabama        /s/ Peter J. Mougey
                                  LLC et al
                         Coffee County, Alabama v.
1:18-op-45182-DAP   Amerisourcebergen Drug Corporation et            Coffee County              Alabama        /s/ Peter J. Mougey
                                     al
                    City of Demopolis, Alabama v. Actavis,
1:18-op-45183-DAP                                                    Demopolis City             Alabama        /s/ Peter J. Mougey
                                 LLC et al
                      Burke County v. AmerisourceBergen
1:18-op-45184-DAP                                                     Burke County            North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                     Stokes County v. AmerisourceBergen
1:18-op-45185-DAP                                                    Stokes County            North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al
                    Mobile County, Alabama v. Actavis, LLC
1:18-op-45186-DAP                                                    Mobile County              Alabama        /s/ Peter J. Mougey
                                      et al
                     Marengo County, Alabama v. Actavis,
1:18-op-45188-DAP                                                   Marengo County              Alabama        /s/ Peter J. Mougey
                                   LLC et al
1:18-op-45189-DAP     Soileau v. Purdue Pharma L P et al       Sheriff Of Evangeline Parish     Louisiana        /s/ Jayne Conroy
                      Talladega County, Alabama et al v.
1:18-op-45190-DAP                                                     Talladega city            Alabama          /s/ Brad Ponder
                            Cardinal Health Inc et al
                      Talladega County, Alabama et al v.
1:18-op-45190-DAP                                                   Talladega County            Alabama          /s/ Brad Ponder
                            Cardinal Health Inc et al
                     Calhoun County, Alabama v. Cardinal
1:18-op-45191-DAP                                                    Calhoun County             Alabama          /s/ Brad Ponder
                                Health Inc et al

                    Trussville, City of v. Amerisourcebergen
1:18-op-45192-DAP                                                    Trussville City            Alabama        /s/ Joel L. DiLorenzo
                             Drug Corporation et al

                       Winston Medical Center v. Purdue
1:18-op-45193-DAP                                                Winston Medical Center        Mississippi       /s/ Randi Kassan
                              Pharma, L.P. et al
                         Sumter County, Alabama v.
1:18-op-45194-DAP   Amerisourcebergen Drug Corporation et            Sumter County              Alabama        /s/ Peter J. Mougey
                                     al
                      Tuscaloosa County, Alabama v.
1:18-op-45196-DAP   Amerisourcebergen Drug Corporation et          Tuscaloosa County            Alabama        /s/ Peter J. Mougey
                                     al
                     Municipality of Sabana Grande et al v.
1:18-op-45197-DAP                                                        Cayey                 Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                    City of Selma, Alabama v. Actavis, LLC
1:18-op-45198-DAP                                                      Selma City               Alabama        /s/ Peter J. Mougey
                                      et al
                        Morgan County, Alabama v.
1:18-op-45200-DAP   Amerisourcebergen Drug Corporation et            Morgan County              Alabama        /s/ Peter J. Mougey
                                     al
                         City of Decatur, Alabama v.
1:18-op-45201-DAP   Amerisourcebergen Drug Corporation et             Decatur City              Alabama        /s/ Peter J. Mougey
                                      al
                        City of Moulton, Alabama v.
1:18-op-45202-DAP   Amerisourcebergen Drug Corporation et             Moulton City              Alabama        /s/ Peter J. Mougey
                                     al
                       Lowndes County, Alabama v.
1:18-op-45203-DAP   Amerisourcebergen Drug Corporation et           Lowndes County              Alabama        /s/ Peter J. Mougey
                                     al
                     City of Union Springs, Alabama v.
1:18-op-45204-DAP   Amerisourcebergen Drug Corporation et          Union Springs City           Alabama        /s/ Peter J. Mougey
                                     al




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  Case Number                    Case Caption                         Plaintiff            State            Signed by

                       Cherokee County, Alabama v.
1:18-op-45207-DAP   Amerisourcebergen Drug Corporation et         Cherokee County        Alabama        /s/ Peter J. Mougey
                                     al
                    Pitt County v. AmerisourceBergen Drug
1:18-op-45208-DAP                                                    Pitt County       North Carolina   /s/ Peter J. Mougey
                                Corporation et al
                         Greene County, Alabama v.
1:18-op-45209-DAP   Amerisourcebergen Drug Corporation et          Greene County         Alabama        /s/ Peter J. Mougey
                                     al
                     Lamar County, Alabama et al v. Purdue
1:18-op-45210-DAP                                                   Lamar County         Alabama         /s/ Keith Jackson
                              Pharma LP et al
                     Lamar County, Alabama et al v. Purdue
1:18-op-45210-DAP                                                    Vernon city         Alabama         /s/ Keith Jackson
                              Pharma LP et al
                    Fayette County, Alabama et al v. Purdue
1:18-op-45211-DAP                                                    Berry town          Alabama         /s/ Keith Jackson
                               Pharma LP et al
                    Fayette County, Alabama et al v. Purdue
1:18-op-45211-DAP                                                    Fayette city        Alabama         /s/ Keith Jackson
                               Pharma LP et al
                    Fayette County, Alabama et al v. Purdue
1:18-op-45211-DAP                                                  Fayette County        Alabama         /s/ Keith Jackson
                               Pharma LP et al
                       City of Enterprise, Alabama v.
1:18-op-45213-DAP   Amerisourcebergen Drug Corporation et          Enterprise City       Alabama        /s/ Peter J. Mougey
                                     al
                          City of Ozark, Alabama v.
1:18-op-45214-DAP   Amerisourcebergen Drug Corporation et            Ozark City          Alabama        /s/ Peter J. Mougey
                                      al
                           Crockett County, TN v.
1:18-op-45215-DAP   Amerisourcebergen Drug Coropration et         Crockett County        Tennessee      /s/ Peter J. Mougey
                                     al
                    City of Marion, Alabama v. Actavis, LLC
1:18-op-45217-DAP                                                    Marion City         Alabama        /s/ Peter J. Mougey
                                      et al
                     Mecklenburg County v. Purdue Pharma
1:18-op-45221-DAP                                                Mecklenburg County    North Carolina    /s/ Jayne Conroy
                                  L.P. et al

                    Brunswick County v. AmerisourceBergen
1:18-op-45222-DAP                                                 Brunswick County     North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                    City of Charleston, West Virginia v. Rite
1:18-op-45224-DAP                                                  Charleston City     West Virginia    /s/ Charles R. Webb
                           Aid of Maryland, Inc. et al
                        Cullman County, Alabama v.
1:18-op-45227-DAP   Amerisourcebergen Drug Corporation et         Cullman County         Alabama        /s/ Peter J. Mougey
                                     al
                       Lawrence County, Alabama v.
1:18-op-45228-DAP   Amerisourcebergen Drug Corporation et         Lawrence County        Alabama        /s/ Peter J. Mougey
                                     al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                  Albertville city      Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                     Arab City          Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                     Boaz city          Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                   Douglas town         Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                    Grant town          Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                                  Guntersville city     Alabama           /s/ Matt Conn
                               Pharma L P et al
                    Marshall County, Alabama et al v. Purdue
1:18-op-45230-DAP                                               MARSHALL COUNTY          Alabama           /s/ Matt Conn
                               Pharma L P et al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 17 of 88. PageID #: 640507
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  Case Number                   Case Caption                           Plaintiff                  State            Signed by

                    Augusta, Georgia v. Amerisourcebergen     Augusta-Richmond County
1:18-op-45233-DAP                                                                                Georgia       /s/ Peter J. Mougey
                            Drug Corporation et al            Consolidated Government

                     Wilkes County v. AmerisourceBergen
1:18-op-45239-DAP                                                   Wilkes County             North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                    City Of Lakewood v. Purdue Pharma L P
1:18-op-45240-DAP                                                   Lakewood City                 Ohio         /s/ James A. Lowe
                                    et al
                        Pickett County, Tennessee v.
1:18-op-45242-DAP   AmerisourceBergen Drug Corporation et           Pickett County              Tennessee      /s/ Peter J. Mougey
                                     al

                    Rutherford County v. AmerisourceBergen
1:18-op-45243-DAP                                                 Rutherford County           North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al

                      Barbour County, Alabama v. Purdue
1:18-op-45244-DAP                                                   Barbour County              Alabama        /s/ Jeffrey D. Price
                               Pharma L.P. et al
                       Perry County Board of County
1:18-op-45245-DAP    Commissioners v. Amerisourcebergen              Perry County                 Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                         Bullock County, Alabama v.
1:18-op-45246-DAP   AmerisourceBergen Drug Corporation et           Bullock County              Alabama        /s/ Peter J. Mougey
                                     al
                       Clay County, Alabama v. Cardinal
1:18-op-45248-DAP                                                    Clay County                Alabama         /s/ Brad Ponder
                               Health, Inc. et al
                    Indiana County, Pennsylvania v. Purdue
1:18-op-45249-DAP                                                   Indiana County            Pennsylvania     /s/ Peter J. Mougey
                              Pharma L.P. et al
                      Sandusky County Board of
1:18-op-45254-DAP Commissioners v. Purdue Pharma L.P. et           Sandusky County                Ohio         /s/ Shayna E. Sacks
                                    al
                      Sumner County, Tennessee v. Purdue
1:18-op-45255-DAP                                                   Sumner County               Tennessee      /s/ Jeffrey D. Price
                              Pharma L.P., et al
                       Geauga County Board of County
1:18-op-45256-DAP    Commissioners v. AmerisourceBergen             Geauga County                 Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                      Williams County Board of County
1:18-op-45257-DAP    Commissioners v. AmerisourceBergen            Williams County                Ohio         /s/ Peter J. Mougey
                            Drug Corporation et al
                    Rutherford County, Tennessee v. Purdue
1:18-op-45258-DAP                                                 Rutherford County             Tennessee       /s/ Mark Chalos
                               Pharma L.P. et al
1:18-op-45259-DAP    Williams v. Purdue Pharma L P et al     Sheriff Of East Carroll Parish     Louisiana       /s/ Jayne Conroy
1:18-op-45260-DAP     Philley v. Purdue Pharma L P et al     Sheriff Of West Carroll Parish     Louisiana       /s/ Jayne Conroy

                     Beaufort County v. AmerisourceBergen
1:18-op-45261-DAP                                                  Beaufort County            North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al

                    Caldwell County v. AmerisourceBergen
1:18-op-45263-DAP                                                  Caldwell County            North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                      Delaware County Board of County
1:18-op-45266-DAP    Commissioners v. AmerisourceBergen            Delaware County                Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                        Chatham County, Georgia v.
1:18-op-45267-DAP   Amerisourcebergen Drug Corporation et          Chatham County                Georgia        /s/ Mark A. Tate
                                     al
                       City of Brunswick, Georgia v.
1:18-op-45270-DAP   Amerisourcebergen Drug Corporation et           Brunswick City               Georgia        /s/ Mark A. Tate
                                     al




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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                        Plaintiff            State             Signed by

                      Hamilton County Board of County
1:18-op-45272-DAP    Commissioners v. AmerisourceBergen          Hamilton County          Ohio          /s/ Peter J. Mougey
                           Drug Corporation et al
                       Scott County, Tennessee v. Purdue
1:18-op-45273-DAP                                                  Scott County         Tennessee        /s/ Mark Chalos
                                Pharma LP et al

                    Randolph County v. AmerisourceBergen
1:18-op-45275-DAP                                                Randolph County      North Carolina    /s/ Peter J. Mougey
                            Drug Corporation et al

                     Person County v. AmerisourceBergen
1:18-op-45276-DAP                                                 Person County       North Carolina    /s/ Peter J. Mougey
                            Drug Corporation et al
                    Barron County et al v. Purdue Pharma LP
1:18-op-45277-DAP                                                 Barron County         Wisconsin        /s/ Jayne Conroy
                                      et al
                    Barron County et al v. Purdue Pharma LP
1:18-op-45277-DAP                                              LA CROSSE COUNTY         Wisconsin        /s/ Jayne Conroy
                                      et al
                    Barron County et al v. Purdue Pharma LP
1:18-op-45277-DAP                                              LAFAYETTE COUNTY         Wisconsin        /s/ Jayne Conroy
                                       et al
                    Barron County et al v. Purdue Pharma LP
1:18-op-45277-DAP                                              MENOMINEE COUNTY         Wisconsin        /s/ Jayne Conroy
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Ashburn city          Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Calhoun city          Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                 Cartersville city      Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                 Chatsworth city        Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                              CHATTOOGA COUNTY          Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                              COLQUITT COUNTY           Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                Dawsonville city        Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                FLOYD COUNTY            Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                               GORDON COUNTY            Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                   Helen city           Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Jackson city          Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Marietta city         Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                McDonough city          Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Moultrie city         Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                               MURRAY COUNTY            Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Ringgold city         Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                   Rome city            Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                  Snellville city       Georgia       /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                               TELFAIR COUNTY           Georgia       /s/ J. Anderson Davis
                                       et al




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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                          Plaintiff              State          Signed by

                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                    Valdosta city           Georgia    /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                    Villa Rica city         Georgia    /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                               WHITFIELD COUNTY             Georgia    /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                     Winder City            Georgia    /s/ J. Anderson Davis
                                       et al
                    City of Rome et al v. Purdue Pharma L.P.
1:18-op-45282-DAP                                                   Woodstock city           Georgia    /s/ J. Anderson Davis
                                       et al
                    Bacon County Hospital Foundation, Inc.
                                                               Bacon County (Ga) Hospital
1:18-op-45285-DAP   v. Amerisourcebergen Drug Corporation                                    Georgia      /s/ Mark A. Tate
                                                                       Authority
                                     et al
                      Crawford County Board of County
1:18-op-45288-DAP    Commissioners v. AmerisourceBergen            Crawford County            Ohio       /s/ Peter J. Mougey
                           Drug Corporation et al
                     Columbiana County Board of County
1:18-op-45289-DAP    Commissioners v. AmerisourceBergen           Columbiana County           Ohio       /s/ Peter J. Mougey
                           Drug Corporation et al
                       Seneca County Board of County
1:18-op-45290-DAP    Commissioners v. AmerisourceBergen              Seneca County            Ohio       /s/ Peter J. Mougey
                           Drug Corporation et al
                        Erie County Board of County
1:18-op-45291-DAP    Commissioners v. AmerisourceBergen               Erie County             Ohio       /s/ Peter J. Mougey
                           Drug Corporation et al
                       Huron County Board of County
1:18-op-45292-DAP    Commissioners v. AmerisourceBergen              Huron County             Ohio       /s/ Peter J. Mougey
                           Drug Corporation et al
                           Hawkins County, TN v.
1:18-op-45299-DAP   Amerisourcebergen Drug Corporation et           Hawkins County          Tennessee    /s/ Peter J. Mougey
                                     al
                    County of Camp v. Purdue Pharma L.P.
1:18-op-45301-DAP                                                    Camp County             Texas      /s/ Jeffrey B. Simon
                                    et al
                     County of Franklin v. Purdue Pharma
1:18-op-45302-DAP                                                   Franklin County          Texas      /s/ Jeffrey B. Simon
                                  L.P. et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                 Black Hawk County           Iowa        /s/ Jayne Conroy
                               Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                               DES MOINES COUNTY             Iowa        /s/ Jayne Conroy
                               Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                               HARRISON COUNTY               Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                HOWARD COUNTY                Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                 JASPER COUNTY               Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                  LYON COUNTY                Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                  MILLS COUNTY               Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                  TAMA COUNTY                Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                  UNION COUNTY               Iowa        /s/ Jayne Conroy
                              Pharma LP et al
                      Black Hawk County et al v. Purdue
1:18-op-45303-DAP                                                 WORTH COUNTY                Iowa        /s/ Jayne Conroy
                              Pharma LP et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 20 of 88. PageID #: 640510
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                            Plaintiff                State              Signed by

                       City of Richmond Hill, Georgia v.
1:18-op-45305-DAP    Amerisourcebergen Drug Corporation et          Richmond Hill City           Georgia          /s/ Mark A. Tate
                                      al
                     Orange County v. AmerisourceBergen
1:18-op-45308-DAP                                                     Orange County           North Carolina     /s/ Peter J. Mougey
                            Drug Corporation et al

                     City of Rockford v. AmerisourceBergen
1:18-op-45309-DAP                                                     Rockford City              Illinois        /s/ Peter J. Mougey
                              Drug Corporation et al

                     People Of The State Of Illinois et al v.
1:18-op-45310-DAP   AmerisourceBergen Drug Corporation et           Winnebago County             Illinois        /s/ Peter J. Mougey
                                      al
                                                                Sheriff Of East Baton Rouge
1:18-op-45325-DAP    Gautreaux v. Purdue Pharma L.P. et al                                      Louisiana         /s/ Jayne Conroy
                                                                           Parish
                    Athens County Board of Commissioners
1:18-op-45326-DAP   v. AmerisourceBergen Drug Corporation             Athens County               Ohio           /s/ Peter J. Mougey
                                    et al
                     Limestone County, Alabama v. Purdue
1:18-op-45328-DAP                                                   Limestone County            Alabama          /s/ Jeffrey D. Price
                                 Pharma L.P. et al
                      City of Anniston Alabama v. Purdue
1:18-op-45329-DAP                                                     Anniston City             Alabama          /s/ Jeffrey D. Price
                                 Pharma L P et al
                      City of Broadview Heights v. Purdue
1:18-op-45330-DAP                                                 Broadview Heights City          Ohio          /s/ Shayna E. Sacks
                                 Pharma L.P. et al
                       Broward County, Florida v. Purdue
1:18-op-45332-DAP                                                    Broward County              Florida         /s/ Mark Dearman
                                 Pharma L.P. et al
                      City Of Lima v. AmerisourceBergen
1:18-op-45333-DAP                                                       Lima City                 Ohio         /s/ Peter H. Weinberger
                              Drug Corporation et al
                     City of Pittsfield v. Amerisourcebergen
1:18-op-45335-DAP                                                      Pittsfield City        Massachusetts      /s/ Peter J. Mougey
                              Drug Corporation et al
                     City of Easthampton, Massachusetts v.
1:18-op-45336-DAP    Amerisourcebergen Drug Corporation et        Easthampton Town City       Massachusetts      /s/ Peter J. Mougey
                                      al
                            City of Northampton v.
1:18-op-45337-DAP    Amerisourcebergen Drug Corporation et           Northampton City         Massachusetts      /s/ Peter J. Mougey
                                      al
                    County of Oneida, New York v. Purdue
1:18-op-45338-DAP                                                     Oneida County             New York        /s/ Eva B. Pearlman
                              Pharma, L.P. et al
                      County of Shiawassee, Michigan v.
1:18-op-45350-DAP                                                   Shiawassee County           Michigan         /s/ Paul F. Novak
                           Purdue Pharma L.P. et al
                    County of Lenawee, Michigan v. Purdue
1:18-op-45351-DAP                                                    Lenawee County             Michigan         /s/ Paul F. Novak
                               Pharma L.P. et al
                    County of Sanilac, Michigan v. Purdue
1:18-op-45352-DAP                                                     Sanilac County            Michigan         /s/ Paul F. Novak
                               Pharma L.P. et al
                    County of Hillsdale, Michigan v. Purdue
1:18-op-45355-DAP                                                    Hillsdale County           Michigan         /s/ Paul F. Novak
                               Pharma L.P. et al
                         Calhoun County, Florida v.
1:18-op-45363-DAP   AmerisourceBergen Drug Corporation et            Calhoun County              Florida         /s/ Peter J. Mougey
                                     al
                    Jefferson County, Ohio v. Purdue Pharma
1:18-op-45365-DAP                                                    Jefferson County             Ohio          /s/ Shayna E. Sacks
                                   L.P. et al

                    St. Croix Chippewa Indians of Wisconsin St. Croix Chippewa Indians of
1:18-op-45367-DAP                                                                               Wisconsin        /s/ T. Roe Frazer II
                          v. McKesson Corporation et al               Wisconsin

                   Pike v. Teva Pharmaceuticals USA, Inc.
1:18-op-45368-DAP                                                      Pike County              Kentucky        /s/ Shayna E. Sacks
                                    et al
                  County of Floyd v. Purdue Pharma L.P. et
1:18-op-45369-DAP                                                      Floyd County             Kentucky        /s/ Shayna E. Sacks
                                      al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 21 of 88. PageID #: 640511
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                           Plaintiff                 State              Signed by

1:18-op-45370-DAP       Knott v. Purdue Pharma L.P. et al            Knott County               Kentucky        /s/ Shayna E. Sacks
                        City of Panama City, Florida v.
1:18-op-45373-DAP    AmerisourceBergen Drug Corporation et         Panama City City              Florida         /s/ Peter J. Mougey
                                      al
                      County of Fulton v. Purdue Pharma, LP
1:18-op-45374-DAP                                                    Fulton County               Georgia        /s/ Shayna E. Sacks
                                       et al
                      Halifax County v. AmerisourceBergen
1:18-op-45376-DAP                                                    Halifax County           North Carolina     /s/ Peter J. Mougey
                              Drug Corporation et al
                     City of Mansfield v. Purdue Pharma L.P.
1:18-op-45380-DAP                                                    Mansfield City               Ohio          /s/ Leslie O. Murray
                                       et al
                         Martin County Fiscal Court v.
1:18-op-45388-DAP    AmerisourceBergen Drug Corporation et           Martin County              Kentucky         /s/ Peter J. Mougey
                                      al
                        Wayne County Fiscal Court v.
1:18-op-45389-DAP    Amerisourcebergen Drug Corporation et           Wayne County               Kentucky         /s/ Peter J. Mougey
                                      al
                  Family Practice Clinic of Booneville, Inc.
1:18-op-45390-DAP                                            Family Health Care Clinic, PSC     Kentucky        /s/ Robert K. Finnell
                     et al v. Purdue Pharma L.P. et al
                  Family Practice Clinic of Booneville, Inc.    Family Practice Clinic of
1:18-op-45390-DAP                                                                               Kentucky        /s/ Robert K. Finnell
                     et al v. Purdue Pharma L.P. et al              Booneville, Inc.
                           City of Pooler, Georgia v.
1:18-op-45391-DAP    Amerisourcebergen Drug Corporation et            Pooler City                Georgia          /s/ Mark A. Tate
                                       al
                         Carter County Fiscal Court v.
1:18-op-45392-DAP    Amerisourcebergen Drug Corporation et           Carter County              Kentucky         /s/ Peter J. Mougey
                                      al
                         Elliott County Fiscal Court v.
1:18-op-45393-DAP    Amerisourcebergen Drug Corporation et           Elliott County             Kentucky         /s/ Peter J. Mougey
                                       al
                        Bracken County Fiscal Court v.
1:18-op-45395-DAP    Amerisourcebergen Drug Corporation et          Bracken County              Kentucky         /s/ Peter J. Mougey
                                      al
                       Itawamba County, Mississippi v.
1:18-op-45396-DAP    Amerisourcebergen Drug Corporation et         Itawamba County             Mississippi       /s/ Peter J. Mougey
                                      al
                       Marshall County, Mississippi v.
1:18-op-45397-DAP    Amerisourcebergen Drug Corporation et          Marshall County            Mississippi       /s/ Peter J. Mougey
                                      al
                       City of Charleston, Mississippi v.
1:18-op-45398-DAP    Amerisourcebergen Drug Corporation et          Charleston City            Mississippi       /s/ Peter J. Mougey
                                       al
                      Tallahatchie County, Mississippi v.
1:18-op-45399-DAP    Amerisourcebergen Drug Corporation et        Tallahatchie County          Mississippi       /s/ Peter J. Mougey
                                      al
                         Allen County Board of County
1:18-op-45401-DAP     Commissioners v. AmerisourceBergen             Allen County                 Ohio         /s/ Peter H. Weinberger
                             Drug Corporation et al
                       Milwaukee County Wisconsin v.
1:18-op-45402-DAP    Amerisourcebergen Drug Corporation et         Milwaukee County             Wisconsin        /s/ Peter J. Mougey
                                      al
                        Madison County, Tennessee v.
1:18-op-45403-DAP    Amerisourcebergen Drug Coropration et          Madison County              Tennessee        /s/ Peter J. Mougey
                                      al
                       Henderson County, Tennessee v.
1:18-op-45404-DAP    Amerisourcebergen Drug Coropration et         Henderson County             Tennessee        /s/ Peter J. Mougey
                                      al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 22 of 88. PageID #: 640512
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                      Plaintiff          State            Signed by

                     Grand Rapids, City of v. Purdue Pharma
1:18-op-45406-DAP                                              Grand Rapids City     Michigan      /s/ Paul F. Novak
                                   L.P. et al
                      Chambers County, Alabama v. Purdue
1:18-op-45408-DAP                                              Chambers County       Alabama       /s/ Jeffrey D. Price
                               Pharma L.P. et al
                     Thurston County v. Purdue Pharma, L.P.
1:18-op-45409-DAP                                              Thurston County      Washington        /s/ David Ko
                                      et al
                        Walthall County, Mississippi v.
1:18-op-45411-DAP    Amerisourcebergen Drug Corporation et      Walthall County     Mississippi    /s/ Peter J. Mougey
                                      al
                           Bibb County, Alabama v.
1:18-op-45413-DAP    Amerisourcebergen Drug Corporation et       Bibb County         Alabama       /s/ Peter J. Mougey
                                      al
                        Shelby County Alabama v. Purdue
1:18-op-45414-DAP                                               Shelby County        Alabama       /s/ Jeffrey D. Price
                                Pharma LP et al
                    Blount County Alabama v. Purdue
1:18-op-45415-DAP                                               Blount County        Alabama       /s/ Jeffrey D. Price
                               Pharma LP et al
                  Midfield, City of v. Purdue Pharma LP et
1:18-op-45416-DAP                                                Midfield City       Alabama       /s/ Jeffrey D. Price
                                       al
                       Montgomery County, Tennessee v.
1:18-op-45418-DAP    AmerisourceBergen Drug Corporation et    Montgomery County     Tennessee      /s/ Peter J. Mougey
                                      al
                         Fentress County, Tennessee v.
1:18-op-45419-DAP    AmerisourceBergen Drug Corporation et      Fentress County     Tennessee      /s/ Peter J. Mougey
                                      al
                  Hale County, Alabama v. Actavis LLC et
1:18-op-45420-DAP                                                Hale County         Alabama       /s/ Jeffrey D. Price
                                     al
                  City of Greensboro, Alabama v. Actavis
1:18-op-45421-DAP                                               Greensboro City      Alabama       /s/ Jeffrey D. Price
                                 LLC et al
                   City of Evergreen, Alabama v. Purdue
1:18-op-45422-DAP                                               Evergreen City       Alabama       /s/ Jeffrey D. Price
                               Pharma, L.P.
                    Town of Yellow Bluff, Alabama v.
1:18-op-45423-DAP                                             Yellow Bluff Town      Alabama       /s/ Jeffrey D. Price
                            Purdue Pharma, L.P.
                        City of North Royalton v.
                                                                                                  /s/ William D. Mason
1:18-op-45427-DAP AmerisourceBergen Drug Corporation, et      North Royalton City      Ohio
                                                                                                            Jr.
                                    al
                      St. Louis County, Minnesota v. Purdue
1:18-op-45430-DAP                                               St Louis County     Minnesota      /s/ Scott A. Benson
                                 Pharma L.P., et al
                  City of Huron v. Cardinal Health Inc. et                                        /s/ William D. Mason
1:18-op-45431-DAP                                                 Huron City           Ohio
                                       al                                                                   Jr.
                  City of Fostoria v. Purdue Pharma L.P. et
1:18-op-45433-DAP                                                Fostoria City         Ohio       /s/ Leslie O. Murray
                                       al
                  City of Warren v. Purdue Pharma L.P. et
1:18-op-45434-DAP                                                Warren City           Ohio       /s/ Shayna E. Sacks
                                       al
                     Town of McKenzie, Alabama v. Purdue
1:18-op-45435-DAP                                               Mckenzie Town        Alabama       /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Georgiana, Alabama v. Purdue
1:18-op-45436-DAP                                              Georgiana Town        Alabama       /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Abbeville, Alabama v. Purdue
1:18-op-45437-DAP                                               Abbeville City       Alabama       /s/ Jeffrey D. Price
                                Pharma L.P. et al
                        Butler County, Alabama v. Purdue
1:18-op-45441-DAP                                                Butler County       Alabama       /s/ Jeffrey D. Price
                                Pharma L.P. et al
                       County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                              Clackamas County      Oregon        /s/ Tom D'Amore
                                Pharma, LP et al
                       County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                             CLATSOP COUNTY         Oregon        /s/ Tom D'Amore
                                Pharma, LP et al




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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                         Plaintiff             State            Signed by

                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                             COLUMBIA COUNTY             Oregon         /s/ Tom D'Amore
                              Pharma, LP et al
                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                             JACKSON COUNTY              Oregon         /s/ Tom D'Amore
                              Pharma, LP et al
                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                             JOSEPHINE COUNTY            Oregon         /s/ Tom D'Amore
                              Pharma, LP et al
                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                               LANE COUNTY               Oregon         /s/ Tom D'Amore
                              Pharma, LP et al
                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                            WASHINGTON COUNTY            Oregon         /s/ Tom D'Amore
                              Pharma, LP et al
                     County of Clackamas et al v. Purdue
1:18-op-45442-DAP                                             YAMHILL COUNTY              Oregon         /s/ Tom D'Amore
                              Pharma, LP et al

                    City of Macedonia, Ohio v. Amerisource                                             /s/ William D. Mason
1:18-op-45447-DAP                                                Macedonia City            Ohio
                         Bergen Drug Corporation et al                                                           Jr.

                       City of East Cleveland, Ohio v.
                                                                                                       /s/ William D. Mason
1:18-op-45448-DAP   AmerisourceBergen Drug Corporation et       East Cleveland City        Ohio
                                                                                                                 Jr.
                                      al
                     Village of Newburgh Heights, Ohio v.
                                                                                                       /s/ Willliam D. Mason
1:18-op-45449-DAP   AmerisourceBergen Drug Corporation et    Newburgh Heights Village      Ohio
                                                                                                                  Jr.
                                      al
                       Village of Brooklyn Heights v.
                                                                                                       /s/ William D. Mason
1:18-op-45450-DAP   AmerisourceBergen Drug Corporation et    Brooklyn Heights Village      Ohio
                                                                                                                 Jr.
                                     al
                      Cherokee County, Kansas, Board of
1:18-op-45452-DAP    Commissioners v. Amerisourcebergen          Cherokee County          Kansas        /s/ Peter J. Mougey
                            Drug Corporation et al
                           Bay County, Florida v.
1:18-op-45455-DAP   AmerisourceBergen Drug Corporation et          Bay County             Florida       /s/ Peter J. Mougey
                                     al
                          City of Guin, Alabama v.
1:18-op-45457-DAP   Amerisourcebergen Drug Corporation et           Guin City            Alabama        /s/ Peter J. Mougey
                                     al
                           Lexington, Tennessee v.
1:18-op-45458-DAP   Amerisourcebergen Drug Coropration et         Lexington City         Tennessee      /s/ Peter J. Mougey
                                      al
                           City of Warwick, RI v.
1:18-op-45460-DAP   Amerisourcebergen Drug Corporation et         Warwick City          Rhode Island    /s/ Peter J. Mougey
                                     al
                        Town of North Providence v.
1:18-op-45461-DAP   Amerisourcebergen Drug Corporation et     North Providence Town     Rhode Island    /s/ Peter J. Mougey
                                     al

                    Town of Johnston v. Amerisourcebergen
1:18-op-45462-DAP                                                 Johnston Town         Rhode Island    /s/ Peter J. Mougey
                           Drug Corporation, et al.

                           City of Pawtucket, RI v.
1:18-op-45463-DAP   Amerisourcebergen Drug Corporation et         Pawtucket City        Rhode Island    /s/ Peter J. Mougey
                                      al
                          City of East Providence v.
1:18-op-45464-DAP   Amerisourcebergen Drug Corporation et      East Providence City     Rhode Island    /s/ Peter J. Mougey
                                       al
                     Town of Cumberland, Rhode Island v.
1:18-op-45465-DAP   Amerisourcebergen Drug Corporation et       Cumberland Town         Rhode Island    /s/ Peter J. Mougey
                                     al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 24 of 88. PageID #: 640514
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                        Plaintiff           State           Signed by

                     City of Central Falls, Rhode Island v.
1:18-op-45466-DAP   Amerisourcebergen Drug Corporation et       Central Falls City   Rhode Island   /s/ Peter J. Mougey
                                       al
                     Town of Charlestown Rhode Island v.
1:18-op-45467-DAP   Amerisourcebergen Drug Corporation et      Charlestown Town      Rhode Island   /s/ Peter J. Mougey
                                      al
                     Town of Bristol v. Amerisourcebergen
1:18-op-45468-DAP                                                 Bristol Town       Rhode Island   /s/ Peter J. Mougey
                           Drug Corporation et al
                           Town of Barrington v.
1:18-op-45469-DAP   Amerisourcebergen Drug Corporation et       Barrington Town      Rhode Island   /s/ Peter J. Mougey
                                     al
                           Town of Burrillville v.
1:18-op-45470-DAP   Amerisourcebergen Drug Corporation et       Burrillville Town    Rhode Island   /s/ Peter J. Mougey
                                     al
                      Town of Coventry Rhode Island v.
1:18-op-45471-DAP   Amerisourcebergen Drug Corporation et        Coventry Town       Rhode Island   /s/ Peter J. Mougey
                                     al
                      City of Cranston, Rhode Island v.
1:18-op-45472-DAP   Amerisourcebergen Drug Corporation et         Cranston City      Rhode Island   /s/ Peter J. Mougey
                                     al
                     Town of Foster v. Amerisourcebergen
1:18-op-45473-DAP                                                 Foster Town        Rhode Island   /s/ Peter J. Mougey
                           Drug Corporation et al

                    Town of Glocester v. Amerisourcebergen
1:18-op-45474-DAP                                                Glocester Town      Rhode Island   /s/ Peter J. Mougey
                            Drug Corporation et al

                     Town of Hopkinton Rhode Island v.
1:18-op-45475-DAP   Amerisourcebergen Drug Corporation et       Hopkinton Town       Rhode Island   /s/ Peter J. Mougey
                                     al
                       Town of Jamestown, a municipal
1:18-op-45476-DAP   corporation v. Amerisourcebergen Drug       Jamestown Town       Rhode Island   /s/ Peter J. Mougey
                               Corporation et al
                        Town of North Kingstown v.
1:18-op-45477-DAP   Amerisourcebergen Drug Corporation et     North Kingstown Town   Rhode Island   /s/ Peter J. Mougey
                                     al
                           Town of Narragansett v.
1:18-op-45478-DAP   Amerisourcebergen Drug Corporation et      Narragansett Town     Rhode Island   /s/ Peter J. Mougey
                                     al
                      City of Newport, Rhode Island v.
1:18-op-45479-DAP   Amerisourcebergen Drug Corporation et         Newport City       Rhode Island   /s/ Peter J. Mougey
                                     al
                           Town of Richmond v.
1:18-op-45480-DAP   Amerisourcebergen Drug Corporation et       Richmond Town        Rhode Island   /s/ Peter J. Mougey
                                     al
                           Town of Smithfield v.
1:18-op-45481-DAP   Amerisourcebergen Drug Corporation et       Smithfield Town      Rhode Island   /s/ Peter J. Mougey
                                     al
                     Town of South Kingstown Municipal
1:18-op-45482-DAP   Corporation v. Amerisourcebergen Drug     South Kingstown Town   Rhode Island   /s/ Peter J. Mougey
                               Corporation et al
                         Town of West Greenwich v.
1:18-op-45483-DAP   Amerisourcebergen Drug Corporation et     West Greenwich Town    Rhode Island   /s/ Peter J. Mougey
                                     al
                    Town of West Warwick,Rhode Island v.
1:18-op-45484-DAP   Amerisourcebergen Drug Corporation et      West Warwick Town     Rhode Island   /s/ Peter J. Mougey
                                     al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 25 of 88. PageID #: 640515
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                            Plaintiff                 State             Signed by

                     Town of Westerly v. Amerisourcebergen
1:18-op-45485-DAP                                                      Westerly Town            Rhode Island      /s/ Peter J. Mougey
                             Drug Corporation et al

                      City of Malden v. Amerisourcebergen
1:18-op-45487-DAP                                                       Malden City             Massachusetts     /s/ Peter J. Mougey
                              Drug Corporation et al
                  Big Bend Community Based Care, Inc. et         Big Bend Community Based
1:18-op-45493-DAP                                                                                  Florida       /s/ Oscar M Price IV
                        al v. Purdue Pharma LP et al                         Care
                  Big Bend Community Based Care, Inc. et          Central Florida Behavioral
1:18-op-45493-DAP                                                                                  Florida       /s/ Oscar M Price, IV
                        al v. Purdue Pharma LP et al                   Health Network
                    Big Bend Community Based Care, Inc. et       Central Florida Cares Health
1:18-op-45493-DAP                                                                                  Florida       /s/ Oscar M Price, IV
                          al v. Purdue Pharma LP et al                      System
                  Big Bend Community Based Care, Inc. et
1:18-op-45493-DAP                                                 Lutheran Services Florida        Florida       /s/ Oscar M. Price, IV
                        al v. Purdue Pharma LP et al
                  Big Bend Community Based Care, Inc. et         Southeast Florida Behavioral
1:18-op-45493-DAP                                                                                  Florida       /s/ Oscar M Price, IV
                        al v. Purdue Pharma LP et al                   Health Network
                     Catoosa County, Georgia v. Purdue
1:18-op-45497-DAP                                                      Catoosa County              Georgia       /s/ J. Anderson Davis
                               Pharma L.P. et al
                      People of the State of Illinois et al v.
1:18-op-45499-DAP    AmerisourceBergen Drug Corporation et           Effingham County              Illinois       /s/ Peter J. Mougey
                                       al
                       Prince George's County Maryland v.
1:18-op-45501-DAP                                                  Prince Georges County          Maryland        /s/ Shayna E. Sacks
                            Purdue Pharma L.P. et al
                       Lac du Flambeau Band of Chippewa           Lac du Flambeau Band of
1:18-op-45502-DAP                                                                                 Wisconsin       /s/ T. Roe Frazer II
                      Indians v. McKesson Corporation et al          Chippewa Indians
                        DeKalb County, Georgia v. Purdue
1:18-op-45503-DAP                                                      Dekalb County               Georgia        /s/ Shayna E. Sacks
                                 Pharma L.P. et al
                       County of Wilcox, Georgia v. Purdue
1:18-op-45506-DAP                                                      Wilcox County               Georgia           /s/ Matt Conn
                                 Pharma L.P. et al
                      Hamilton County, Tennessee v. Purdue
1:18-op-45507-DAP                                                     Hamilton County             Tennessee         /s/ Mike Moore
                                 Pharma L.P. et al
                       City of Hattiesburg, Mississippi v.
1:18-op-45512-DAP    Amerisourcebergen Drug Corporation et            Hattiesburg City           Mississippi      /s/ Peter J. Mougey
                                       al
                  City of Sarasota v. Purdue Pharma L.P. et
1:18-op-45513-DAP                                                       Sarasota City              Florida       /s/ David I. Ackerman
                                       al
                    City of Lowell v. Amerisourcebergen
1:18-op-45514-DAP                                                        Lowell City            Massachusetts     /s/ Peter J. Mougey
                            Drug Corporation et al
                          Town of East Greenwich v.
1:18-op-45515-DAP    Amerisourcebergen Drug Corporation et          East Greenwich Town         Rhode Island      /s/ Peter J. Mougey
                                      al
                       City of Sandy Springs, Georgia v.
1:18-op-45516-DAP    AmerisourceBergen Drug Corporation et           Sandy Springs City            Georgia           /s/ Matt Conn
                                      al
                     City of Clarksville, Tennessee v. Purdue
1:18-op-45517-DAP                                                      Clarksville City           Tennessee          /s/ Matt Conn
                                Pharma L.P. et al
                      People of the State of Illinois et al v.
1:18-op-45518-DAP    AmerisourceBergen Drug Corporation et            Lawrence County              Illinois       /s/ Peter J. Mougey
                                       al
                      People of the State of Illinois et al v.
1:18-op-45519-DAP    AmerisourceBergen Drug Corporation et             Massac County               Illinois       /s/ Peter J. Mougey
                                       al
                             Martin County, NC v.
1:18-op-45522-DAP    AmerisourceBergen Drug Corporation et             Martin County            North Carolina    /s/ Peter J. Mougey
                                      al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 26 of 88. PageID #: 640516
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                            Plaintiff                State             Signed by

                    McDowell County v. AmerisourceBergen
1:18-op-45524-DAP                                                    Mcdowell County          North Carolina   /s/ Peter J. Mougey
                          Drug Corporation et al

                     Watauga County v. AmerisourceBergen
1:18-op-45525-DAP                                                    Watauga County           North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                     People of the State of Illinois et al v.
1:18-op-45527-DAP   AmerisourceBergen Drug Corporation et           Livingston County            Illinois      /s/ Peter J. Mougey
                                      al
                     People of the State of Illinois et al v.
1:18-op-45528-DAP   AmerisourceBergen Drug Corporation et              Saline County             Illinois      /s/ Peter J. Mougey
                                      al
                       Marion County Board of County
1:18-op-45529-DAP    Commissioners v. AmerisourceBergen               Marion County               Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                     People of the State of Illinois et al v.
1:18-op-45532-DAP   AmerisourceBergen Drug Corporation et             Marion County              Illinois      /s/ Peter J. Mougey
                                      al
                         Fiscal Court of Bourbon County,
1:18-op-45533-DAP                                                    Bourbon County             Kentucky       /s/ Robert K. Finnell
                      Kentucky v. Purdue Pharma, L.P. et al
                     Fiscal Court of Owen County, Kentucky
1:18-op-45534-DAP                                                      Owen County              Kentucky       /s/ Robert K. Finnell
                           v. Purdue Pharma, L.P. et al
                      Warren County v. AmerisourceBergen
1:18-op-45536-DAP                                                     Warren County           North Carolina   /s/ Peter J. Mougey
                              Drug Corporation et al
                        City of Metropolis, Illinois v.
1:18-op-45537-DAP   AmerisourceBergen Drug Corporation et             Metropolis City            Illinois      /s/ Peter J. Mougey
                                     al
                    Marshall County Health Care Authority v.    Marshall County Health Care
1:18-op-45538-DAP                                                                               Alabama           /s/ Matt Conn
                            Purdue Pharma L.P. et al                     Authority
                     People of the State of Illinois et al v.
1:18-op-45539-DAP   AmerisourceBergen Drug Corporation et            Jefferson County            Illinois      /s/ Peter J. Mougey
                                      al
                       Henry County, Alabama v. Purdue
1:18-op-45543-DAP                                                      Henry County             Alabama        /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Tuskegee, Alabama v. Purdue
1:18-op-45544-DAP                                                     Tuskegee City             Alabama        /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Wilkes Barre, Pennsylvania v.
1:18-op-45545-DAP                                                    Wilkes-Barre City        Pennsylvania     /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                       Harrison County Board of
1:18-op-45547-DAP Commissioners v. Purdue Pharma L.P. et             Harrison County              Ohio         /s/ Shayna E. Sacks
                                    al
                       Mayor and Alderman of the City of
1:18-op-45550-DAP     Savannah v. Amerisourcebergen Drug              Savannah City              Georgia       /s/ John E. Suthers
                               Corporation et al
                       Miami-Dade County, Florida v.
1:18-op-45552-DAP   AmerisourceBergen Drug Corporation et          Miami-Dade County             Florida       /s/ Peter J. Mougey
                                     al
                    City of Tuscaloosa, Alabama v. Cardinal
1:18-op-45553-DAP                                                     Tuscaloosa City           Alabama          /s/ Brad Ponder
                                Health Inc et al

                    Town of Brewster v. Amerisourcebergen
1:18-op-45556-DAP                                                     Brewster Town           Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                  Jefferson County Alabama et al v. Purdue
1:18-op-45558-DAP                                                     Hueytown city             Alabama        /s/ Shayna E. Sacks
                              Pharma L.P. et al
                  Jefferson County Alabama et al v. Purdue
1:18-op-45558-DAP                                                    Jefferson County           Alabama        /s/ Shayna E. Sacks
                              Pharma L.P. et al



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  Case Number                    Case Caption                          Plaintiff               State              Signed by

                    Jefferson County Alabama et al v. Purdue   Jefferson County Board of
1:18-op-45558-DAP                                                                            Alabama         /s/ Shayna E. Sacks
                                Pharma L.P. et al                        Health
                    Jefferson County Alabama et al v. Purdue
1:18-op-45558-DAP                                                Mountain Brook city         Alabama         /s/ Shayna E. Sacks
                                Pharma L.P. et al
                    Jefferson County Alabama et al v. Purdue
1:18-op-45558-DAP                                                 Pleasant Grove city        Alabama         /s/ Shayna E. Sacks
                                Pharma L.P. et al

                    Town of Billerica v. Amerisourcebergen
1:18-op-45560-DAP                                                   Billerica Town         Massachusetts      /s/ Peter J. Mougey
                            Drug Corporation et al

                    Dale County, Alabama v. Purdue Pharma
1:18-op-45561-DAP                                                    Dale County             Alabama          /s/ Jeffrey D/ Price
                                   L.P. et al
                        City of Hamilton, Alabama v.
1:18-op-45564-DAP   Amerisourcebergen Drug Corporation et           Hamilton City            Alabama          /s/ Peter J. Mougey
                                     al
                  City of Weaver, Alabama v. Actavis LLC
1:18-op-45565-DAP                                                    Weaver City             Alabama         /s/ Jeffrey D. Price
                                    et al
                    Cleburne County, Alabama v. Purdue
1:18-op-45566-DAP                                                  Cleburne County           Alabama          /s/ Jeffrey D. Price
                             Pharma L P et al

                    Columbus Georgia v. AmerisourceBergen
1:18-op-45567-DAP                                                   Columbus City             Georgia         /s/ Peter J. Mougey
                           Drug Corporation et al

                        Overton County, Tennessee v.
1:18-op-45568-DAP   AmerisourceBergen Drug Corporation et          Overton County            Tennessee        /s/ Peter J. Mougey
                                     al
                      Auglaize County Board of County
1:18-op-45570-DAP    Commissioners v. AmerisourceBergen            Auglaize County             Ohio           /s/ Peter J. Mougey
                           Drug Corporation et al
                      Van Wert County Board of County
1:18-op-45571-DAP    Commissioners v. AmerisourceBergen            Van Wert County             Ohio         /s/ Peter H. Weinberger
                           Drug Corporation et al
                      Hancock County Board of County
1:18-op-45572-DAP    Commissioners v. AmerisourceBergen            Hancock County              Ohio         /s/ Peter H. Weinberger
                           Drug Corporation et al
                    City of Woodbury Georgia v. Purdue
1:18-op-45575-DAP                                                   Woodbury City             Georgia           /s/ Matt Conn
                             Pharma, L.P. et al
                  Macon County Georgia v. Purdue Pharma
1:18-op-45577-DAP                                                   Macon County              Georgia           /s/ Matt Conn
                                 L.P.,et al
                  Peach County Georgia v. Purdue Pharma,
1:18-op-45579-DAP                                                   Peach County              Georgia           /s/ Matt Conn
                                 L.P. et al
                        Schley County Georgia v. Purdue
1:18-op-45580-DAP                                                   Schley County             Georgia           /s/ Matt Conn
                               Pharma, L.P. et al
                     Town of Derry, New Hampshire v.
1:18-op-45582-DAP   Amerisourcebergen Drug Corporation et            Derry Town            New Hampshire      /s/ Peter J. Mougey
                                     al
                     Greene County v. AmerisourceBergen
1:18-op-45584-DAP                                                   Greene County          North Carolina     /s/ Peter J. Mougey
                            Drug Corporation et al
                     Wayne County v. AmerisourceBergen
1:18-op-45585-DAP                                                   Wayne County           North Carolina     /s/ Peter J. Mougey
                            Drug Corporation et al
                     Richmond County, North Carolina v.
1:18-op-45586-DAP   AmerisourceBergen Drug Corporation et         Richmond County          North Carolina     /s/ Peter J. Mougey
                                     al
                     Carteret County v. AmerisourceBergen
1:18-op-45587-DAP                                                   Carteret County        North Carolina     /s/ Peter J. Mougey
                             Drug Corporation et al
                    Tulalip Tribes v. Purdue Pharma, L.P. et
1:18-op-45589-DAP                                                   Tulalip Tribes          Washington           /s/ David Ko
                                        al




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  Case Number                     Case Caption                       Plaintiff           State            Signed by

1:18-op-45590-DAP City of Kent v. Purdue Pharma, L.P. et al          Kent City        Washington         /s/ David Ko

                       City of Paducah, Kentucky v. Purdue
1:18-op-45592-DAP                                                  Paducah City        Kentucky         /s/ Matt Conn
                                 Pharma, L.P. et al
                      County of Ballard Kentucky v. Purdue
1:18-op-45593-DAP                                                 Ballard County       Kentucky         /s/ Matt Conn
                               Pharma, L.P. et al
                       City of Harrisburg, Illinois v. Purdue
1:18-op-45594-DAP                                                 Harrisburg City       Illinois       /s/ Randi Kassan
                                Pharma L.P. et al

                     Town Of Salisbury v. Amerisourcebergen
1:18-op-45595-DAP                                                 Salisbury Town     Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al

                       City of Everett v. Amerisourcebergen
1:18-op-45596-DAP                                                   Everett City     Massachusetts    /s/ Peter J. Mougey
                               Drug Corporation et al
                        Monroe County Board of County
1:18-op-45597-DAP     Commissioners v. AmerisourceBergen          Monroe County          Ohio         /s/ Peter J. Mougey
                            Drug Corporation et al
                  City of Princeton, Illinois v. Actavis LLC
1:18-op-45599-DAP                                                  Princeton City       Illinois       /s/ Randi Kassan
                                     et al
                   Forsyth County v. AmerisourceBergen
1:18-op-45605-DAP                                                 Forsyth County     North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                      People of the State of Illinois et al v.
1:18-op-45606-DAP    AmerisourceBergen Drug Corporation et          Lee County          Illinois      /s/ Peter J. Mougey
                                       al
                           County of Sacramento v.
1:18-op-45608-DAP    Amerisourcebergen Drug Corporation et       Sacramento County     California     /s/ Peter J. Mougey
                                      al
                     County of McCracken Kentucky v.
1:18-op-45611-DAP                                                Mccracken County      Kentucky         /s/ Matt Conn
                          Purdue Pharma, L.P. et al
                  Clallam County v. Purdue Pharma, L.P. et
1:18-op-45612-DAP                                                 Clallam County      Washington         /s/ David Ko
                                     al
                         County of San Diego et al v.
1:18-op-45613-DAP    Amerisourcebergen Drug Corporation et       San Diego County      California     /s/ Peter J. Mougey
                                      al
                      St. Clair County, Alabama v. Actavis
1:18-op-45614-DAP                                                 St Clair County      Alabama        /s/ Jeffrey D. Price
                                    LLC et al
                     Bergen County v. Purdue Pharma L.P. et
1:18-op-45616-DAP                                                  Bergen County      New Jersey      /s/ James E. Cecchi
                                        al

                      City of Frostburg v. Amerisourcebergen
1:18-op-45617-DAP                                                  Frostburg City      Maryland       /s/ Peter J. Mougey
                               Drug Corporation et al

                          County of Mariposa, et al v.
1:18-op-45618-DAP    Amerisourcebergen Drug Corporation et        Mariposa County      California     /s/ Peter J. Mougey
                                      al
                       County of Tuolumne, et al v.
1:18-op-45619-DAP Amerisource Bergen Drug Corporation et         Tuolumne County       California     /s/ Peter J. Mougey
                                   al
                           City of Alma, Georgia v.
1:18-op-45620-DAP    Amerisourcebergen Drug Corporation et          Alma City           Georgia        /s/ Mark A. Tate
                                      al
                       City of Hagerstown, Maryland v.
1:18-op-45622-DAP    Amerisourcebergen Drug Corporation et        Hagerstown City      Maryland       /s/ Peter J. Mougey
                                      al
                     City of Cumberland, Maryland v
1:18-op-45624-DAP AmerisourceBergen Drug Corporation, et          Cumberland City      Maryland       /s/ Peter J. Mougey
                                   al.




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 29 of 88. PageID #: 640519
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                        Plaintiff           State            Signed by

                     County of Mono v. Amerisourcebergen
1:18-op-45626-DAP                                                Mono County          California     /s/ Peter J. Mougey
                            Drug Corporation et al
                     County of Butte v. Amerisourcebergen
1:18-op-45627-DAP                                                 Butte County        California     /s/ Peter J. Mougey
                            Drug Corporation et al

                    County of Nevada v. Amerisourcebergen
1:18-op-45628-DAP                                                Nevada County        California     /s/ Peter J. Mougey
                            Drug Corporation et al

                           County of El Dorado v.
1:18-op-45629-DAP   Amerisourcebergen Drug Corporation et      El Dorado County       California     /s/ Peter J. Mougey
                                     al

                    County of Siskiyou v. Amerisourcebergen
1:18-op-45630-DAP                                               Siskiyou County       California     /s/ Peter J. Mougey
                             Drug Corporation et al

                          County of Imperial et al v.
1:18-op-45631-DAP   Amerisourcebergen Drug Corporation et       Imperial County       California     /s/ Peter J. Mougey
                                     al
                         City of Portland, Oregon v.
1:18-op-45633-DAP   Amerisourcebergen Drug Corporation et         Portland City        Oregon        /s/ Peter J. Mougey
                                      al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et        Bridgeport city      Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et        Geraldine town       Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et         Henagar City        Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et     JACKSON COUNTY          Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et        New Hope city        Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et        Scottsboro city      Alabama          /s/ Matt Conn
                                     al
                      Jackson County, Alabama et al v.
1:18-op-45634-DAP   AmerisourceBergen Drug Corporation et       Woodville town        Alabama          /s/ Matt Conn
                                     al
                         City of Mayfield Heights v.
                                                                                                   /s/ William D. Mason
1:18-op-45635-DAP   AmerisourceBergen Drug Corporation et     Mayfield Heights City     Ohio
                                                                                                             JR.
                                     al

                    City of Lyndhurst v. AmerisourceBergen                                         /s/ William D. Mason
1:18-op-45636-DAP                                                Lyndhurst City         Ohio
                             Drug Corporation et al                                                          Jr.

                    City of Wickliffe v. AmerisourceBergen                                         /s/ William D. Mason
1:18-op-45637-DAP                                                Wickliffe City         Ohio
                             Drug Corporation et al                                                          Jr.

                          City of St. Marys, Ohio v.
1:18-op-45638-DAP   AmerisourceBergen Drug Corporation et        St. Marys City         Ohio       /s/ Peter H. Weinberger
                                       al
                     County of Glenn v. Amerisourcebergen
1:18-op-45639-DAP                                                Glenn County         California     /s/ Peter J. Mougey
                            Drug Corporation et al
                     County of Sutter v. Amerisourcebergen
1:18-op-45640-DAP                                                Sutter County        California     /s/ Peter J. Mougey
                            Drug Corporation et al



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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                      Plaintiff            State            Signed by

                    County of Modoc v. Amerisourcebergen
1:18-op-45641-DAP                                              Modoc County          California     /s/ Peter J. Mougey
                            Drug Corporation et al

                    County of Placer v. Amerisourcebergen
1:18-op-45642-DAP                                               Placer County        California     /s/ Peter J. Mougey
                           Drug Corporation et al

                          County of Merced, et al v.
1:18-op-45643-DAP   Amerisourcebergen Drug Corporation et      Merced County         California     /s/ Peter J. Mougey
                                     al

                    County of Fresno v. Amerisourcebergen
1:18-op-45644-DAP                                              Fresno County         California     /s/ Peter J. Mougey
                           Drug Corporation, et al.

                        County of Calaveras, et al v.
1:18-op-45645-DAP   Amerisourcebergen Drug Corporation et     Calaveras County       California     /s/ Peter J. Mougey
                                     al
                           County of Inyo, et al v.
1:18-op-45646-DAP   Amerisourcebergen Drug Corporation et       Inyo County          California     /s/ Peter J. Mougey
                                     al
                          County of Madera, et al v.
1:18-op-45647-DAP   Amerisourcebergen Drug Corporation et      Madera County         California     /s/ Peter J. Mougey
                                     al
                     County of Yuba v. Amerisourcebergen
1:18-op-45648-DAP                                               Yuba County          California     /s/ Peter J. Mougey
                            Drug Corporation et al

                    County of Plumas v. Amerisourcebergen
1:18-op-45649-DAP                                              Plumas County         California     /s/ Peter J. Mougey
                            Drug Corporation et al

                    County of Trinity v. Amerisourcebergen
1:18-op-45650-DAP                                              Trinity County        California     /s/ Peter J. Mougey
                            Drug Corporation et al

                       Allegany County, Maryland v.
1:18-op-45652-DAP   Amerisourcebergen Drug Corporation et     Allegany County        Maryland       /s/ Peter J. Mougey
                                     al
                           County of San Benito v.
1:18-op-45653-DAP   Amerisourcebergen Drug Corporation et    San Benito County       California     /s/ Peter J. Mougey
                                     al
                           County of Mendocino v.
1:18-op-45654-DAP   Amerisourcebergen Drug Corporation et    Mendocino County        California     /s/ Peter J. Mougey
                                     al
                           County of Del Norte v.
1:18-op-45655-DAP   Amerisourcebergen Drug Corporation et     Del Norte County       California     /s/ Peter J. Mougey
                                     al
                          County of Contra Costa v.
1:18-op-45656-DAP   Amerisourcebergen Drug Corporation et    Contra Costa County     California     /s/ Peter J. Mougey
                                     al
                          City of Winston-Salem v.
1:18-op-45658-DAP   AmerisourceBergen Drug Corporation et    Winston-Salem City    North Carolina   /s/ Peter J. Mougey
                                     al
                     Craven County v. AmerisourceBergen
1:18-op-45660-DAP                                              Craven County       North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                        Knox County Board of County
1:18-op-45665-DAP    Commissioners v. AmerisourceBergen         Knox County            Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                    Dallas County, Alabama v. Actavis, LLC
1:18-op-45667-DAP                                               Dallas County        Alabama        /s/ Peter J. Mougey
                                      et al




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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff                 State            Signed by

                       Shelby County Board of County
1:18-op-45668-DAP    Commissioners v. AmerisourceBergen              Shelby County               Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                    County of Osceola v. Purdue Pharma L.P.
1:18-op-45669-DAP                                                   Osceola County              Florida       /s/ Shayna E. Sacks
                                     et al
                        Wilkinson County Georgia v.
1:18-op-45671-DAP   AmerisourceBergen Drug Corporation et          Wilkinson County             Georgia       /s/ Peter J. Mougey
                                     al
                          Monroe County Georgia v.
1:18-op-45672-DAP   AmerisourceBergen Drug Corporation et           Monroe County               Georgia       /s/ Peter J. Mougey
                                     al
                           Town of Watertown v.
1:18-op-45674-DAP   Amerisourcebergen Drug Corporation et        Watertown Town City         Massachusetts    /s/ Peter J. Mougey
                                     al

                    Town of Plymouth v. Amerisourcebergen
1:18-op-45675-DAP                                                   Plymouth Town            Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                     Town of Acushnet, Massachusetts v.
1:18-op-45676-DAP   Amerisourcebergen Drug Corporation et           Acushnet Town            Massachusetts    /s/ Peter J. Mougey
                                     al

                    City of Amesbury v. Amerisourcebergen
1:18-op-45678-DAP                                                Amesbury Town City          Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al

                    County of Tehama v. Amerisourcebergen
1:18-op-45680-DAP                                                   Tehama County              California     /s/ Peter J. Mougey
                            Drug Corporation et al

                    Dare County v. AmerisourceBergen Drug
1:18-op-45683-DAP                                                     Dare County            North Carolina   /s/ Peter J. Mougey
                               Corporation et al
                            City of Wilmington v.
1:18-op-45684-DAP   AmerisourceBergen Drug Corporation et           Wilmington City          North Carolina   /s/ Peter J. Mougey
                                     al
                    Alachua County v. Purdue Pharma LP et
1:18-op-45685-DAP                                                   Alachua County              Florida       /s/ Shayna E. Sacks
                                      al
                           Town of Southbridge v.
1:18-op-45686-DAP   Amerisourcebergen Drug Corporation et        Southbridge Town City       Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of Winchendon Massachusetts v.
1:18-op-45687-DAP   Amerisourcebergen Drug Corporation et          Winchendon Town           Massachusetts    /s/ Peter J. Mougey
                                     al
                     Town of Auburn v. Amerisourcebergen
1:18-op-45688-DAP                                                    Auburn Town             Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    Town of Charlton v. Amerisourcebergen
1:18-op-45689-DAP                                                   Charlton Town            Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                      City of Prichard, Alabama v. Purdue
1:18-op-45690-DAP                                                    Prichard City             Alabama        /s/ D. Brian Murphy
                                Pharma L.P. et al
                     Town of Carver v. Amerisourcebergen
1:18-op-45691-DAP                                                    Carver Town             Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al
                     City of Chelsea v. Amerisourcebergen
1:18-op-45693-DAP                                                     Chelsea City           Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al
                     City of Holyoke v. Amerisourcebergen
1:18-op-45694-DAP                                                    Holyoke City            Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al
                       Pyramid Lake Paiute Tribe of the
                                                              Pyramid Lake Paiute Tribe of
1:18-op-45696-DAP   Pyramid Lake Reservation v. McKesson                                        Nevada        /s/ T. Roe Frazer II
                                                              the Pyramid Lake Reservation
                              Corporation et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                           Plaintiff                 State            Signed by

                       Paiute-Shoshone Tribe of the Fallon
                                                               Paiute-Shoshone Tribe of the
1:18-op-45697-DAP     Reservation and Colony v. McKesson                                         Nevada        /s/ T. Roe Frazer II
                                                              Fallon Reservation and Colony
                                Corporation et al
                    Walker River Paiute Tribe of The Walker
                                                              Walker River Paiute Tribe of
1:18-op-45698-DAP       River Reservation v. McKesson                                            Nevada        /s/ T. Roe Frazer II
                                                              The Walker River Reservation
                               Corporation et al
                    Reno-Sparks Indian Colony v. McKesson
1:18-op-45699-DAP                                              Reno-Sparks Indian Colony         Nevada        /s/ T. Roe Frazer II
                              Corporation et al
                   United Food and Commercial Workers    United Food and Commercial
                  Union UFCW Local 1529 and Employers Workers Union UFCW Local
1:18-op-45700-DAP                                                                               Tennessee      /s/ T. Roe Frazer II
                   Health and Welfare Plan and Trust v. 1529 and Employers Health and
                         Cardinal Health, Inc. et al        Welfare Plan and Trust
                           City of North Adams v.
1:18-op-45702-DAP   Amerisourcebergen Drug Corporation et          North Adams City           Massachusetts    /s/ Peter J. Mougey
                                     al

                    Town of Nantucket v. Amerisourcebergen
1:18-op-45703-DAP                                                   Nantucket Town            Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                     Town of Hanson v. Amerisourcebergen
1:18-op-45704-DAP                                                    Hanson Town              Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    Town of Freetown v. Amerisourcebergen
1:18-op-45705-DAP                                                    Freetown Town            Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    Town of Douglas v. Amerisourcebergen
1:18-op-45706-DAP                                                    Douglas Town             Massachusetts    /s/ Peter J. Mougey
                           Drug Corporation et al

                     Town of Dudley v. Amerisourcebergen
1:18-op-45707-DAP                                                     Dudley Town             Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    Town of Leicester v. Amerisourcebergen
1:18-op-45709-DAP                                                    Leicester Town           Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                    City of Leominster v. Amerisourcebergen
1:18-op-45710-DAP                                                   Leominster City           Massachusetts    /s/ Peter J. Mougey
                             Drug Corporation et al

                           Town of Northbridge v.
1:18-op-45711-DAP   Amerisourcebergen Drug Corporation et          Northbridge Town           Massachusetts    /s/ Peter J. Mougey
                                     al
                     Lincoln County v. AmerisourceBergen
1:18-op-45719-DAP                                                    Lincoln County           North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al
                        Town of East Bridgewater v.
1:18-op-45721-DAP   Amerisourcebergen Drug Corporation et        East Bridgewater Town        Massachusetts    /s/ Peter J. Mougey
                                     al
                       Lincoln County, Mississippi v.
1:18-op-45722-DAP   Amerisourcebergen Drug Corporation et            Lincoln County            Mississippi     /s/ Peter J. Mougey
                                     al
                       Prentiss County, Mississippi v.
1:18-op-45723-DAP   Amerisourcebergen Drug Corporation et            Prentiss County           Mississippi     /s/ Peter J. Mougey
                                     al
                     Tyrrell County v. AmerisourceBergen
1:18-op-45725-DAP                                                    Tyrrell County           North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al
                            City Of Fayetteville v.
1:18-op-45726-DAP   AmerisourceBergen Drug Corporation et           Fayetteville City         North Carolina   /s/ Peter J. Mougey
                                      al
                           City of Franklin, NH v.
1:18-op-45728-DAP   Amerisourcebergen Drug Corporation et             Franklin City           New Hampshire    /s/ Peter J. Mougey
                                      al



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  Case Number                    Case Caption                             Plaintiff               State            Signed by

                         Escambia County, Florida v.
1:18-op-45729-DAP   AmerisourceBergen Drug Corporation et            Escambia County             Florida       /s/ Peter J. Mougey
                                     al
                    Nez Perce Tribe v. Purdue Pharma, L.P.
1:18-op-45730-DAP                                                     Nez Perce Tribe            Idaho            /s/ David Ko
                                     et al
                    United Food and Commercial Workers
                                                                United Food and Commercial
                      Local 1000 Oklahoma Health and
1:18-op-45733-DAP                                               Workers Local 1000 Oklahoma    Oklahoma        /s/ T. Roe Frazer II
                    Welfare Fund v. McKesson Corporation
                                                                  Health and Welfare Fund
                                     et al
                         Chilton County, Alabama v.
1:18-op-45735-DAP   Amerisourcebergen Drug Corporation et              Chilton County           Alabama        /s/ Peter J. Mougey
                                     al
                      City of Hartselle, Alabama v. Purdue
1:18-op-45736-DAP                                                      Hartselle City           Alabama        /s/ Peter J. Mougey
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                     Carbon Hill City          Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                       Cordova city            Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                      Nauvoo town              Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                      Oakman town              Alabama        /s/ Donna Smalley
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                       Parrish town            Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                    City of Nauvoo, Alabama, et al v. Purdue
1:18-op-45737-DAP                                                       Sipsey town             Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                      City of Winfield, Alabama v. Purdue
1:18-op-45738-DAP                                                      Winfield City            Alabama       /s/ Joel L. DiLorenzo
                                Pharma LP et al
                      Town of Double Springs, AL v.
1:18-op-45739-DAP   Amerisourcebergen Drug Corporation et           Double Springs Town         Alabama        /s/ Peter J. Mougey
                                     al
                     Conejos County et al v. Purdue Pharma
1:18-op-45740-DAP                                                      Alamosa City             Colorado       /s/ Samuel Mitchell
                                  L.P. et al
                     Conejos County et al v. Purdue Pharma
1:18-op-45740-DAP                                                  ALAMOSA COUNTY               Colorado       /s/ Samuel Mitchell
                                  L.P. et al
                     Conejos County et al v. Purdue Pharma
1:18-op-45740-DAP                                                  CONEJOS COUNTY               Colorado       /s/ Samuel Mitchell
                                  L.P. et al
                     Conejos County et al v. Purdue Pharma
1:18-op-45740-DAP                                                 LAS ANIMAS COUNTY             Colorado      /s/ Samuel F. Mitchell
                                  L.P. et al
                     Conejos County et al v. Purdue Pharma
1:18-op-45740-DAP                                                    OTERO COUNTY               Colorado       /s/ Samuel Mitchell
                                  L.P. et al

                    Eastern Atlantic States Carpenters Health      Eastern Atlantic States
1:18-op-45741-DAP                                                                              New Jersey       /s/ Jayne Conroy
                        Fund v. Purdue Pharma L.P. et al           Carpenters Health Fund

                          Pinellas County, Florida v.
1:18-op-45742-DAP   Amerisourcebergen Drug Corporation et             Pinellas County            Florida       /s/ Peter J. Mougey
                                      al

                    Town of Lakeville v. Amerisourcebergen
1:18-op-45743-DAP                                                     Lakeville Town          Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                       Town of North Attleborough v.
1:18-op-45744-DAP   Amerisourcebergen Drug Corporation et         North Attleborough Town     Massachusetts    /s/ Peter J. Mougey
                                     al
                         Seneca Nation of Indians v.
1:18-op-45746-DAP   Amerisourcebergen Drug Corporation et         Seneca Nation of Indians     New York        /s/ Peter J. Mougey
                                     al




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  Case Number                   Case Caption                            Plaintiff                  State             Signed by

                    Cabarrus County v. Purdue Pharma L.P.
1:18-op-45747-DAP                                                   Cabarrus County            North Carolina     /s/ Jayne Conroy
                                    et al

                    Blackfeet Tribe of The Blackfeet Indian
                                                            Blackfeet Tribe of The Blackfeet
1:18-op-45749-DAP   Reservation v. AmerisourceBergen Drug                                        Montana         /s/ Peter J. Mougey
                                                                  Indian Reservation
                               Corporation et al

                     Town of Marshfield, Massachusetts v.
1:18-op-45752-DAP   Amerisourcebergen Drug Corporation et          Marshfield Town             Massachusetts     /s/ Peter J. Mougey
                                     al
                    Town of Bridgewater, Massachusetts v.
1:18-op-45754-DAP   Amerisourcebergen Drug Corporation et          Bridgewater Town            Massachusetts     /s/ Peter J. Mougey
                                     al
                     Town of Mashpee, Massachusetts v.
1:18-op-45755-DAP   Amerisourcebergen Drug Corporation et           Mashpee Town               Massachusetts     /s/ Peter J. Mougey
                                     al
                     Vance County v. AmerisourceBergen
1:18-op-45759-DAP                                                    Vance County              North Carolina    /s/ Peter J. Mougey
                           Drug Corporation et al
                     Town of Danvers, Massachusetts v.
1:18-op-45760-DAP   Amerisourcebergen Drug Corporation et            Danvers Town              Massachusetts     /s/ Peter J. Mougey
                                     al
                     City of Newark, New Jersey v. Purdue
1:18-op-45761-DAP                                                     Newark City               New Jersey      /s/ David I. Ackerman
                               Pharma L.P. et al
                      Hancock County, Mississippi v.
                                                                                                                    /s/ Gary M.
1:18-op-45762-DAP   Amerisourcebergen Drug Corporation et           Hancock County              Mississippi
                                                                                                                   Yarborough, Jr.
                                     al

                    City of Henderson v. AmerisourceBergen
1:18-op-45768-DAP                                                   Henderson City             North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al

                     Town of Somerset, Massachusetts v.
1:18-op-45769-DAP   Amerisourcebergen Drug Corporation et           Somerset Town              Massachusetts     /s/ Peter J. Mougey
                                     al
                    Town of Tyngsborough, Massachusetts v.
1:18-op-45770-DAP   Amerisourcebergen Drug Corporation et         Tyngsborough Town            Massachusetts     /s/ Peter J. Mougey
                                     al
                    City of Parma Heights v. Purdue Pharma
1:18-op-45773-DAP                                                 Parma Heights City               Ohio          /s/ Shayna E. Sacks
                                    L.P. et al
                    Iredell County v. Purdue Pharma L.P. et
1:18-op-45774-DAP                                                    Iredell County            North Carolina     /s/ Jayne Conroy
                                       al
                        Stone County, Mississippi v.
1:18-op-45775-DAP   Amerisourcebergen Drug Corporation et            Stone County               Mississippi      /s/ Peter J. Mougey
                                     al
                     Board of County Commissioners of the
1:18-op-45776-DAP    County of Santa Fe v. Purdue Pharma            Santa Fe County            New Mexico         /s/ Jayne Conroy
                                  L.P. et al
                          Worth County, Missouri v.
1:18-op-45777-DAP   AmerisourceBergen Drug Corporation et            Worth County                Missouri        /s/ Brian J. Madden
                                     al
                        Perry County, Mississippi v.
1:18-op-45778-DAP   Amerisourcebergen Drug Corporation et            Perry County               Mississippi      /s/ Peter J. Mougey
                                     al
                       Montgomery County, Kansas v.
1:18-op-45780-DAP   AmerisourceBergen Drug Corporation et         Montgomery County               Kansas         /s/ Sarah S. Ruane
                                     al
                         Bourbon County, Kansas v.
1:18-op-45781-DAP   AmerisourceBergen Drug Corporation et           Bourbon County                Kansas         /s/ Sarah S. Ruane
                                     al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 35 of 88. PageID #: 640525
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  Case Number                   Case Caption                       Plaintiff           State            Signed by

                        County of Volusia, Florida v.
1:18-op-45782-DAP   Amerisourcebergen Drug Corporation et      Volusia County         Florida       /s/ Peter J. Mougey
                                     al
                     Town of Milford, Massachusetts v.
1:18-op-45783-DAP   Amerisourcebergen Drug Corporation et       Milford Town       Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of Munford, Alabama v. Actavis,
1:18-op-45785-DAP                                              Munford Town          Alabama          /s/ Brad Ponder
                                LLC et al
                    City of Lincoln, Alabama v. Actavis LLC
1:18-op-45786-DAP                                                Lincoln City        Alabama          /s/ Brad Ponder
                                       et al
                      Town of Norton, Massachusetts v.
1:18-op-45787-DAP   Amerisourcebergen Drug Corporation et       Norton Town        Massachusetts    /s/ Peter J. Mougey
                                     al
                    City of Sandusky v. Purdue Pharma L.P.
1:18-op-45788-DAP                                               Sandusky City          Ohio         /s/ Leslie O. Murray
                                     et al
                       City of Lynn, Massachusetts v.
1:18-op-45789-DAP   Amerisourcebergen Drug Corporation et         Lynn City        Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of West Tisbury, Massachusetts v.
1:18-op-45790-DAP   Amerisourcebergen Drug Corporation et     West Tisbury Town    Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of Marblehead, Massachusetts v.
1:18-op-45791-DAP   Amerisourcebergen Drug Corporation et     Marblehead Town      Massachusetts    /s/ Peter J. Mougey
                                     al
                       Holmes County, Mississippi v.
1:18-op-45793-DAP   Amerisourcebergen Drug Corporation et      Holmes County        Mississippi     /s/ Peter J. Mougey
                                     al
                        Nodaway County, Missouri v.
1:18-op-45795-DAP   AmerisourceBergen Drug Corporation et      Nodaway County        Missouri       /s/ Brian J. Madden
                                     al
                        Atchison County, Missouri v.
1:18-op-45797-DAP   AmerisourceBergen Drug Corporation et      Atchison County       Missouri       /s/ Brian J. Madden
                                     al
                      City of Saint Joseph, Missouri v.
1:18-op-45798-DAP   AmerisourceBergen Drug Corporation et       St. Joseph City      Missouri       /s/ Brian J. Madden
                                      al
                     Rowan County v. AmerisourceBergen
1:18-op-45799-DAP                                               Rowan County       North Carolina   /s/ Peter J. Mougey
                             Drug Corporation, et al
                     City of Lakewood, CO et al v. Purdue
1:18-op-45800-DAP                                             Wheat Ridge City       Colorado        /s/ Gerald e. Dahl
                               Pharma L.P. et al
                    Pueblo County v. Purdue Pharma L.P. et
1:18-op-45801-DAP                                               Pueblo County        Colorado        /s/ Jayne Conroy
                                      al
                         Dane County, Wisconsin v.
1:18-op-45802-DAP   Amerisourcebergen Drug Corporation et       Dane County          Wisconsin      /s/ Peter J. Mougey
                                     al
                          Pike County, Alabama v.
1:18-op-45803-DAP   Amerisourcebergen Drug Corporation et        Pike County         Alabama        /s/ Peter J. Mougey
                                     al
                           City of Pinellas Park v.
1:18-op-45807-DAP   Amerisourcebergen Drug Corporation et     Pinellas Park City      Florida       /s/ Peter J. Mougey
                                      al
                     Town of Plainville, Massachusetts v.
1:18-op-45808-DAP   Amerisourcebergen Drug Corporation et      Plainville Town     Massachusetts    /s/ Peter J. Mougey
                                      al




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  Case Number                   Case Caption                            Plaintiff                   State             Signed by

                     Town of Spencer, Massachusetts v.
1:18-op-45809-DAP   Amerisourcebergen Drug Corporation et             Spencer Town              Massachusetts    /s/ Peter J. Mougey
                                     al
                      Town of Sutton, Massachusetts v.
1:18-op-45810-DAP   Amerisourcebergen Drug Corporation et             Sutton Town               Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of Warren, Massachusetts, et al v.
1:18-op-45811-DAP   Amerisourcebergen Drug Corporation et             Warren Town               Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of West Springfield, Massachusetts
1:18-op-45813-DAP   v. Amerisourcebergen Drug Corporation      West Springfield Town City       Massachusetts    /s/ Peter J. Mougey
                                     et al
                     Town of Winthrop, Massachusetts v.
1:18-op-45814-DAP   Amerisourcebergen Drug Corporation et         Winthrop Town City            Massachusetts    /s/ Peter J. Mougey
                                     al
                     Town of Norwell, Massachusetts v.
1:18-op-45815-DAP   Amerisourcebergen Drug Corporation et             Norwell Town              Massachusetts    /s/ Peter J. Mougey
                                     al
                      Town of Truro, Massachusetts v.
1:18-op-45816-DAP   Amerisourcebergen Drug Corporation et              Truro Town               Massachusetts    /s/ Peter J. Mougey
                                     al

1:18-op-45817-DAP Cobb County v. Purdue Pharma L.P. et al             Cobb County                  Georgia        /s/ Jayne Conroy

                     Town of Middletown, Rhode Island v.
1:18-op-45818-DAP   Amerisourcebergen Drug Corporation et           Middletown Town             Rhode Island     /s/ Peter J. Mougey
                                     al
                    Bon Secours Health System, Inc. et al v.       Chesapeake Hospital
1:18-op-45820-DAP                                                                                  Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al                     Corporation
                    Bon Secours Health System, Inc. et al v.   Mary Immaculate Hospital,
1:18-op-45820-DAP                                                                                  Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al                    Incorporated
                    Bon Secours Health System, Inc. et al v.
1:18-op-45820-DAP                                                   Maryview Hospital              Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al
                    Bon Secours Health System, Inc. et al v.   Memorial Regional Medical
1:18-op-45820-DAP                                                                                  Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al                     Center, Inc.
                    Bon Secours Health System, Inc. et al v. Richmond Community Hospital,
1:18-op-45820-DAP                                                                                  Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al                    Incorporated
                    Bon Secours Health System, Inc. et al v.
1:18-op-45820-DAP                                            St. Francis Medical Center, Inc.      Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al
                    Bon Secours Health System, Inc. et al v.      St. Mary's Hospital of
1:18-op-45820-DAP                                                                                  Virginia      /s/ Robert K. Finnell
                          Purdue Pharma, L.P. et al                   Richmond, Inc.
                    Bon Secours Health System, Inc. et al v.
1:18-op-45821-DAP                                                St. Francis Hospital, Inc.     South Carolina   /s/ Robert K. Finnell
                          Purdue Pharma L.P. et al
                     Town of Pembroke, Massachusetts v.
1:18-op-45823-DAP   Amerisourcebergen Drug Corporation et            Pembroke Town              Massachusetts    /s/ Peter J. Mougey
                                     al
                     Town of Rockland, Massachusetts v.
1:18-op-45824-DAP   Amerisourcebergen Drug Corporation et            Rockland Town              Massachusetts    /s/ Peter J. Mougey
                                     al
                    Chitimacha Tribe of Louisiana v. Purdue
1:18-op-45825-DAP                                             Chitimacha Tribe of Louisiana       Louisiana      /s/ T. Roe Frazer II
                              Pharma L.P. et al
                    San Juan County v. Purdue Pharma L.P.
1:18-op-45829-DAP                                                   San Juan County             New Mexico        /s/ Jayne Conroy
                                     et al
                       Adams County, Mississippi v.
1:18-op-45831-DAP   Amerisourcebergen Drug Corporation et            Adams County                Mississippi     /s/ Peter J. Mougey
                                     al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff                State             Signed by

                       Green Lake County et al v. Purdue
1:18-op-45832-DAP                                                 Green Lake County           Wisconsin        /s/ Jayne Conroy
                               Pharma LP et al
                       Green Lake County et al v. Purdue
1:18-op-45832-DAP                                                TAYLOR COUNTY                Wisconsin        /s/ Jayne Conroy
                               Pharma LP et al
                       Green Lake County et al v. Purdue
1:18-op-45832-DAP                                                 VILAS COUNTY                Wisconsin        /s/ Jayne Conroy
                               Pharma LP et al
                     Town of Leverett, Massachusetts v.
1:18-op-45836-DAP   Amerisourcebergen Drug Corporation et           Leverett Town           Massachusetts     /s/ Peter J. Mougey
                                     al
                      Jefferson County, Mississippi v.
1:18-op-45839-DAP   Amerisourcebergen Drug Corporation et          Jefferson County          Mississippi      /s/ Peter J. Mougey
                                     al
                        Lafayette County, Missouri v.
1:18-op-45840-DAP   AmerisourceBergen Drug Corporation et          Lafayette County           Missouri       /s/ Brian J. Madden
                                     al
                          Cass County, Missouri v.
1:18-op-45841-DAP   AmerisourceBergen Drug Corporation et            Cass County              Missouri       /s/ Brian J. Madden
                                     al
1:18-op-45842-DAP      Wiley v. Purdue Pharma, L.P. et al     Sheriff Of Ascension Parish     Louisiana        /s/ Jayne Conroy
                      Neshoba County, Mississippi v.
1:18-op-45843-DAP   Amerisourcebergen Drug Corporation et          Neshoba County            Mississippi      /s/ Peter J. Mougey
                                     al
                     City of Providence, Rhode Island v.
1:18-op-45844-DAP   Amerisourcebergen Drug Corporation et          Providence City          Rhode Island     /s/ Vincent L. Greene
                                     al

                    Columbus County v. AmerisourceBergen
1:18-op-45847-DAP                                                 Columbus County           North Carolina    /s/ Peter J. Mougey
                           Drug Corporation et al

                       Minneapolis, Minnesota v. Purdue
1:18-op-45850-DAP                                                  Minneapolis city           Minnesota        /s/ Scott Benson
                              Pharma L.P. et al
                          Pasco County, Florida v.
1:18-op-45851-DAP   Amerisourcebergen Drug Corporation et           Pasco County               Florida        /s/ Peter J. Mougey
                                     al
                    Cochise County v. Purdue Pharma LP et
1:18-op-45855-DAP                                                  Cochise County              Arizona           /s/ David Ko
                                      al
                    Town of North Reading, Massachusetts v.
1:18-op-45856-DAP    Amerisourcebergen Drug Corporation et       North Reading Town         Massachusetts     /s/ Peter J. Mougey
                                      al
                    Town of West Boylston, Massachusetts v.
1:18-op-45858-DAP    Amerisourcebergen Drug Corporation et       West Boylston Town         Massachusetts     /s/ Peter J. Mougey
                                      al
                    Town of Westborough, Massachusetts v.
1:18-op-45859-DAP   Amerisourcebergen Drug Corporation et         Westborough Town          Massachusetts     /s/ Peter J. Mougey
                                     al
                     City of Peabody, Massachusetts, v.
1:18-op-45860-DAP   Amerisourcebergen Drug Corporation et            Peabody City           Massachusetts     /s/ Peter J. Mougey
                                     al
                            Santa Rosa County v.
1:18-op-45861-DAP   AmerisourceBergen Drug Corporation et         Santa Rosa County            Florida        /s/ Peter J. Mougey
                                     al
                     Town of Barnstable, Massachusetts v.
1:18-op-45862-DAP   Amerisourcebergen Drug Corporation et        Barnstable Town City       Massachusetts     /s/ Peter J. Mougey
                                     al
                     Town of Eastham, Massachusetts v.
1:18-op-45864-DAP   Amerisourcebergen Drug Corporation et           Eastham Town            Massachusetts     /s/ Peter J. Mougey
                                     al



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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                         Plaintiff                State            Signed by

                    County of Montcalm, Michigan v. Purdue
1:18-op-45865-DAP                                                 Montcalm County            Michigan       /s/ Paul F. Novak
                               Pharma L.P. et al
                      County of Cass, Michigan v. Purdue
1:18-op-45868-DAP                                                   Cass County              Michigan       /s/ Paul F. Novak
                               Pharma L.P. et al
                        City of North Miami, Florida v.
1:18-op-45872-DAP    AmerisourceBergen Drug Corporation et        North Miami City            Florida       /s/ Peter J. Mougey
                                      al
                      Town of Holliston, Massachusetts v.
1:18-op-45874-DAP    Amerisourcebergen Drug Corporation et         Holliston Town          Massachusetts    /s/ Peter J. Mougey
                                      al
                     Caswell County v. AmerisourceBergen
1:18-op-45875-DAP                                                  Caswell County          North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                      Town of Sudbury, Massachusetts v.
1:18-op-45877-DAP    Amerisourcebergen Drug Corporation et         Sudbury Town            Massachusetts    /s/ Peter J. Mougey
                                      al
                       County of Riverside et al v. Purdue
1:18-op-45878-DAP                                                 Riverside County           California      /s/ Jayne Conroy
                               Pharma L.P. et al
                     Town of Georgetown, Massachusetts v.
1:18-op-45879-DAP    Amerisourcebergen Drug Corporation et       Georgetown Town           Massachusetts    /s/ Peter J. Mougey
                                      al
                      Town of Seekonk, Massachusetts v.
1:18-op-45881-DAP    Amerisourcebergen Drug Corporation et         Seekonk Town            Massachusetts    /s/ Peter J. Mougey
                                      al
                      Town of Clarksburg, Massachusetts v.
1:18-op-45882-DAP    Amerisourcebergen Drug Corporation et        Clarksburg Town          Massachusetts    /s/ Peter J. Mougey
                                      al
                    Town of Williamsburg, Massachusetts v.
1:18-op-45883-DAP   Amerisourcebergen Drug Corporation et        Williamsburg Town         Massachusetts    /s/ Peter J. Mougey
                                     al
1:18-op-45884-DAP      Tubbs v. Purdue Pharma L P et al      Sheriff Of Morehouse Parish     Louisiana       /s/ Jayne Conroy
                      County of Washtenaw, Michigan v.
1:18-op-45886-DAP                                                Washtenaw County            Michigan       /s/ Paul F. Novak
                           Purdue Pharma L.P. et al
                     County of Berrien, Michigan v. Purdue
1:18-op-45887-DAP                                                  Berrien County            Michigan       /s/ Paul F. Novak
                               Pharma L.P. et al
                     County of Clinton, Michigan v. Purdue
1:18-op-45889-DAP                                                  Clinton County            Michigan       /s/ Paul F. Novak
                               Pharma L.P. et al
                            Town of Mattapoisett v.
1:18-op-45890-DAP    Amerisourcebergen Drug Corporation et       Mattapoisett Town         Massachusetts    /s/ Peter J. Mougey
                                      al
                      Town of Sandwich, Massachusetts v.
1:18-op-45891-DAP    Amerisourcebergen Drug Corporation et        Sandwich Town            Massachusetts    /s/ Peter J. Mougey
                                      al
                  Swinomish Tribe v. Purdue Pharma L.P.
1:18-op-45892-DAP                                                 Swinomish Tribe           Washington       /s/ Dan Drachler
                                     et al
                   City of Springfield, Missouri v. Purdue
1:18-op-45899-DAP                                                  Springfield City          Missouri        /s/ James Young
                             Pharma, L.P., et al
                  Polk County v. AmerisourceBergen Drug
1:18-op-45900-DAP                                                   Polk County            North Carolina   /s/ Peter J. Mougey
                              Corporation et al
                   City of Westland, Michigan v. Purdue
1:18-op-45903-DAP                                                  Westland City             Michigan       /s/ Paul F. Novak
                              Pharma L.P. et al
                            Town of Belchertown v.
1:18-op-45905-DAP    Amerisourcebergen Drug Corporation et       Belchertown Town          Massachusetts    /s/ Peter J. Mougey
                                      al
                     Town of Ludlow v. Amerisourcebergen
1:18-op-45906-DAP                                                  Ludlow Town             Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                            Plaintiff                   State           Signed by

                      Town of Ware v. Amerisourcebergen
1:18-op-45907-DAP                                                        Ware Town                Massachusetts   /s/ Peter J. Mougey
                            Drug Corporation et al
                        Robinson Rancheria v. McKesson
1:18-op-45912-DAP                                                    Robinson Rancheria            California     /s/ T. Roe Frazer II
                               Corporation et al
                        Hopland Band of Pomo Indians v.
1:18-op-45913-DAP                                              Hopland Band of Pomo Indians        California     /s/ T. Roe Frazer II
                          McKesson Corporation et al
                      Scotts Valley Band of Pomo Indians v.      Scotts Valley Band of Pomo
1:18-op-45914-DAP                                                                                  California     /s/ T. Roe Frazer II
                           McKesson Corporation et al                      Indians
                       Round Valley Indian Tribes et al v.
1:18-op-45915-DAP                                              Round Valley Indian Tribes et al    California     /s/ T. Roe Frazer II
                          McKesson Corporation et al

                     Redwood Valley or Little River Band of Redwood Valley or Little River
1:18-op-45916-DAP     Pomo Indians of the Redwood Valley     Band of Pomo Indians of the           California     /s/ T. Roe Frazer II
                     Rancheria v. McKesson Corporation et al Redwood Valley Rancheria

                       Guidiville Rancheria of California v.       Guidiville Rancheria of
1:18-op-45917-DAP                                                                                  California     /s/ T. Roe Frazer II
                           McKesson Corporation et al                    California
                     Big Valley Band of Pomo Indians of the       Big Valley Band of Pomo
1:18-op-45922-DAP      Big Valley Rancheria v. McKesson           Indians of the Big Valley        California     /s/ T. Roe Frazer II
                                Corporation et al                        Rancheria
                     Big Sandy Rancheria of Western Mono Big Sandy Rancheria of Western
1:18-op-45923-DAP                                                                                  California     /s/ T. Roe Frazer II
                     Indians v. McKesson Corporation et al       Mono Indians
                      Cannon County, Tennessee v. Purdue
1:18-op-45924-DAP                                               Cannon County                      Tennessee       /s/ Mark Chalos
                                Pharma L.P. et al
                     Lac Courte Oreilles Band Of Lake
                                                          Lac Courte Oreilles Band Of
1:18-op-45932-DAP Superior Chippewa Indians v. McKesson                                            Wisconsin      /s/ T. Roe Frazer II
                                                        Lake Superior Chippewa Indians
                             Corporation et al
                  County of Hudson v. Purdue Pharma L.P.
1:18-op-45937-DAP                                                      Hudson County               New Jersey      /s/ Randi Kassan
                                   et al
                  Humboldt County v. Purdue Pharma, L.P.
1:18-op-45942-DAP                                                     Humboldt County              California        /s/ David Ko
                                   et al
                  Spokane County v. Purdue Pharma, L.P.
1:18-op-45943-DAP                                                     Spokane County               Washington        /s/ David Ko
                                   et al
                  Franklin County v. Purdue Pharma LP et
1:18-op-45944-DAP                                                     Franklin County              Washington        /s/ David Ko
                                     al
                          Laurens County, Georgia v.
1:18-op-45945-DAP    Amerisourcebergen Drug Corporation et             Laurens County               Georgia       /s/ Peter J. Mougey
                                      al
                  Houston County v. Purdue Pharma LP et
1:18-op-45946-DAP                                                     Houston County                Georgia        /s/ Jayne Conroy
                                       al
                  City of Jersey City, New Jersey v. Purdue
1:18-op-45948-DAP                                                      Jersey City City            New Jersey     /s/ James E. Cecchi
                               Pharma L.P. et al
                      City of New Albany, Mississippi v.
1:18-op-45949-DAP    Amerisourcebergen Drug Corporation et            New Albany City              Mississippi    /s/ Peter J. Mougey
                                      al
                       City of Greenwood, Mississippi v.
1:18-op-45950-DAP    Amerisourcebergen Drug Corporation et            Greenwood City               Mississippi    /s/ Peter J. Mougey
                                      al
                       City of Melrose, Massachusetts v.
1:18-op-45951-DAP    Amerisourcebergen Drug Corporation et              Melrose City              Massachusetts   /s/ Peter J. Mougey
                                       al
                     Town of Chelmsford, Massachusetts v.
1:18-op-45952-DAP    Amerisourcebergen Drug Corporation et            Chelmsford Town             Massachusetts   /s/ Peter J. Mougey
                                      al
                            Gulf County, Florida v.
1:18-op-45953-DAP    AmerisourceBergen Drug Corporation et              Gulf County                  Florida      /s/ Peter J. Mougey
                                      al




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  Case Number                    Case Caption                             Plaintiff                State            Signed by

                    Whatcom County v. Purdue Pharma, LP
1:18-op-45954-DAP                                                     Whatcom County            Washington         /s/ David Ko
                                   et al

                    Lummi Tribe of the Lummi Reservation         Lummi Tribe of the Lummi
1:18-op-45955-DAP                                                                               Washington         /s/ David Ko
                        v. Purdue Pharma, L.P. et al                   Reservation

                        Conecuh County, Alabama v.
1:18-op-45957-DAP   Amerisourcebergen Drug Corporation et             Conecuh County             Alabama        /s/ Peter J. Mougey
                                     al
                    Red Lake Band of Chippewa Indians v.
                                                                 Red Lake Band of Chippewa
1:18-op-45959-DAP   Amerisourcebergen Drug Corporation et                                        Minnesota      /s/ Peter J. Mougey
                                                                          Indians
                                     al
                    Village of Herkimer, New York v. Purdue
1:18-op-45964-DAP                                                     Herkimer Village           New York       /s/ Eva B. Pearlman
                                Pharma, L.P. et al
                      Jackson County, Missouri v. Purdue
1:18-op-45965-DAP                                                      Jackson County            Missouri        /s/ Jayne Conroy
                               Pharma L.P. et al
                     City of Covington, Kentucky v. Purdue
1:18-op-45967-DAP                                                      Covington City            Kentucky       /s/ Eva B. Pearlman
                               Pharma, L.P. et al
                    City of Meridian v. Amerisourcebergen
1:18-op-45969-DAP                                                       Meridian City           Mississippi     /s/ Peter J. Mougey
                            Drug Corporation et al
                    Polk County, Florida v. Purdue Pharma
1:18-op-45970-DAP                                                       Polk County               Florida       /s/ J. R. WHALEY
                                   L.P. et al
                    County of Eaton v. Purdue Pharma, L.P.
1:18-op-45971-DAP                                                       Eaton County             Michigan       /s/ Peter J. Mougey
                                     et al

                    Waukesha County v. AmerisourceBergen
1:18-op-45978-DAP                                                     Waukesha County            Wisconsin      /s/ Peter J. Mougey
                           Drug Corporation et al

                    Cherokee County v. AmerisourceBergen
1:18-op-45979-DAP                                                     Cherokee County          North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                    Island County v. Purdue Pharma, L.P. et
1:18-op-45982-DAP                                                       Island County           Washington         /s/ David Ko
                                       al
                    Allamakee County v. Purdue Pharma LP
1:18-op-45983-DAP                                                    Allamakee County              Iowa          /s/ Jayne Conroy
                                      et al

                    City of Huntington, West Virginia et al v.
1:18-op-45984-DAP                                                       Ceredo Town            West Virginia    /s/ Charles R. Webb
                     Express Scripts Holding Company et al

                    City of Huntington, West Virginia et al v.
1:18-op-45984-DAP                                                      Huntington City         West Virginia    /s/ Chalres R. Webb
                     Express Scripts Holding Company et al

                            Pasquotank County v.
1:18-op-45986-DAP   AmerisourceBergen Drug Corporation et            Pasquotank County         North Carolina   /s/ Peter J. Mougey
                                     al
                        St. John the Baptist Parish v.
1:18-op-45987-DAP   AmerisourceBergen Drug Corporation et         St John The Baptist Parish     Louisiana      /s/ Peter J. Mougey
                                      al
                       Walworth County Wisconsin v.
1:18-op-45988-DAP   AmerisourceBergen Drug Corporation et             Walworth County            Wisconsin      /s/ Peter J. Mougey
                                     al
                      Essex County, New Jersey v. Purdue
1:18-op-45989-DAP                                                       Essex County            New Jersey      /s/ James E. Cecchi
                              Pharma L.P. et al
                           Town of Sturbridge v.
1:18-op-45990-DAP   Amerisourcebergen Drug Corporation et             Sturbridge Town          Massachusetts    /s/ Peter J. Mougey
                                     al
                      Lenoir County v. AmerisourceBergen
1:18-op-45991-DAP                                                      Lenoir County           North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al




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  Case Number                    Case Caption                             Plaintiff                  State            Signed by

                       South Central UFCW Unions and            South Central UFCW Unions
1:18-op-45998-DAP     Employers Health & Welfare Trust v.         and Employers Health &             Texas        /s/ T. Roe Frazer II
                         McKesson Corporation et al                    Welfare Trust
                        City of Garfield Heights v. Purdue
1:18-op-45999-DAP                                                   Garfield Heights City            Ohio         /s/ Shayna E. Sacks
                                 Pharma L.P. et al
                           Town of South Hadley v.
1:18-op-46000-DAP    Amerisourcebergen Drug Corporation et          South Hadley Town            Massachusetts    /s/ Peter J. Mougey
                                      al
                      Town of Sheffield, Massachusetts v.
1:18-op-46001-DAP    Amerisourcebergen Drug Corporation et             Sheffield Town            Massachusetts    /s/ Peter J. Mougey
                                      al
                        Ely Shoshone Tribe of Nevada v.
1:18-op-46003-DAP                                              Ely Shoshone Tribe of Nevada         Nevada        /s/ T. Roe Frazer II
                          McKesson Corporation et al
                      Town of Westford, Massachusetts v.
1:18-op-46007-DAP    Amerisourcebergen Drug Corporation et             Westford Town             Massachusetts    /s/ Peter J. Mougey
                                      al

1:18-op-46008-DAP Kittitas County v. Purdue Pharma LP et al            Kittitas County            Washington         /s/ David Ko

                      Walla Walla County v. Purdue Pharma
1:18-op-46010-DAP                                                   Walla Walla County            Washington         /s/ David Ko
                                     LP et al
                     City of North Olmsted v. Purdue Pharma
1:18-op-46012-DAP                                                    North Olmsted City              Ohio         /s/ Shayna E. Sacks
                                     L.P. et al
                     City of Euclid v. Purdue Pharma L.P. et
1:18-op-46013-DAP                                                        Euclid City                 Ohio         /s/ Shayna E. Sacks
                                        al
                     City of Olmsted Falls v. Purdue Pharma
1:18-op-46014-DAP                                                    Olmsted Falls City              Ohio         /s/ Shayna E. Sacks
                                     L.P. et al
                        City of North Ridgeville v. Purdue
1:18-op-46015-DAP                                                   North Ridgeville City            Ohio         /s/ Shayna E. Sacks
                                 Pharma L.P. et al
                    South Fork Band of the Te-Moak Tribe of      South Fork Band of the Te-
1:18-op-46016-DAP    Western Shoshone Indians v. McKesson          Moak Tribe of Western            Nevada        /s/ T. Roe Frazer II
                                Corporation et al                    Shoshone Indians
                      Battle Mountain Band of the Te-Moak      Battle Mountain Band of the Te-
1:18-op-46017-DAP     Tribe of Western Shoshone Indians v.          Moak Tribe of Western           Nevada        /s/ T. Roe Frazer II
                           McKesson Corporation et al                  Shoshone Indian

                     Alleghany County v. AmerisourceBergen
1:18-op-46019-DAP                                                    Alleghany County            North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al

                      Makah Indian Tribe v. Purdue Pharma,
1:18-op-46022-DAP                                                   Makah Indian Tribe            Washington         /s/ David Ko
                                   L.P. et al
                     Jefferson County v. Purdue Pharma L.P.
1:18-op-46023-DAP                                                     Jefferson County            Washington         /s/ David Ko
                                      et al
                           City of Hamilton, Ohio v.
1:18-op-46024-DAP    AmerisourceBergen Drug Corporation et             Hamilton City                 Ohio         /s/ Peter J. Mougey
                                      al
                            City of Ironton, Ohio v.
1:18-op-46025-DAP    AmerisourceBergen Drug Corporation et              Ironton City                 Ohio         /s/ Peter J. Mougey
                                       al
                     City of Laredo, Texas v. Purdue Pharma
1:18-op-46026-DAP                                                       Laredo City                  Texas        /s/ Shayna E. Sacks
                                     L.P. et al
                      Moore County v. AmerisourceBergen
1:18-op-46028-DAP                                                      Moore County              North Carolina   /s/ Peter J. Mougey
                              Drug Corporation et al
                     City of Kansas City, Missouri v. Purdue
1:18-op-46029-DAP                                                     Kansas City City             Missouri        /s/ Jayne Conroy
                                Pharma, L.P. et al
                            Cumberland County v.
1:18-op-46031-DAP    AmerisourceBergen Drug Corporation et          Cumberland County            North Carolina   /s/ Peter J. Mougey
                                      al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 42 of 88. PageID #: 640532
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  Case Number                    Case Caption                          Plaintiff             State             Signed by

                     County of San Bernardino et al v. Purdue
1:18-op-46032-DAP                                                San Bernardino County     California       /s/ Jayne Conroy
                                Pharma L.P. et al
                     City of Eagle Pass v. Purdue Pharma LP
1:18-op-46033-DAP                                                   Eagle Pass City          Texas         /s/ Shayna E. Sacks
                                       et al
                      Oneida Nation v. AmerisourceBergen
1:18-op-46034-DAP                                                   Oneida Nation          Wisconsin       /s/ Peter J. Mougey
                             Drug Corporation et al
                        Township of Painesville v. Purdue
1:18-op-46035-DAP                                                Painesville Township        Ohio          /s/ Shayna E. Sacks
                               Pharma L.P. et al
                     County of Zavala v. Purdue Pharma L.P.
1:18-op-46036-DAP                                                   Zavala County            Texas         /s/ Shayna E. Sacks
                                      et al
                           Sarpy County, Nebraska v.
1:18-op-46038-DAP    AmerisourceBergen Drug Corporation et           Sarpy County          Nebraska        /s/ Peter J. Mougey
                                      al
                  City of Palmetto v. Purdue Pharma L.P. et
1:18-op-46055-DAP                                                    Palmetto City          Florida       /s/ David I. Ackerman
                                       al
                  City of Kingman v. Purdue Pharma LP et
1:18-op-46057-DAP                                                    Kingman City           Arizona           /s/ David Ko
                                      al
                   St. Charles County, Missouri v. Purdue
1:18-op-46059-DAP                                                  St Charles County       Missouri         /s/ Jayne Conroy
                              Pharma L.P. et al
                       Board of County Commissioners of
1:18-op-46060-DAP       Washington County, Maryland v.            Washington County        Maryland        /s/ Peter J. Mougey
                      AmerisourceBergen Drug Corporation
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                   Adams County             Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                 BLAINE COUNTY              Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                  BOISE COUNTY              Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                               BONNEVILLE COUNTY            Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                CARIBOU COUNTY              Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                 CASSIA COUNTY              Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                ELMORE COUNTY               Idaho          /s/ Jayne Conroy
                                  L.P. et al
                      Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                 LATAH COUNTY               Idaho          /s/ Jayne Conroy
                                  L.P. et al
                   Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                               MINIDOKA COUNTY              Idaho          /s/ Jayne Conroy
                                 L.P. et al
                   Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                OWYHEE COUNTY               Idaho          /s/ Jayne Conroy
                                 L.P. et al
                   Adams County et al v. Purdue Pharma,
1:18-op-46062-DAP                                                PAYETTE COUNTY              Idaho          /s/ Jayne Conroy
                                 L.P. et al
                  City of Shreveport v. Purdue Pharma L P
1:18-op-46064-DAP                                                   Shreveport City        Louisiana       /s/ Shayna E. Sacks
                                    et al
                           Bland County, Virginia v.
1:18-op-46065-DAP    Amerisourcebergen Drug Corporation et           Bland County           Virginia        /s/ Eric D. Barton
                                      al

                     Madison County v. AmerisourceBergen
1:18-op-46067-DAP                                                   Madison County       North Carolina    /s/ Peter J. Mougey
                            Drug Corporation et al

                          Carroll County, Virginia v.
1:18-op-46068-DAP    Amerisourcebergen Drug Corporation et          Carroll County          Virginia        /s/ Eric D. Barton
                                      al




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  Case Number                   Case Caption                      Plaintiff         State             Signed by

                         Grayson County, Virginia v.
1:18-op-46069-DAP   Amerisourcebergen Drug Corporation et      Grayson County      Virginia       /s/ Eric D. Barton
                                     al
                     Yancey County v. AmerisourceBergen
1:18-op-46071-DAP                                              Yancey County    North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al
                          Wythe County, Virginia v.
1:18-op-46072-DAP   Amerisourcebergen Drug Corporation et       Wythe County       Virginia       /s/ Eric D. Barton
                                     al
                         Russell County, Virginia v.
1:18-op-46073-DAP   AmerisourceBergen Drug Corporation et      Russell County      Virginia       /s/ Eric D. Barton
                                     al
                     Scott County Board of Supervisors v.
1:18-op-46074-DAP   Amerisourcebergen Drug Corporation et       Scott County       Virginia      /s/ Peter J. Mougey
                                     al
                          County of Amador et al v.
1:18-op-46075-DAP   Amerisourcebergen Drug Corporation et      Amador County      California     /s/ Peter J. Mougey
                                     al
                         Pulaski County Virginia v.
1:18-op-46076-DAP   Amerisourcebergen Drug Corporation et      Pulaski County      Virginia       /s/ Eric D. Barton
                                     al
                          Smyth County, Virginia v.
1:18-op-46077-DAP   Amerisourcebergen Drug Corporation et       Smyth County       Virginia       /s/ Eric D. Barton
                                     al
                      Wyandot County Board of County
1:18-op-46078-DAP    Commissioners v. AmerisourceBergen        Wyandot County       Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                       Carroll County Board of County
1:18-op-46079-DAP    Commissioners v. AmerisourceBergen        Carroll County       Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al
                         City of Clanton, Alabama v.
1:18-op-46084-DAP   Amerisourcebergen Drug Corporation et       Clanton City      Alabama        /s/ Peter J. Mougey
                                      al
                     City of Brockton, Massachusetts v.
1:18-op-46089-DAP   Amerisourcebergen Drug Corporation et       Brockton City   Massachusetts    /s/ Peter J. Mougey
                                     al
                     Town of Kingston, Massachusetts v.
1:18-op-46090-DAP   Amerisourcebergen Drug Corporation et      Kingston Town    Massachusetts    /s/ Peter J. Mougey
                                     al
                     City of Eureka et al v. Purdue Pharma,
1:18-op-46092-DAP                                                Eureka City      California        /s/ David Ko
                                   L.P. et al
                     Town of Walpole, Massachusetts v.
1:18-op-46093-DAP   Amerisourcebergen Drug Corporation et       Walpole Town    Massachusetts    /s/ Peter J. Mougey
                                     al
                       Mercer County Board of County
1:18-op-46094-DAP    Commissioners v. AmerisourceBergen        Mercer County        Ohio         /s/ Peter J. Mougey
                           Drug Corporation et al

                    Town of Falmouth v. Amerisourcebergen
1:18-op-46095-DAP                                              Falmouth Town    Massachusetts    /s/ Peter J. Mougey
                            Drug Corporation et al

                      Branch County, Michigan v. Purdue
1:18-op-46096-DAP                                              Branch County      Michigan       /s/ Peter J. Mougey
                              Pharma L.P. et al
                          Town of Longmeadow v.
1:18-op-46097-DAP   Amerisourcebergen Drug Corporation et     Longmeadow Town   Massachusetts    /s/ Peter J. Mougey
                                     al
                    Fiscal Court of Wolfe County, Kentucky
1:18-op-46099-DAP                                               Wolfe County      Kentucky       /s/ Robert K. Finnell
                           v. Purdue Pharma L.P. et al



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                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                             Plaintiff                  State            Signed by

                    Fiscal Court of Lee County, Kentucky v.
1:18-op-46100-DAP                                                       Lee County                Kentucky      /s/ Robert K. Finnell
                            Purdue Pharma L.P. et al
                        Town of West Bridgewater v.
1:18-op-46102-DAP   Amerisourcebergen Drug Corporation et        West Bridgewater Town          Massachusetts   /s/ Peter J. Mougey
                                     al
                          Bacon County, Georgia v.
1:18-op-46105-DAP   Amerisourcebergen Drug Corporation et             Bacon County                Georgia        /s/ Mark A. Tate
                                     al
                          Pierce County, Georgia v.
1:18-op-46107-DAP   Amerisourcebergen Drug Corporation et             Pierce County               Georgia        /s/ Mark A. Tate
                                     al
                     City of Strongsville v. Purdue Pharma
1:18-op-46111-DAP                                                    Strongsville City              Ohio        /s/ Shayna E. Sacks
                                   L.P. et al
                        City of Demorest, Georgia v.
1:18-op-46113-DAP   AmerisourceBergen Drug Corporation et             Demorest City               Georgia        /s/ Mark A. Tate
                                     al
                     Habersham County Medical Center v.
                                                                Habersham County Medical
1:18-op-46114-DAP   AmerisourceBergen Drug Corporation et                                         Georgia        /s/ Mark A. Tate
                                                                         Center
                                     al
                       Glynn County, Georgia v. Purdue
1:18-op-46115-DAP                                                     Glynn County                Georgia          /s/ Paul Scott
                              Pharma, L.P. et al
                        Red Cliff Band of Lake Superior
                                                              Red Cliff Band of Lake Superior
1:18-op-46116-DAP       Chippewa Indians v. McKesson                                             Wisconsin      /s/ T. Roe Frazer II
                                                                     Chippewa Indians
                               Corporation et al
                    Borough of Ridgefield v. Purdue Pharma
1:18-op-46117-DAP                                                   Ridgefield borough           New Jersey     /s/ Shayna E. Sacks
                                  L.P. et al

1:18-op-46119-DAP Levy County v. Purdue Pharma L.P. et al              Levy County                 Florida      /s/ Shayna E. Sacks

                     Palm Beach County v. Purdue Pharma
1:18-op-46121-DAP                                                   Palm Beach County              Florida      /s/ Shayna E. Sacks
                                 L.P. et al
                     Town of Millbury, Massachusetts v.
1:18-op-46123-DAP   Amerisourcebergen Drug Corporation et             Millbury Town             Massachusetts   /s/ Peter J. Mougey
                                     al
                       Letcher County Fiscal Court v.
1:18-op-46124-DAP   Amerisourcebergen Drug Corporation et             Letcher County              Kentucky      /s/ Peter J. Mougey
                                     al
                    City of Palm Bay v. Purdue Pharma L.P.
1:18-op-46132-DAP                                                     Palm Bay City                Florida        /s/ Eric Romano
                                      et al
                     Charter Township of Canton, et al v.         CANTON CHARTER
1:18-op-46134-DAP                                                                                 Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al                 TOWNSHIP
                     Charter Township of Canton, et al v.         HURON CHARTER
1:18-op-46134-DAP                                                                                 Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al                 TOWNSHIP
                     Charter Township of Canton, et al v.
1:18-op-46134-DAP                                                      Livonia City               Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                     Charter Township of Canton, et al v.       NORTHVILLE CHARTER
1:18-op-46134-DAP                                                                                 Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al                TOWNSHIP
                     Charter Township of Canton, et al v.
1:18-op-46134-DAP                                                      Romulus city               Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                     Charter Township of Canton, et al v.       VAN BUREN CHARTER
1:18-op-46134-DAP                                                                                 Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al                 TOWNSHIP
                     Charter Township of Canton, et al v.
1:18-op-46134-DAP                                                       Wayne city                Michigan      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                    Charter Township of Clinton, Michigan
1:18-op-46135-DAP                                                Clinton Charter Township         Michigan      /s/ Peter J. Mougey
                           v. Purdue Pharma L.P. et al




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  Case Number                     Case Caption                           Plaintiff              State            Signed by

                      City of Virginia Beach, et al v.
1:18-op-46137-DAP AmerisourceBergen Drug Corporation, et            Virginia Beach City        Virginia      /s/ Peter J. Mougey
                                     al

1:18-op-46139-DAP Chelan County v. Purdue Pharma LP et al             Chelan County          Washington         /s/ David Ko

1:18-op-46141-DAP    Robeson County v. Actavis, LLC et al            Robeson County         North Carolina    /s/ Jayne Conroy
                    Shinnecock Indian Nation v. McKesson
1:18-op-46142-DAP                                                Shinnecock Indian Nation     New York       /s/ T. Roe Frazer II
                              Corporation et al
                    Fiscal Court of Montgomery County v.
1:18-op-46144-DAP   Amerisourcebergen Drug Corporation et          Montgomery County          Kentucky       /s/ Peter J. Mougey
                                      al
                      Fiscal Court of Powell County v.
1:18-op-46145-DAP   Amerisourcebergen Drug Corporation et             Powell County           Kentucky       /s/ Peter J. Mougey
                                      al

                      Fond du Lac Band of Lake Superior          Fond du Lac Band of Lake
1:18-op-46146-DAP                                                                             Minnesota      /s/ T. Roe Frazer II
                    Chippewa v. McKesson Corporation et al          Superior Chippewa

                      People of the State of Illinois et al v.
1:18-op-46147-DAP                                                    Schuyler County           Illinois      /s/ Peter J. Mougey
                           Purdue Pharma L.P. et al
                      People of the State of Illinois et al v.
1:18-op-46148-DAP                                                    Johnson County            Illinois      /s/ Peter J. Mougey
                           Purdue Pharma L.P. et al
                     Town of Lunenberg, Massachusetts v.
1:18-op-46156-DAP   Amerisourcebergen Drug Corporation et            Lunenburg Town         Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of Wilmington, Massachusetts v.
1:18-op-46158-DAP   Amerisourcebergen Drug Corporation et           Wilmington Town         Massachusetts    /s/ Peter J. Mougey
                                     al
                    Town of North Andover, Massachusetts
1:18-op-46159-DAP   v. Amerisourcebergen Drug Corporation          North Andover Town       Massachusetts    /s/ Peter J. Mougey
                                     et al
                      Town of Upton, Massachusetts v.
1:18-op-46160-DAP   Amerisourcebergen Drug Corporation et              Upton Town           Massachusetts    /s/ Peter J. Mougey
                                     al
                        City of Laurel, Mississippi v.
1:18-op-46161-DAP   Amerisourcebergen Drug Corporation et               Laurel City          Mississippi     /s/ Peter J. Mougey
                                      al
                     Town of Stoneham, Massachusetts v.
1:18-op-46164-DAP   Amerisourcebergen Drug Corporation et            Stoneham Town          Massachusetts    /s/ Peter J. Mougey
                                     al
                        Tazewell County, Virginia v.
1:18-op-46167-DAP   Amerisourcebergen Drug Corporation et            Tazewell County           Virginia       /s/ Eric D. Barton
                                     al
                       Livingston County, Missouri v.
1:18-op-46168-DAP   AmerisourceBergen Drug Corporation et           Livingston County         Missouri       /s/ Brian J. Madden
                                     al
                     City of Syracuse, New York v. Purdue
1:18-op-46169-DAP                                                     Syracuse City           New York       /s/ Eva B. Pearlman
                               Pharma, L.P. et al
                           Lee County Georgia v.
1:18-op-46171-DAP   AmerisourceBergen Drug Corporation et               Lee County             Georgia       /s/ Peter J. Mougey
                                     al
                         City of Iuka, Mississippi v.
1:18-op-46172-DAP   Amerisourcebergen Drug Corporation et                Iuka City           Mississippi     /s/ Peter J. Mougey
                                      al
                       Monroe County, Mississippi v.
1:18-op-46173-DAP   Amerisourcebergen Drug Corporation et             Monroe County          Mississippi     /s/ Peter J. Mougey
                                     al



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  Case Number                   Case Caption                      Plaintiff           State            Signed by

                     Currituck County v. AmerisourceBergen
1:18-op-46174-DAP                                             Currituck County    North Carolina   /s/ Peter J. Mougey
                              Drug Corporation et al

                     Chowan County v. AmerisourceBergen
1:18-op-46175-DAP                                              Chowan County      North Carolina   /s/ Peter J. Mougey
                           Drug Corporation et al
                    Board of Commissioners for Lucas
1:18-op-46177-DAP County, Ohio et al v. Purdue Pharma L.P.      Lucas County          Ohio          /s/ Jayne Conroy
                                     et al
                     County of Ingham, Michigan v. Purdue
1:18-op-46178-DAP                                              Ingham County        Michigan       /s/ Paul F. Novak
                               Pharma L.P. et al
                    Ashe County v. AmerisourceBergen Drug
1:18-op-46185-DAP                                               Ashe County       North Carolina   /s/ Peter J. Mougey
                               Corporation et al
                    Cole County, Missouri v. Purdue Pharma
1:18-op-46189-DAP                                               Cole County         Missouri       /s/ Peter J. Mougey
                                  L.P. et al
                     Gasconade County, Missouri v. Purdue
1:18-op-46190-DAP                                             Gasconade County      Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                       Osage County, Missouri v. Purdue
1:18-op-46191-DAP                                               Osage County        Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Pulaski County, Missouri v. Purdue
1:18-op-46192-DAP                                              Pulaski County       Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                     Reynolds County, Missouri v. Purdue
1:18-op-46193-DAP                                             Reynolds County       Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Maries County, Missouri v. Purdue
1:18-op-46194-DAP                                              Maries County        Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Phelps County, Missouri v. Purdue
1:18-op-46195-DAP                                               Phelps County       Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Warren County, Missouri v. Purdue
1:18-op-46196-DAP                                              Warren County        Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                    Montgomery County, Missouri v. Purdue
1:18-op-46197-DAP                                            Montgomery County      Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                       Ozark County, Missouri v. Purdue
1:18-op-46198-DAP                                               Ozark County        Missouri       /s/ Peter J. Mougey
                               Pharma L.P. et al
                    Muskegon County v. Purdue Pharma L.P.
1:18-op-46199-DAP                                             Muskegon County       Michigan       /s/ Peter J. Mougey
                                     et al
                          Town of Middleborough v.
1:18-op-46200-DAP    Amerisourcebergen Drug Corporation et   Middleborough Town   Massachusetts    /s/ Peter J. Mougey
                                      al
                           City of Ashland, Ohio v.
1:18-op-46203-DAP   AmerisourceBergen Drug Corporation et       Ashland City          Ohio         /s/ Peter J. Mougey
                                      al

                    Alexander County v. AmerisourceBergen
1:18-op-46205-DAP                                             Alexander County    North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                     County Commissioners of Dona Ana
                           County, New Mexico v.
1:18-op-46206-DAP                                             Dona Ana County     New Mexico       /s/ Peter J. Mougey
                    AmerisourceBergen Drug Corporation et
                                     al
                    Davie County v. AmerisourceBergen
1:18-op-46207-DAP                                               Davie County      North Carolina   /s/ Peter J. Mougey
                           Drug Corporation et al
                  Plains Township, Pennsylvania v. Purdue
1:18-op-46215-DAP                                              Plains Township    Pennsylvania     /s/ Peter J. Mougey
                             Pharma L.P. et al
                   Franklin County v. AmerisourceBergen
1:18-op-46216-DAP                                              Franklin County    North Carolina   /s/ Peter J. Mougey
                           Drug Corporation et al
                            Nye County, Nevada v.
1:18-op-46238-DAP    Amerisourcebergen Drug Corporation et       Nye County          Nevada        /s/ Peter J. Mougey
                                      al




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  Case Number                    Case Caption                            Plaintiff               State             Signed by

                  Lac Vieux Desert Band of Lake Superior
                                                          Lac Vieux Desert Band of Lake
1:18-op-46239-DAP Chippewa Indians v. Purdue Pharma, L.P.                                      Michigan        /s/ Eric D. Barton
                                                            Superior Chippewa Indians
                                   et al
                           Leon County, Florida v.
1:18-op-46242-DAP   AmerisourceBergen Drug Corporation et              Leon County              Florida        /s/ Peter J. Mougey
                                     al
                            City of Tallahassee v.
1:18-op-46243-DAP   AmerisourceBergen Drug Corporation et            Tallahassee City           Florida        /s/ Peter J. Mougey
                                      al
                       Ripley County, Missouri v. Purdue
1:18-op-46262-DAP                                                     Ripley County            Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                       Lewis County, Missouri v. Purdue
1:18-op-46263-DAP                                                     Lewis County             Missouri        /s/ Peter J. Mougey
                              Pharma L.P. et al
                      Shelby County, Missouri v. Purdue
1:18-op-46264-DAP                                                     Shelby County            Missouri        /s/ Peter J. Mougey
                              Pharma L.P. et al
                      Audrain County, Missouri v. Purdue
1:18-op-46265-DAP                                                    Audrain County            Missouri        /s/ Peter J. Mougey
                              Pharma L.P. et al
                    Tanana Chiefs Conference et al v. Purdue
1:18-op-46268-DAP                                                Southcentral Foundation        Alaska       /s/ Whitney A. Leonard
                               Pharma L.P. et al
                    Carroll County v. Purdue Pharma L.P. et
1:18-op-46269-DAP                                                     Carroll County           Georgia       /s/ J. Anderson Davis
                                       al
                     Carbon County v. Purdue Pharma LP et
1:18-op-46270-DAP                                                    Carbon County               Utah          /s/ Peter J. Mougey
                                       al
                     Canyon County v. Purdue Pharma LP et
1:18-op-46277-DAP                                                    Canyon County              Idaho           /s/ Jayne Conroy
                                       al
                     Hillsborough County v. Purdue Pharma
1:18-op-46281-DAP                                                  Hillsborough County          Florida         /s/ Mike Moore
                                   L.P. et al
                    City of Tampa v. Purdue Pharma L.P. et
1:18-op-46282-DAP                                                      Tampa City               Florida         /s/ Mike Moore
                                       al
                          Union County, Georgia v.
1:18-op-46284-DAP   AmerisourceBergen Drug Corporation et             Union County             Georgia         /s/ Peter J. Mougey
                                     al
                    City of Fall River v. Purdue Pharma L.P.
1:18-op-46285-DAP                                                     Fall River city        Massachusetts    /s/ Vincent L. Greene
                                       et al
                      City of Overland Park, Kansas v.
1:18-op-46287-DAP   AmerisourceBergen Drug Corporation et          Overland Park City           Kansas         /s/ Sarah S. Ruane
                                     al
                      People of the State of Illinois et al v.
1:18-op-46294-DAP                                                    Calhoun County             Illinois       /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                     Rockdale County, Georgia v. Purdue
1:18-op-46296-DAP                                                   Rockdale County            Georgia        /s/ Shayna E. Sacks
                               Pharma L.P. et al
                     City of Bogalusa, Louisiana v. Purdue
1:18-op-46297-DAP                                                     Bogalusa City            Louisiana      /s/ Shayna E. Sacks
                               Pharma L.P. et al
                      Clayton County, Georgia v. Purdue
1:18-op-46298-DAP                                                    Clayton County            Georgia        /s/ Shayna E. Sacks
                              Pharma L.P. et al
                     Warrensville Heights, Ohio v. Purdue
1:18-op-46299-DAP                                                Warrensville Heights city       Ohio         /s/ Shayna E. Sacks
                              Pharma L.P. et al
                    Coos County, Oregon v. Purdue Pharma
1:18-op-46300-DAP                                                      Coos County              Oregon        /s/ Shayna E. Sacks
                                   L.P. et al
                      Lewis County, Washington, et al v.
1:18-op-46301-DAP                                                     Lewis County            Washington      /s/ Shayna E. Sacks
                           Purdue Pharma L.P. et al
                      Board of County Commissioners of
1:18-op-46303-DAP    McClain County, State of Oklahoma v.            Mcclain County           Oklahoma        /s/ Shayna E. Sacks
                           Purdue Pharma LP et al
                     Camden County, New Jersey v. Purdue
1:18-op-46306-DAP                                                    Camden County            New Jersey        /s/ James Cecchi
                             Pharma L.P. et al



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  Case Number                    Case Caption                           Plaintiff                 State              Signed by

                     City of Hickory v. AmerisourceBergen
1:18-op-46307-DAP                                                     Hickory City            North Carolina     /s/ Peter J. Mougey
                             Drug Corporation et al
                     City of Atlanta v. Purdue Pharma, LP et
1:18-op-46308-DAP                                                      Atlanta City              Georgia        /s/ Shayna E. Sacks
                                         al
                        Henry County, Georgia v. Purdue
1:18-op-46310-DAP                                                     Henry County               Georgia        /s/ Shayna E. Sacks
                               Pharma, LP et al
                     City of Portland v. Purdue Pharma LP et
1:18-op-46313-DAP                                                     Portland City               Maine         /s/ Shayna E. Sacks
                                         al

1:18-op-46314-DAP City of Bangor v. Purdue Pharma LP et al             Bangor City                Maine         /s/ Shayna E. Sacks

                    City of Lewiston v. Purdue Pharma LP et
1:18-op-46315-DAP                                                     Lewiston City               Maine         /s/ Shayna E. Sacks
                                        al
                       Washington County, Tennessee v.
1:18-op-46317-DAP    Amerisourcebergen Drug Corporation et         Washington County            Tennessee        /s/ Peter J. Mougey
                                      al
                       Board of County Commissioners of
1:18-op-46320-DAP     Pawnee County, State of Oklahoma v.            Pawnee County              Oklahoma        /s/ Shayna E. Sacks
                           Purdue Pharma L.P. et al
                      Board of County Commissioners of
1:18-op-46321-DAP    Delaware County, State of Oklahoma v.          Delaware County             Oklahoma        /s/ Shayna E. Sacks
                           Purdue Pharma L.P. et al
                      Board of County Commissioners of
1:18-op-46322-DAP     Osage County, State of Oklahoma v.              Osage County              Oklahoma        /s/ Shayna E. Sacks
                           Purdue Pharma L.P. et al
                       Board of County Commissioners of
1:18-op-46323-DAP     Ottawa County, State of Oklahoma v.             Ottawa County             Oklahoma        /s/ Shayna E. Sacks
                           Purdue Pharma L.P. et al
                       Lauderdale County, Tennessee v.
1:18-op-46324-DAP    Amerisourcebergen Drug Coropration et          Lauderdale County           Tennessee        /s/ Peter J. Mougey
                                      al
                      Montgomery County Board of County
1:18-op-46326-DAP    Commissioners et al v. Cardinal Health,       Montgomery County              Ohio         /s/ David I. Ackerman
                                  Inc. et al
                    Davidson County v. Purdue Pharma, L.P.
1:18-op-46330-DAP                                                   Davidson County           North Carolina      /s/ Jayne Conroy
                                    et al

                     City of Bradenton v. Amerisourcebergen
1:18-op-46331-DAP                                                    Bradenton City              Florida         /s/ Peter J. Mougey
                              Drug Corporation et al

                      Commissioners of St. Mary's County,
1:18-op-46334-DAP     Maryland v. Amerisourcebergen Drug             St Marys County            Maryland         /s/ Peter J. Mougey
                               Corporation et al
                           City of Albany Georgia v.
1:18-op-46337-DAP    AmerisourceBergen Drug Corporation et             Albany City               Georgia         /s/ Peter J. Mougey
                                       al
                  City of Findlay v. Purdue Pharma L.P. et
1:18-op-46339-DAP                                                      Findlay City               Ohio          /s/ Shayna E. Sacks
                                      al
                  Roosevelt County v. Purdue Pharma L.P.
1:18-op-46343-DAP                                                   Roosevelt County          New Mexico        /s/ Shayna E. Sacks
                                     et al
                      Mental Health & Recovery Services         Mental Health & Recovery
1:18-op-46344-DAP     Board of Allen, Auglaize and Hardin        Services Board of Allen,         Ohio         /s/ Peter H. Weinberger
                      Counties v. Purdue Pharma L.P. et al     Auglaize and Hardin Counties

                     City of Van Wert v. AmerisourceBergen
1:18-op-46345-DAP                                                     Van Wert City               Ohio         /s/ Peter H. Weinberger
                              Drug Corporation et al




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  Case Number                    Case Caption                         Plaintiff                State             Signed by

                       City of Kenova, West Virginia v.
1:18-op-46346-DAP    AmerisourceBergen Drug Corporation et          Kenova City            West Virginia    /s/ Charles R. Webb
                                      al
                      City of Winchester v. Purdue Pharma
1:18-op-46348-DAP                                                  Winchester City           Kentucky        /s/ J. R. WHALEY
                                   L.P. et al
                     Webster County, Missouri v. Purdue
1:18-op-46350-DAP                                                  Webster County            Missouri        /s/ Peter J. Mougey
                              Pharma L.P. et al
                  City of Norwalk v. Purdue Pharma L.P. et
1:18-op-46351-DAP                                                   Norwalk city               Ohio         /s/ Leslie O. Murray
                                      al
                      Moniteau County, Missouri v. Purdue
1:18-op-46352-DAP                                                 Moniteau County            Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                    Hillsborough County, New Hampshire, v.
1:18-op-46353-DAP                                               Hillsborough County        New Hampshire     /s/ Shayna E. Sacks
                            Purdue Pharma L.P. et al
                       City of Utica, New York v. Purdue
1:18-op-46359-DAP                                                     Utica City             New York        /s/ Eva B. Pearlman
                                Pharma, L.P. et al
                      Anson County v. AmerisourceBergen
1:18-op-46364-DAP                                                   Anson County           North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al
                      County of Kent, Michigan v. Purdue
1:19-op-45000-DAP                                                   Kent County              Michigan         /s/ Paul F. Novak
                                Pharma L.P. et al
                     Camden County v. AmerisourceBergen
1:19-op-45001-DAP                                                  Camden County           North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al
                            Washington County v.
1:19-op-45002-DAP    AmerisourceBergen Drug Corporation et       Washington County         North Carolina    /s/ Peter J. Mougey
                                      al
                         Madison County, Alabama v.
1:19-op-45006-DAP    Amerisourcebergen Drug Corporation et        Madison County             Alabama         /s/ Peter J. Mougey
                                      al
1:19-op-45007-DAP       Gilley v. Purdue Pharma L P et al     Sheriff Of Richland Parish     Louisiana        /s/ Jayne Conroy
                     City of Quincy v. Purdue Pharma, LP et
1:19-op-45008-DAP                                                    Quincy city           Massachusetts    /s/ Vincent L. Greene
                                         al
                       City of Clearwater in the County of
1:19-op-45009-DAP                                                  Clearwater City            Florida       /s/ David I. Ackerman
                       Pinellas v. Purdue Pharma L.P. et al
                            City of Saint Martinville v.
1:19-op-45013-DAP                                                St. Martinville City        Louisiana       /s/ Peter J. Mougey
                          AmerisourceBergen Corp et al

                     Haywood County v. AmerisourceBergen
1:19-op-45014-DAP                                                 Haywood County           North Carolina    /s/ Peter J. Mougey
                            Drug Corporation et al

                       Unified Government of Wyandotte
                        County/Kansas City, Kansas v.
1:19-op-45015-DAP                                                 Kansas City City            Kansas         /s/ Sarah S. Ruane
                     AmerisourceBergen Drug Corporation et
                                      al
                      Saint Regis Mohawk Tribe v. Purdue
1:19-op-45018-DAP                                             Saint Regis Mohawk Tribe       New York           /s/ David Ko
                               Pharma, L.P. et al
                      County of Maricopa v. Purdue Pharma
1:19-op-45020-DAP                                                 Maricopa County             Arizona           /s/ David Ko
                                    LP et al
                      Town of Stoughton, Massachusetts v.
1:19-op-45023-DAP    Amerisourcebergen Drug Corporation et        Stoughton Town           Massachusetts     /s/ Peter J. Mougey
                                      al
                  City of Anacortes et al v. Purdue Pharma,
1:19-op-45029-DAP                                                  Anacortes City           Washington          /s/ David Ko
                                  L.P. et al
                  City of Fitchburg v. Purdue Pharma L.P.
1:19-op-45030-DAP                                                  Fitchburg City          Massachusetts     /s/ Shayna E. Sacks
                                    et al
                     Board of County Commissioners of the
                            County of McKinley v.
1:19-op-45033-DAP                                                 Mckinley County           New Mexico       /s/ Peter J. Mougey
                     AmerisourceBergen Drug Corporation et
                                      al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 50 of 88. PageID #: 640540
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                         Plaintiff               State            Signed by

                    City of Thornton v. Purdue Pharma L.P.
1:19-op-45034-DAP                                                 Thornton City            Colorado          /s/ David Ko
                                     et al
                     Board of County Commissioners of the
1:19-op-45035-DAP    County of Jefferson v. Purdue Pharma,       Jefferson County          Colorado          /s/ David Ko
                                    L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue        ADAMS COUNTY                Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue      ARAPAHOE COUNTY               Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue            Aurora city             Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue          Black Hawk city           Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue       BOULDER COUNTY               Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue          Broomfield city           Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue        Commerce City city          Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue            Denver city             Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue       FREMONT COUNTY               Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue           Hudson town              Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue       LARIMER COUNTY               Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue          Northglenn city           Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue        TELLER COUNTY               Colorado          /s/ David Ko
                               Pharma, L.P. et al
                     Board of County Commissioners of the
1:19-op-45036-DAP      County of Adams, et al v. Purdue         Westminster City           Colorado          /s/ David Ko
                               Pharma, L.P. et al
                   Cahto Indian Tribe of the Laytonville
                                                             Cahto Indian Tribe of the
1:19-op-45038-DAP Rancheria et al v. McKesson Corporation                                  California     /s/ T. Roe Frazer II
                                                              Laytonville Rancheria
                                     et al
                     Town of Dedham, Massachusetts v.
1:19-op-45039-DAP   Amerisourcebergen Drug Corporation et         Dedham Town            Massachusetts    /s/ Peter J. Mougey
                                     al
                     Duplin County v. AmerisourceBergen
1:19-op-45040-DAP                                                 Duplin County          North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 51 of 88. PageID #: 640541
                          Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                      Case Caption                       Plaintiff           State             Signed by

                         Manatee County, Florida v. Purdue
1:19-op-45044-DAP                                                  Manatee County        Florida          /s/ Eric Romano
                                 Pharma L.P. et al
                            Bartow County, Georgia v.
1:19-op-45045-DAP     AmerisourceBergen Drug Corporation et        Bartow County         Georgia        /s/ Peter J. Mougey
                                       al
                         Polk County, Georgia v.
1:19-op-45046-DAP                                                   Polk County          Georgia        /s/ Peter J. Mougey
                   AmerisourceBergen Drug Corporation
                  Westwego City v. Purdue Pharma, L.P. et
1:19-op-45047-DAP                                                  Westwego City        Louisiana      /s/ Michael S. Sepcich
                                    al
                        City of Columbia, Mississippi v.
1:19-op-45048-DAP     Amerisourcebergen Drug Corporation et        Columbia City       Mississippi      /s/ Peter J. Mougey
                                       al
                       Pamlico County v. AmerisourceBergen
1:19-op-45049-DAP                                                  Pamlico County     North Carolina    /s/ Peter J. Mougey
                              Drug Corporation et al
                       Board of County Commissioners of the
1:19-op-45051-DAP      County of Taos v. AmerisourceBergen          Taos County       New Mexico        /s/ Peter J. Mougey
                              Drug Corporation et al
                     Rio Arriba County, New Mexico v.
1:19-op-45054-DAP                                                 Rio Arriba County   New Mexico        /s/ Shayna E. Sacks
                          Purdue Pharma L.P. et al
                  People of the State of Illinois et al v. Teva
1:19-op-45055-DAP                                                  St Clair County       Illinois         /s/ David Cates
                      Pharmaceuticals USA, Inc. et al
                    Town of Athol v. AmerisourceBergen
1:19-op-45058-DAP                                                   Athol Town        Massachusetts     /s/ Peter J. Mougey
                           Drug Corporation et al

                      Town of Rehoboth v. AmerisourceBergen
1:19-op-45059-DAP                                                  Rehoboth Town      Massachusetts     /s/ Peter J. Mougey
                              Drug Corporation et al

                           Town of Fairhaven, MA v.
1:19-op-45060-DAP     Amerisourcebergen Drug Corporation et        Fairhaven Town     Massachusetts     /s/ Peter J. Mougey
                                       al

                      Town of Norwood v. Amerisourcebergen
1:19-op-45061-DAP                                                  Norwood Town       Massachusetts     /s/ Peter J. Mougey
                              Drug Corporation et al

                      Town of Brookline v. Amerisourcebergen
1:19-op-45062-DAP                                                  Brookline Town     Massachusetts     /s/ Peter J. Mougey
                              Drug Corporation et al

                       Town of Scituate v. Amerisourcebergen
1:19-op-45063-DAP                                                  Scituate Town      Massachusetts     /s/ Peter J. Mougey
                              Drug Corporation et al

                       County of Brevard, Florida v. Purdue
1:19-op-45064-DAP                                                  Brevard County        Florida       /s/ Paulina do Amaral
                                 Pharma L.P. et al
                      County of Douglas, State of Nebraska v.
1:19-op-45068-DAP                                                  Douglas County       Nebraska         /s/ Jayne Conroy
                             Purdue Pharma L.P. et al
                        Town of Orange, Massachusetts v.
1:19-op-45070-DAP     Amerisourcebergen Drug Corporation et         Orange Town       Massachusetts     /s/ Peter J. Mougey
                                       al
                        City of Florence Alabama v. Purdue
1:19-op-45073-DAP                                                   Florence City       Alabama        /s/ Joel L. DiLorenzo
                                  Pharma L.P. et al
                        Morgan County, Tennessee v. Purdue
1:19-op-45075-DAP                                                  Morgan County        Tennessee         /s/ Mark Chalos
                                  Pharma LP et al
                          Ho-Chunk Nation v. McKesson
1:19-op-45076-DAP                                                 Ho-Chunk Nation       Wisconsin       /s/ T. Roe Frazer II
                                  Corporation et al
                             Town of Tewksbury v.
1:19-op-45077-DAP     Amerisourcebergen Drug Corporation et       Tewksbury Town      Massachusetts     /s/ Peter J. Mougey
                                       al
                         City of Nanticoke, Pennsylvania v.
1:19-op-45081-DAP                                                  Nanticoke City     Pennsylvania      /s/ Peter J. Mougey
                              Purdue Pharma L.P. et al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 52 of 88. PageID #: 640542
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                           Plaintiff                  State             Signed by

                     City of Great Falls et al v. Purdue Pharma
1:19-op-45083-DAP                                               Anaconda-Deer Lodge County        Montana         /s/ Jeffrey B. Simon
                                     L.P. et al
                     City of Great Falls et al v. Purdue Pharma
1:19-op-45083-DAP                                                     Great Falls City            Montana         /s/ Jeffrey B. Simon
                                     L.P. et al
                     City of Great Falls et al v. Purdue Pharma
1:19-op-45083-DAP                                                      Lake County                Montana         /s/ Jeffrey B. Simon
                                     L.P. et al
                     City of Great Falls et al v. Purdue Pharma
1:19-op-45083-DAP                                                      Missoula City              Montana         /s/ Jeffrey B. Simon
                                     L.P. et al
                  City of Florence v. Purdue Pharma L.P. et
1:19-op-45084-DAP                                                      Florence City              Kentucky        /s/ J. R. WHALEY
                                       al
                   City of Grayson v. Purdue Pharma L.P.,
1:19-op-45085-DAP                                                      Grayson City               Kentucky       /s/ Sheila P. Hiestand
                                     et al
                       Autauga County, Alabama v. Purdue
1:19-op-45086-DAP                                                    Autauga County               Alabama         /s/ Jeffrey D. Price
                               Pharma L.P. et al
                     County Commissioners of Charles
1:19-op-45094-DAP County, Maryland v. Purdue Pharma L.P.              Charles County              Maryland          /s/ John Raggio
                                   et al
                     Noble County, Ohio v. Cardinal Health,
1:19-op-45096-DAP                                                       Noble County                Ohio         /s/ Joseph J. Cappelli
                                     Inc. et al
                      Grant County, New Mexico v. Purdue
1:19-op-45108-DAP                                                       Grant County            New Mexico        /s/ Shayna E. Sacks
                                 Pharma L.P. et al
                     Mennonite General Hospital, Inc. et al v.
1:19-op-45109-DAP                                              Hospital Menonita Caguas, Inc.    Puerto Rico     /s/ Robert K. Finnell
                             Purdue Pharma, L.P. et al
                     Mennonite General Hospital, Inc. et al v. Hospital Menonita Gauyama,
1:19-op-45109-DAP                                                                                Puerto Rico     /s/ Robert K. Finnell
                             Purdue Pharma, L.P. et al                      Inc.
                     Mennonite General Hospital, Inc. et al v. Mennonite General Hospital,
1:19-op-45109-DAP                                                                                Puerto Rico     /s/ Robert K. Finnell
                             Purdue Pharma, L.P. et al                      Inc.
                     City of Medford v. Purdue Pharma, LP et
1:19-op-45110-DAP                                                       Medford City            Massachusetts   /s/ Robert J. Bonsignore
                                        al
                      Missoula County v. Purdue Pharma L.P.
1:19-op-45112-DAP                                                    Missoula County              Montana            /s/ David Ko
                                      et al
                         Harrison County, Mississippi v.
1:19-op-45113-DAP                                                    Harrison County             Mississippi      /s/ T. Roe Frazer II
                           McKesson Corporation et al
                      County of Mohave v. Purdue Pharma LP
1:19-op-45117-DAP                                                     Mohave County               Arizona            /s/ David Ko
                                      et al

1:19-op-45122-DAP City of Flint v. Actavis Pharma, Inc. et al            Flint City               Michigan        /s/ Jeffrey D. Price

                      Town of Dennis v. Amerisourcebergen
1:19-op-45124-DAP                                                      Dennis Town              Massachusetts     /s/ Peter J. Mougey
                             Drug Corporation et al
                            Town of Provincetown v.
1:19-op-45125-DAP     Amerisourcebergen Drug Corporation et         Provincetown Town           Massachusetts     /s/ Peter J. Mougey
                                       al
                      County of San Mateo v. Purdue Pharma
1:19-op-45126-DAP                                                   San Mateo County             California     /s/ Anne Marie Murphy
                                    L.P. et al
                      County of Santa Barbara et al v. Purdue
1:19-op-45128-DAP                                                  Santa Barbara County          California          /s/ David Ko
                                Pharma, L.P. et al
                         City of Blakely, Georgia et al v.
1:19-op-45129-DAP     AmerisourceBergen Drug Corporation et           Arlington City              Georgia            /s/ Matt Conn
                                        al
                         City of Blakely, Georgia et al v.
1:19-op-45129-DAP     AmerisourceBergen Drug Corporation et             Blakely city              Georgia            /s/ Matt Conn
                                        al
                         City of Blakely, Georgia et al v.
1:19-op-45129-DAP     AmerisourceBergen Drug Corporation et           Damascus city               Georgia            /s/ Matt Conn
                                        al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 53 of 88. PageID #: 640543
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                             Plaintiff                 State             Signed by

                           Heard County, Georgia v.
1:19-op-45130-DAP    AmerisourceBergen Drug Corporation et              Heard County               Georgia           /s/ Matt Conn
                                      al
                     Blount County, Tennessee et al v. Purdue
1:19-op-45132-DAP                                                      Blount County              Tennessee          /s/ Matt Conn
                               Pharma, L.P. et al
                     Blount County, Tennessee et al v. Purdue
1:19-op-45132-DAP                                                     Jefferson County            Tennessee          /s/ Matt Conn
                               Pharma, L.P. et al

                       Hospital Authority of Valdosta and       Valdosta And Lowndes County,
1:19-op-45133-DAP      Lowndes County, Georgia v. Purdue         Hospital Authority Of D/B/A       Georgia           /s/ Matt Conn
                               Pharma, L.P. et al                South Georgia Medical Center

                     Jackson County Health Care Authority v.     Jackson County Health Care
1:19-op-45134-DAP                                                                                 Alabama            /s/ Matt Conn
                            Purdue Pharma, L.P. et al                     Authority
                      City of Rainsville, Alabama et al v.
1:19-op-45135-DAP    AmerisourceBergen Drug Corporation et          Hammondville Town             Alabama            /s/ Matt Conn
                                       al
                      City of Rainsville, Alabama et al v.
1:19-op-45135-DAP    AmerisourceBergen Drug Corporation et              Rainsville city           Alabama            /s/ Matt Conn
                                       al
                       City of Red Bay, Alabama et al v.
1:19-op-45136-DAP    AmerisourceBergen Drug Corporation et             Leighton town              Alabama            /s/ Matt Conn
                                      al
                       City of Red Bay, Alabama et al v.
1:19-op-45136-DAP    AmerisourceBergen Drug Corporation et              Red Bay city              Alabama            /s/ Matt Conn
                                      al
                       City of Red Bay, Alabama et al v.
1:19-op-45136-DAP    AmerisourceBergen Drug Corporation et             Russellville city          Alabama            /s/ Matt Conn
                                      al
                       City of Red Bay, Alabama et al v.
1:19-op-45136-DAP    AmerisourceBergen Drug Corporation et              Sheffield city            Alabama            /s/ Matt Conn
                                      al
                        Iberville Parish Council v. Purdue
1:19-op-45140-DAP                                                  Iberville Parish Council       Louisiana      /s/ Patrick W. Pendley
                                  Pharma, LP et al
                       City of Vestavia Hills, Alabama v.
1:19-op-45141-DAP    AmerisourceBergen Drug Corporation et           Vestavia Hills City          Alabama            /s/ Matt Conn
                                       al
                       Jones County v. AmerisourceBergen
1:19-op-45142-DAP                                                       Jones County            North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al
                    Health Care Authority of the City of
                                                                 Attentus Mouton, LLC d/b/a
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et                                      Alabama            /s/ Matt Conn
                                                                  Lawrence Medical Center
                                       al
                    Health Care Authority of the City of
                                                                 Health Care Authority of
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et                                      Alabama            /s/ Matt Conn
                                                                Morgan County - Decatur city
                                       al
                    Health Care Authority of the City of         Health Care Authority of the
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et     City of Huntsville d/b/a HH      Alabama            /s/ Matt Conn
                                       al                               Health System
                    Health Care Authority of the City of         Health Care Authority of the
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et       City of Huntsville d/b/a       Alabama            /s/ Matt Conn
                                       al                            Huntsville Hospital
                                                              Health Care Authority of the
                    Health Care Authority of the City of
                                                                City of Huntsville d/b/a
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et                                      Alabama            /s/ Matt Conn
                                                             Huntsville Hospital for Women
                                       al
                                                                      and Children




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 54 of 88. PageID #: 640544
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                           Plaintiff                State        Signed by

                    Health Care Authority of the City of       Health Care Authority of the
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et City of Huntsville d/b/a Madison   Alabama      /s/ Matt Conn
                                       al                               Hospital
                    Health Care Authority of the City of        HH Health System-Athens
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et   Limestone, LLC d/b/a Athens      Alabama      /s/ Matt Conn
                                       al                          Limestone Hospital
                                                               HH Health System-Morgan,
                    Health Care Authority of the City of
                                                                LLC d/b/a Decatur Morgan
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et                                    Alabama      /s/ Matt Conn
                                                               Hospital-Decatur and Decatur
                                       al
                                                                Morgan Hospital-Parkway
                    Health Care Authority of the City of     Hh Health System-Shoals, Llc
1:19-op-45143-DAP Huntsville et al v. Purdue Pharma, L.P. et D/B/A Helen Keller Hospital        Alabama      /s/ Matt Conn
                                       al                       And Red Bay Hospital
                     Wooten v. Purdue Pharmaceuticals, L.P.
1:19-op-45145-DAP                                                Sheriff Of Coffee County        Georgia      /s/ Paul Scott
                                        et al
1:19-op-45146-DAP      Walker v. Purdue Pharma, L.P. et al      Sheriff Of Crawford County       Georgia      /s/ Paul Scott
1:19-op-45147-DAP       Jolley v. Purdue Pharma L.P. et al       Sheriff Of Harris County        Georgia      /s/ Paul Scott
1:19-op-45155-DAP       Jump v. Purdue Pharma L.P. et al         Sheriff Of Glynn County         Georgia      /s/ Paul Scott
                     County of Albany, New York v. Cardinal
1:19-op-45159-DAP                                                     Albany County             New York   /s/ Elizabeth Smith
                                  Health, Inc. et al
1:19-op-45161-DAP     Bohannon v. Purdue Pharma L.P. et al     Sheriff Of Jeff Davis County      Georgia      /s/ Paul Scott
1:19-op-45162-DAP       Reece v. Purdue Pharma L.P. et al        Sheriff Of Jones County         Georgia      /s/ Paul Scott
1:19-op-45163-DAP       Dean v. Purdue Pharma L.P. et al        Sheriff Of Laurens County        Georgia      /s/ Paul Scott
1:19-op-45164-DAP     Langford v. Purdue Pharma L.P. et al      Sheriff Of Murray County         Georgia      /s/ Paul Scott
1:19-op-45165-DAP       Berry v. Purdue Pharma L.P. et al       Sheriff Of Oconee County         Georgia      /s/ Paul Scott
1:19-op-45166-DAP      Bennett v. Purdue Pharma L.P. et al       Sheriff Of Pierce County        Georgia      /s/ Paul Scott
1:19-op-45167-DAP        Kile v. Purdue Pharma L.P. et al       Sheriff Of Screven County        Georgia      /s/ Paul Scott

1:19-op-45168-DAP     Scarbrough v. Purdue Pharma L.P. et al      Sheriff Of Tift County         Georgia      /s/ Paul Scott

1:19-op-45169-DAP       Royal v. Purdue Pharma L.P. et al         Sheriff Of Ware County         Georgia      /s/ Paul Scott
1:19-op-45170-DAP       Carter v. Purdue Pharma L.P. et al       Sheriff Of Wayne County         Georgia      /s/ Paul Scott
                     City of Augusta v. Purdue Pharma LP et
1:19-op-45182-DAP                                                      Augusta city              Maine     /s/ Shayna E. Sacks
                                        al
                     Aroostook County v. Purdue Pharma LP
1:19-op-45183-DAP                                                   Aroostook County             Maine     /s/ Shayna E. Sacks
                                       et al
                      Penobscot County v. Purdue Pharma LP
1:19-op-45184-DAP                                                   Penobscot County             Maine     /s/ Shayna E. Sacks
                                       et al
                     Washington County v. Purdue Pharma LP
1:19-op-45185-DAP                                                   Washington County            Maine     /s/ Shayna E. Sacks
                                       et al
                     Somerset County v. Purdue Pharma LP et
1:19-op-45186-DAP                                                    Somerset County             Maine     /s/ Shayna E. Sacks
                                        al
                          Cheyenne & Arapaho Tribes v.
1:19-op-45187-DAP                                              Cheyenne & Arapaho Tribes        Oklahoma   /s/ T. Roe Frazer II
                           McKesson Corporation et al
                      City of Auburn v. Purdue Pharma LP et
1:19-op-45188-DAP                                                      Auburn city               Maine     /s/ Shayna E. Sacks
                                        al
                      Sagadahoc County v. Purdue Pharma LP
1:19-op-45189-DAP                                                   Sagadahoc County             Maine     /s/ Shayna E. Sacks
                                       et al
                      Lincoln County v. Purdue Pharma LP et
1:19-op-45190-DAP                                                     Lincoln County             Maine     /s/ Shayna E. Sacks
                                        al

1:19-op-45191-DAP     York County v. Purdue Pharma LP et al            York County               Maine     /s/ Shayna E. Sacks

                      City of Waterville v. Purdue Pharma LP
1:19-op-45193-DAP                                                     Waterville city            Maine     /s/ Shayna E. Sacks
                                        et al
                      Androscoggin County v. Purdue Pharma
1:19-op-45205-DAP                                                  Androscoggin County           Maine     /s/ Shayna E. Sacks
                                      LP et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 55 of 88. PageID #: 640545
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                          Plaintiff                State            Signed by

                      City of Geneva, New York v. Purdue
1:19-op-45214-DAP                                                     Geneva City            New York       /s/ Eva B. Pearlman
                               Pharma, L.P. et al
                     Board of County Commissioners of the
                       County of Otero, New Mexico v.
1:19-op-45216-DAP                                                    Otero County           New Mexico      /s/ Peter J. Mougey
                     AmerisourceBergen Drug Corporation et
                                      al
                     County of Navajo v. Purdue Pharma LP
1:19-op-45217-DAP                                                   Navajo County             Arizona           /s/ David Ko
                                       et al
                      City of Beverly v. Amerisourcebergen
1:19-op-45219-DAP                                                    Beverly City           Massachusetts   /s/ Peter J. Mougey
                              Drug Corporation et al
                     City of Memphis v. Purdue Pharma, L.P.
1:19-op-45220-DAP                                                    Memphis City            Tennessee      /s/ Michael J. Quillin
                                      et al
                     City of Lakewood v. Purdue Pharma LP
1:19-op-45221-DAP                                                   Lakewood City            Washington         /s/ David Ko
                                     et al
                       County Commission of Washington
1:19-op-45222-DAP     County, Oklahoma v. Purdue Pharma,          Washington County          Oklahoma         /s/ James Young
                                   L.P. et al
                       County Commission of Okmulgee
1:19-op-45223-DAP     County, Oklahoma v. Purdue Pharma,           Okmulgee County           Oklahoma         /s/ James Young
                                   L.P. et al
                     County Commission of Rogers County,
1:19-op-45224-DAP                                                   Rogers County            Oklahoma         /s/ James Young
                     Oklahoma v. Purdue Pharma, L.P. et al

                     County Commission of Nowata County,
1:19-op-45225-DAP                                                   Nowata County            Oklahoma         /s/ James Young
                     Oklahoma v. Purdue Pharma, L.P. et al

                      County Commission of Creek County,
1:19-op-45226-DAP                                                    Creek County            Oklahoma         /s/ James Young
                      Oklahoma v. Purdue Pharma, L.P. et al

                     County Commissioner of Mayes County,
1:19-op-45227-DAP                                                    Mayes County            Oklahoma         /s/ James Young
                      Oklahoma v. Purdue Pharma, L.P. et al

                     Meigs County, Ohio v. Cardinal Health,
1:19-op-45229-DAP                                                  MEIGS COUNTY                 Ohio        /s/ Joseph J. Cappelli
                                   Inc. et al
                      Washington County, Ohio v. Cardinal
1:19-op-45230-DAP                                                    Marietta City              Ohio        /s/ Joseph J. Cappelli
                               Health, Inc. et al
                      Washington County, Ohio v. Cardinal
1:19-op-45230-DAP                                                 Washington County             Ohio        /s/ Joseph J. Cappelli
                               Health, Inc. et al
                     Cheyenne and Arapaho Tribes v. Purdue
1:19-op-45231-DAP                                             Cheyenne and Arapaho Tribes    Oklahoma        /s/ T. Roe Frazer II
                                Pharma LP et al
                     Cheyenne & Arapaho Tribes v. Watson
1:19-op-45232-DAP                                             Cheyenne and Arapaho Tribes    Oklahoma        /s/ T. Roe Frazer II
                            Laboratories Inc et al
                     Montgomery County v. Purdue Pharma,
1:19-op-45234-DAP                                                 Montgomery County           Virginia        /s/ Kevin Sharp
                                 L.P. et al

1:19-op-45236-DAP Giles County v. Purdue Pharma, L.P. et al          Giles County             Virginia        /s/ Kevin Sharp

                     County of Jasper v. Purdue Pharma L.P.
1:19-op-45238-DAP                                                    Jasper County             Texas        /s/ Jeffrey B. Simon
                                       et al
                        County of Hardin v. Endo Health
1:19-op-45241-DAP                                                   Hardin County              Texas        /s/ Jeffrey B. Simon
                               Solutions, Inc. et al
                       County of Newton v. Endo Health
1:19-op-45242-DAP                                                   Newton County              Texas        /s/ Jeffrey B. Simon
                                Solutions Inc. et al
                        City of Galax, Virginia v. Purdue
1:19-op-45243-DAP                                                     Galax City              Virginia        /s/ Kevin Sharp
                                Pharma, L.P. et al
                       Henry County, Virginia v. Purdue
1:19-op-45245-DAP                                                    Henry County             Virginia        /s/ Kevin Sharp
                                Pharma, L.P. et al
                      City of Alexandria v. Purdue Pharma,
1:19-op-45246-DAP                                                   Alexandria city           Virginia        /s/ Kevin Sharp
                                    L.P. et al.




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  Case Number                    Case Caption                        Plaintiff            State           Signed by

                     Pittsylvania County v. Purdue Pharma,
1:19-op-45247-DAP                                               Pittsylvania County      Virginia       /s/ Kevin Sharp
                                    L.P. et al
                         City of Cullman, Alabama v.
1:19-op-45248-DAP    Amerisourcebergen Drug Corporation et        Cullman City          Alabama       /s/ Peter J. Mougey
                                      al
                       City of Norton, Virginia v. Purdue
1:19-op-45249-DAP                                                  Norton City           Virginia       /s/ Kevin Sharp
                                Pharma L.P. et al
                     Lee County, Virginia v. Purdue Pharma,
1:19-op-45251-DAP                                                  Lee County            Virginia       /s/ Kevin Sharp
                                   L.P. et al
                      Dickenson County v. Purdue Pharma,
1:19-op-45252-DAP                                               Dickenson County         Virginia       /s/ Kevin Sharp
                                  L.P. et al
                     Washington County, Virginia v. Purdue
1:19-op-45254-DAP                                               Washington County        Virginia       /s/ Kevin Sharp
                                Pharma, L.P. et al
                        Bad River Band of Lake Superior       Bad River Band of Lake
1:19-op-45256-DAP                                                                       Wisconsin     /s/ T. Roe Frazer II
                     Chippewa v. Purdue Pharma L.P. et al       Superior Chippewa
                     Kennebec County v. Purdue Pharma LP
1:19-op-45257-DAP                                               Kennebec County           Maine       /s/ Shayna E. Sacks
                                      et al
                     City of Biddeford v. Purdue Pharma LP
1:19-op-45258-DAP                                                 Biddeford city          Maine       /s/ Shayna E. Sacks
                                      et al
                     Cumberland County v. Purdue Pharma
1:19-op-45259-DAP                                              Cumberland County          Maine       /s/ Shayna E. Sacks
                                     LP et al
                      County of Ionia, Michigan v. Purdue
1:19-op-45261-DAP                                                  Ionia County         Michigan       /s/ Paul F. Novak
                                Pharma L.P., et al
                       County of Livingston, Michigan v.
1:19-op-45262-DAP                                               Livingston County       Michigan       /s/ Paul F. Novak
                            Purdue Pharma, Inc., et al
1:19-op-45264-DAP     Baldwin County, AL v. Sackler et al        Baldwin County         Alabama       /s/ Peter J. Mougey
                     Board of County Commissioners of the
1:19-op-45266-DAP     County of Lea v. AmerisourceBergen           Lea County          New Mexico     /s/ Peter J. Mougey
                            Drug Corporation et al

1:19-op-45267-DAP City of Tucson v. Purdue Pharma LP et al         Tucson city           Arizona      /s/ Joseph C. Tann

                  County of Pima v. Purdue Pharma LP et
1:19-op-45268-DAP                                                  Pima County           Arizona      /s/ Joseph C. Tann
                                    al
                  County of Fannin v. Rite Aid of Georgia,
1:19-op-45269-DAP                                                 Fannin County          Georgia        /s/ Matt Conn
                                 Inc. et al

                       Bad River Band of Lake Superior        Bad River Band of Lake
1:19-op-45270-DAP                                                                       Wisconsin     /s/ T. Roe Frazer II
                    Chippewa v. McKesson Corporation et al      Superior Chippewa

                  Winona County v. Purdue Pharma L.P. et
1:19-op-45271-DAP                                                Winona County          Minnesota     /s/ Scott A. Benson
                                     al
                  Marion County, Florida v. Purdue Pharma
1:19-op-45272-DAP                                                 Marion County          Florida       /s/ Eric Romano
                                 L.P. et al
                     Miller County, Missouri v. Purdue
1:19-op-45274-DAP                                                 Miller County         Missouri      /s/ Peter J. Mougey
                             Pharma L.P. et al

1:19-op-45275-DAP Page County v. Purdue Pharma, L.P. et al         Page County           Virginia       /s/ Kevin Sharp

                      Hospital Authority of Wayne County,     Wayne County Hospital
1:19-op-45278-DAP                                                                        Georgia         /s/ Paul Scott
                      Georgia v. Purdue Pharma, L.P. et al         Authority
                     Town of Warren v. Amerisourcebergen
1:19-op-45281-DAP                                                 Warren Town          Rhode Island   /s/ Peter J. Mougey
                             Drug Corporation et al

                     Town of Scituate v. Amerisourcebergen
1:19-op-45282-DAP                                                 Scituate Town        Rhode Island   /s/ Peter J. Mougey
                            Drug Corporation et al

                     Jackson County v. AmerisourceBergen
1:19-op-45283-DAP                                                Jackson County          Florida      /s/ Peter J. Mougey
                            Drug Corporation et al




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  Case Number                      Case Caption                             Plaintiff                State            Signed by

                       City of Rome, New York v. Purdue
1:19-op-45284-DAP                                                          Rome City               New York       /s/ Eva B. Pearlman
                                Pharma, L.P. et al
                       People of the State of Illinois et al v.
1:19-op-45286-DAP                                                        Union County               Illinois      /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                     City of Seat Pleasant, Maryland v. Endo
1:19-op-45288-DAP                                                      Seat Pleasant city          Maryland       /s/ Shayna E. Sacks
                            Health Solutions Inc. et al

                    City of Greensboro v. AmerisourceBergen
1:19-op-45289-DAP                                                       Greensboro City          North Carolina   /s/ Peter J. Mougey
                              Drug Corporation et al

                     Lee County v. AmerisourceBergen Drug
1:19-op-45290-DAP                                                         Lee County             North Carolina   /s/ Peter J. Mougey
                               Corporation et al
                     City of Gulfport, Mississippi v. Purdue                                                        /s/ Matthew G.
1:19-op-45291-DAP                                                        Gulfport City            Mississippi
                               Pharma, L.P. et al                                                                       Mestayer
                         City of Prestonsburg v.
1:19-op-45294-DAP AmerisourceBergen Drug Corporation, et               Prestonsburg City           Kentucky         /s/ Matt Conn
                                    al
                     Bad River Band of Lake Superior
                                                                    Bad River Band of Lake
1:19-op-45297-DAP Chippewa v. Watson Laboratories, Inc. et                                         Wisconsin      /s/ T. Roe Frazer II
                                                                      Superior Chippewa
                                   al
                     City of Brighton v. Purdue Pharma, L.P.
1:19-op-45298-DAP                                                        Brighton City             Colorado          /s/ David Ko
                                       et al
                    Board of County Commissioners of the
                           County of Bernalillo v.
1:19-op-45301-DAP                                                      Bernalillo County         New Mexico       /s/ Peter J. Mougey
                    AmerisourceBergen Drug Corporation et
                                     al
                      City of Lackawanna, New York v.
1:19-op-45303-DAP                                                      Lackawanna City             New York       /s/ Eva B. Pearlman
                          Purdue Pharma, L.P. et al
                     Meriwether County, Georgia v. Purdue
1:19-op-45305-DAP                                                      Meriwether County            Georgia        /s/ Mark Chalos
                               Pharma L.P. et al
1:19-op-45306-DAP     Smith v. Purdue Pharma L.P. et al           Sheriff Of Meriwether County      Georgia          /s/ Paul Scott
1:19-op-45307-DAP     Melton v. Purdue Pharma L.P. et al           Sheriff of Appling County        Georgia          /s/ Paul Scott
1:19-op-45308-DAP     Talton v. Purdue Pharma L.P. et al           Sheriff Of Houston County        Georgia          /s/ Paul Scott

1:19-op-45309-DAP Waldo County v. Purdue Pharma LP et al                 Waldo County                Maine        /s/ Shayna E. Sacks

1:19-op-45310-DAP    City of Saco v. Purdue Pharma LP et al                Saco City                 Maine        /s/ Shayna E. Sacks
                     City of Sanford v. Purdue Pharma LP et
1:19-op-45311-DAP                                                         Sanford City               Maine        /s/ Shayna E. Sacks
                                        al
1:19-op-45313-DAP     Steverson v. Purdue Pharma L.P. et al         Sheriff Of Telfair County       Georgia          /s/ Paul Scott
1:19-op-45314-DAP       Deese v. Purdue Pharma L.P. et al           Sheriff Of Peach County         Georgia          /s/ Paul Scott

                     Board of County Commissioners of the
1:19-op-45320-DAP    County of Catron v. AmerisourceBergen               Catron County           New Mexico       /s/ Peter J. Mougey
                             Drug Corporation et al


                     Board of County Commissioners of the
1:19-op-45321-DAP    County of Cibola v. AmerisourceBergen               Cibola County           New Mexico       /s/ Peter J. Mougey
                             Drug Corporation et al

                     Board of County Commissioners of the
1:19-op-45322-DAP    County of Sierra v. AmerisourceBergen               Sierra County           New Mexico       /s/ Peter J. Mougey
                             Drug Corporation et al

                   Board of County Commissioners of the
1:19-op-45323-DAP County of Socorro v. AmerisourceBergen                Socorro County           New Mexico       /s/ Peter J. Mougey
                          Drug Corporation et al




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  Case Number                   Case Caption                         Plaintiff               State             Signed by

                    Board of County Commissioners of the
                            County of Valencia v.
1:19-op-45324-DAP                                                 Valencia County        New Mexico        /s/ Peter J. Mougey
                    AmerisourceBergen Drug Corporation et
                                     al
                    Wilkes-Barre Township, Pennsylvania v.
1:19-op-45325-DAP                                              Wilkes Barre Township     Pennsylvania      /s/ Eva B. Pearlman
                           Purdue Pharma, L.P. et al
                       Richland County South Carolina v.
1:19-op-45327-DAP                                                 Richland County        South Carolina    /s/ Brent P. Ceryes
                            Purdue Pharma LP et al
                      City of Woonsocket, Rhode Island v.
1:19-op-45328-DAP    Amerisourcebergen Drug Corporation et        Woonsocket City        Rhode Island      /s/ Peter J. Mougey
                                      al
                       City of West Liberty, Kentucky v.
1:19-op-45329-DAP                                                West Liberty City         Kentucky           /s/ Matt Conn
                      AmerisourceBergen Corporation et al
                  McLeod County v. Purdue Pharma L.P. et
1:19-op-45332-DAP                                                 Mcleod County            Minnesota       /s/ Scott A. Benson
                                    al
                  Sibley County v. Purdue Pharma L.P. et
1:19-op-45333-DAP                                                  Sibley County           Minnesota       /s/ Scott A. Benson
                                    al

                     Scotland County v. AmerisourceBergen
1:19-op-45336-DAP                                                 Scotland County        North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al

                      Sarasota County, Florida v. Purdue
1:19-op-45339-DAP                                                 Sarasota County           Florida       /s/ David I. Ackerman
                               Pharma L.P. et al
                     Guilford County v. AmerisourceBergen
1:19-op-45340-DAP                                                 Guilford County        North Carolina    /s/ Peter J. Mougey
                             Drug Corporation et al
                       Lafayette County, Mississippi v.
1:19-op-45341-DAP    Amerisourcebergen Drug Corporation et        Lafayette County        Mississippi      /s/ Peter J. Mougey
                                      al

                     Granville County v. AmerisourceBergen
1:19-op-45342-DAP                                                 Granville County       North Carolina    /s/ Peter J. Mougey
                              Drug Corporation et al

                   Meeker County, Minnesota v. Purdue
1:19-op-45343-DAP                                                 Meeker County            Minnesota       /s/ Scott A. Benson
                            Pharma L.P. et al
                  Roseau County v. Purdue Pharma L.P. et
1:19-op-45344-DAP                                                 Roseau County            Minnesota       /s/ Scott A. Benson
                                    al
                   Durham County v. AmerisourceBergen
1:19-op-45346-DAP                                                 Durham County          North Carolina    /s/ Peter J. Mougey
                          Drug Corporation et al
                    Board of County Commissioners of the
                      County of Curry, New Mexico v.
1:19-op-45347-DAP                                                  Curry County          New Mexico        /s/ Peter J. Mougey
                    AmerisourceBergen Drug Corporation et
                                     al
                       Aroostook Band of Micmacs v.
1:19-op-45349-DAP   AmerisourceBergen Drug Corporation et    Aroostook Band of Micmacs       Maine         /s/ Peter J. Mougey
                                     al
                         Lower Brule Sioux Tribe v.
1:19-op-45350-DAP   AmerisourceBergen Drug Corporation et     Lower Brule Sioux Tribe    South Dakota      /s/ Peter J. Mougey
                                     al
                           County of Yolo, et al., v.
1:19-op-45351-DAP    Amerisourcebergen Drug Corporation et          Yolo County            California      /s/ Peter J. Mougey
                                      al
                    Board of County Commissioners of
1:19-op-45352-DAP County of Tulsa v. Purdue Pharma L.P. et         Tulsa County            Oklahoma        /s/ Shayna E. Sacks
                                      al
                    Board of County Commissioners for San
                                                                                                              /s/ Felicia C.
1:19-op-45354-DAP   Miguel County v. Purdue Pharma L.P. et       San Miguel County       New Mexico
                                                                                                              Weingartner
                                      al.




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  Case Number                    Case Caption                          Plaintiff              State             Signed by

                      Fairview Township, Pennsylvania v.
1:19-op-45355-DAP                                                 Fairview Township        Pennsylvania     /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                    Orange County Indiana v. Purdue Pharma
1:19-op-45356-DAP                                                   Orange County            Indiana      /s/ William D. Nefzger
                                   L.P. et al
                           White Earth Nation v.
1:19-op-45357-DAP   Amerisourcebergen Drug Corporation et         White Earth Nation        Minnesota       /s/ Peter J. Mougey
                                     al
                    William C. Massee, Jr. v. Purdue Pharma
1:19-op-45361-DAP                                              Sheriff Of Baldwin County     Georgia           /s/ Paul Scott
                                  L.P. et al
                    Snohomish County v. Purdue Pharma LP
1:19-op-45370-DAP                                                 Snohomish County         Washington     /s/ Christopher M. Huck
                                   et al
                    Cape May County v. Purdue Pharma L.P.
1:19-op-45372-DAP                                                  Cape May County         New Jersey        /s/ Jayne Conroy
                                     et al
                       Boone County, Missouri v. Purdue
1:19-op-45375-DAP                                                   Boone County            Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Callaway County, Missouri v. Purdue
1:19-op-45378-DAP                                                  Callaway County          Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                       Wright County, Missouri v. Purdue
1:19-op-45383-DAP                                                   Wright County           Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                       Douglas County, Missouri v. Purdue
1:19-op-45386-DAP                                                   Douglas County          Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Shannon County, Missouri v. Purdue
1:19-op-45401-DAP                                                  Shannon County           Missouri        /s/ Peter J. Mougey
                               Pharma L.P. et al
                      Gooding County, Idaho et al v. Purdue
1:19-op-45404-DAP                                                  Gooding County             Idaho         /s/ Shayna E. Sacks
                               Pharma L.P. et al
                    Knox County, Missouri v. Purdue Pharma
1:19-op-45406-DAP                                                    Knox County            Missouri        /s/ Peter J. Mougey
                                   L.P. et al
                     Camas County, Idaho v. Purdue Pharma
1:19-op-45407-DAP                                                   Camas County              Idaho         /s/ Shayna E. Sacks
                                   L.P. et al
                      Schuyler County, Missouri v. Purdue
1:19-op-45408-DAP                                                  Schuyler County          Missouri        /s/ Peter J. Mougey
                                Pharma L.P. et al
                      Randolph County, Missouri v. Purdue
1:19-op-45409-DAP                                                  Randolph County          Missouri        /s/ Peter J. Mougey
                                Pharma L.P. et al
                       City of Seven Hills, Ohio v. Purdue
1:19-op-45413-DAP                                                   Seven Hills City          Ohio          /s/ Shayna E. Sacks
                                Pharma L.P. et al
                    Pettis County, Missouri v. Purdue Pharma
1:19-op-45416-DAP                                                    Pettis County          Missouri        /s/ Shayna E. Sacks
                                    L.P. et al
                    Covington County, Mississippi v. Purdue
1:19-op-45417-DAP                                                  Covington County        Mississippi      /s/ Shayna E. Sacks
                                Pharma L.P. et al
                     Town of Summit, Mississippi v. Purdue
1:19-op-45418-DAP                                                   Summit Town            Mississippi      /s/ Shayna E. Sacks
                                Pharma L.P. et al
                     Town of Arcola, Mississippi v. Purdue
1:19-op-45419-DAP                                                    Arcola Town           Mississippi      /s/ Shayna E. Sacks
                                Pharma L.P. et al
                       Forsyth County, Georgia v. Purdue
1:19-op-45420-DAP                                                   Forsyth County           Georgia        /s/ Shayna E. Sacks
                                Pharma L.P. et al
                    Sandoval County, New Mexico v. Purdue
1:19-op-45421-DAP                                                  Sandoval County         New Mexico       /s/ Shayna E. Sacks
                                Pharma L.P. et al
                      City of Mound Bayou, Mississippi v.
1:19-op-45422-DAP                                                 Mound Bayou City         Mississippi      /s/ Shayna E. Sacks
                             Purdue Pharma L.P. et al
                    Walton County, Florida v. Purdue Pharma
1:19-op-45423-DAP                                                   Walton County            Florida        /s/ Shayna E. Sacks
                                     L.P. et al
                     City of Saint Paul, Minnesota v. Purdue
1:19-op-45424-DAP                                                    St. Paul City          Minnesota       /s/ Shayna E. Sacks
                                Pharma L.P. et al
                       Town of Centerville, Mississippi v.
1:19-op-45425-DAP                                                  Centerville Town        Mississippi      /s/ Shayna E. Sacks
                            Purdue Pharma, L.P. et al




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  Case Number                    Case Caption                           Plaintiff                 State             Signed by

                        Maverick County, Texas v. Purdue
1:19-op-45426-DAP                                                   Maverick County               Texas        /s/ Shayna E. Sacks
                               Pharma L.P. et al
                     Township of Saddle Brook, New Jersey
1:19-op-45431-DAP                                                Saddle Brook Township         New Jersey      /s/ Shayna E. Sacks
                         v. Purdue Pharma L.P. et al
                      County of Berkeley, South Carolina v.
1:19-op-45436-DAP                                                   Berkeley County           South Carolina    /s/ Paul F. Novak
                           Purdue Pharma L.P. et al
                       County of Jefferson, NY v. Purdue
1:19-op-45437-DAP                                                   Jefferson County            New York         /s/ Kevin Sharp
                               Pharma, L.P. et al
                      Coushatta Tribe of Louisiana et al v.
1:19-op-45438-DAP    AmerisourceBergen Drug Corporation et     Coushatta Tribe of Louisiana     Louisiana      /s/ Peter J. Mougey
                                       al
                       Johnson County, Kansas v. Purdue
1:19-op-45443-DAP                                                    Johnson County              Kansas        /s/ Shayna E. Sacks
                                Pharma L.P. et al
                     Avoyelles Parish Police Jury v. Purdue
1:19-op-45444-DAP                                                   Avoyelles Parish            Louisiana       /s/ Jayne Conroy
                               Pharma, L.P. et al
                     Calcasieu Parish Police Jury v. Purdue
1:19-op-45445-DAP                                                    Calcasieu Parish           Louisiana       /s/ Jayne Conroy
                                Pharma L.P. et al
                       Ouachita Parish Police Jury et al v.
1:19-op-45446-DAP                                                    Ouachita Parish            Louisiana       /s/ Jayne Conroy
                            Purdue Pharma, L.P. et al
                       Sabine Parish Police Jury v. Purdue
1:19-op-45448-DAP                                                     Sabine Parish             Louisiana       /s/ Jayne Conroy
                               Pharma, L.P. et al
                     City of Lake Charles v. Purdue Pharma
1:19-op-45449-DAP                                                   Lake Charles City           Louisiana       /s/ Jayne Conroy
                                   L.P., et al
                     Evangeline Parish Police Jury v. Purdue
1:19-op-45450-DAP                                                   Evangeline Parish           Louisiana       /s/ Jayne Conroy
                               Pharma, L.P. et al
                      Vernon Parish Police Jury v. Purdue
1:19-op-45451-DAP                                                     Vernon Parish             Louisiana       /s/ Jayne Conroy
                               Pharma, L.P. et al
                     Morehouse Parish Police Jury v. Purdue
1:19-op-45452-DAP                                                   Morehouse Parish            Louisiana       /s/ Jayne Conroy
                                  Pharma L P
                  East Carroll Parish Police Jury v. Purdue
1:19-op-45453-DAP                                                  East Carroll Parish          Louisiana       /s/ Jayne Conroy
                                Pharma L P
                  West Carroll Parish Police Jury v. Purdue
1:19-op-45454-DAP                                                  West Carroll Parish          Louisiana       /s/ Jayne Conroy
                                Pharma L P
                        Quapaw Tribe of Oklahoma v.
1:19-op-45460-DAP    AmerisourceBergen Drug Corporation et     Quapaw Tribe of Oklahoma         Oklahoma       /s/ Peter J. Mougey
                                      al
                      City of Canton et al v. Purdue Pharma
1:19-op-45462-DAP                                                     Canton town             North Carolina   /s/ Robert K. Finnell
                                    L.P. et al
                      City of Canton et al v. Purdue Pharma
1:19-op-45462-DAP                                                   Chatham County            North Carolina   /s/ Robert K. Finnell
                                    L.P. et al
                         City of Tupelo, Mississippi v.
1:19-op-45491-DAP    Amerisourcebergen Drug Coropration et             Tupelo City             Mississippi      /s/ Eric D. Barton
                                       al
                   City of Inez, KY v. Amerisourcebergen
1:19-op-45499-DAP                                                       Inez City               Kentucky          /s/ Matt Conn
                            Drug Coropration et al
                  County of Curry v. Purdue Pharma, LP et
1:19-op-45512-DAP                                                     Curry County               Oregon         /s/ Tom D'Amore
                                     al
                     Board of County Commissioners of the
                       County of Lincoln, New Mexico v.
1:19-op-45513-DAP                                                    Lincoln County           New Mexico       /s/ Peter J. Mougey
                     AmerisourceBergen Drug Corporation et
                                      al
                        City of Long Beach, Mississippi v.                                                       /s/ Matthew G.
1:19-op-45517-DAP                                                   Long Beach City            Mississippi
                             Purdue Pharma, L.P. et al                                                               Mestayer

                     City of Richmond v. AmerisourceBergen
1:19-op-45546-DAP                                                    Richmond City               Virginia      /s/ Peter J. Mougey
                              Drug Corporation et al




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  Case Number                    Case Caption                           Plaintiff                State            Signed by

                       Pearl River County, Mississippi v.
1:19-op-45548-DAP    Amerisourcebergen Drug Corporation et         Pearl River County         Mississippi     /s/ Peter J. Mougey
                                      al
                         City of Amory, Mississippi v.
1:19-op-45549-DAP    AmerisourceBergen Drug Corporation et            Amory City              Mississippi     /s/ Peter J. Mougey
                                      al
                     Mitchell County v. AmerisourceBergen
1:19-op-45550-DAP                                                   Mitchell County          North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al
                        DeSoto County, Mississippi v.
1:19-op-45551-DAP    Amerisourcebergen Drug Corporation et           Desoto County            Mississippi     /s/ Peter J. Mougey
                                      al
                        Leflore County, Mississippi v.
1:19-op-45552-DAP    Amerisourcebergen Drug Corporation et           Leflore County           Mississippi     /s/ Peter J. Mougey
                                      al
                      City of South Sioux City, Nebraska v.
1:19-op-45553-DAP    AmerisourceBergen Drug Corporation et          South Sioux City           Nebraska       /s/ Peter J. Mougey
                                        al
                            Town of Portsmouth v.
1:19-op-45554-DAP    Amerisourcebergen Drug Corporation et         Portsmouth Town           Rhode Island     /s/ Peter J. Mougey
                                      al
                      County of Northumberland v. Purdue
1:19-op-45555-DAP                                               Northumberland County        Pennsylvania     /s/ Eva B. Pearlman
                               Pharma, L.P. et al
                      Bladen County v. AmerisourceBergen
1:19-op-45557-DAP                                                    Bladen County           North Carolina   /s/ Peter J. Mougey
                             Drug Corporation et al
                           City of Paintsville, KY v.
1:19-op-45559-DAP    AmerisourceBergen Drug Corporation et           Paintsville City          Kentucky         /s/ Matt Conn
                                       al
                      County of Calhoun v. Purdue Pharma
1:19-op-45560-DAP                                                   Calhoun County             Michigan       /s/ Peter J. Mougey
                                   L.P. et al
                     County of Kalamazoo v. Purdue Pharma
1:19-op-45561-DAP                                                  Kalamazoo County            Michigan       /s/ Peter J. Mougey
                                    L.P. et al
1:19-op-45562-DAP     Hancock v. Purdue Pharma L.P. et al       Sheriff Of Crisp County         Georgia          /s/ Paul Scott
                       St. Johns County, Florida v. Purdue
1:19-op-45563-DAP                                                   St Johns County             Florida        /s/ Eric Romano
                                Pharma L.P. et al
                       Bradford County, Florida v. Purdue
1:19-op-45564-DAP                                                   Bradford County             Florida        /s/ Eric Romano
                                Pharma L.P. et al
                       Seminole County, Florida v. Purdue
1:19-op-45565-DAP                                                   Seminole County             Florida        /s/ Eric Romano
                                Pharma L.P. et al
                  Charter Township of Pittsfield, Michigan
1:19-op-45566-DAP                                              Pittsfield Charter Township     Michigan       /s/ Peter J. Mougey
                        v. Purdue Pharma L.P. et al
                   Town of Oxford v. Amerisourcebergen
1:19-op-45568-DAP                                                    Oxford Town             Massachusetts    /s/ Peter J. Mougey
                           Drug Corporation et al
                         City of New Bedford et al v.
1:19-op-45569-DAP    Amerisourcebergen Drug Corporation et         New Bedford City          Massachusetts    /s/ Peter J. Mougey
                                      al
                       Town of Ayer, Massachusetts v.
1:19-op-45570-DAP    Amerisourcebergen Drug Corporation et             Ayer Town             Massachusetts    /s/ Peter J. Mougey
                                      al
                        Morgan County Fiscal Court v.
1:19-op-45571-DAP    Amerisourcebergen Drug Corporation et          Morgan County              Kentucky       /s/ Peter J. Mougey
                                      al
                     City of Sheridan v. Purdue Pharma, L.P.
1:19-op-45572-DAP                                                    Sheridan City             Colorado          /s/ David Ko
                                       et al
                        City of Federal Heights v. Purdue
1:19-op-45573-DAP                                                 Federal Heights City         Colorado          /s/ David Ko
                                Pharma, L.P. et al




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  Case Number                     Case Caption                            Plaintiff                State            Signed by

                        Wright Township, Pennsylvania v.
1:19-op-45574-DAP                                                     Wright Township          Pennsylvania     /s/ Eva B. Pearlman
                            Purdue Pharma, L.P. et al
                    County of Yuma v. Purdue Pharma LP et
1:19-op-45575-DAP                                                       Yuma County               Arizona          /s/ David Ko
                                      al
                        City of Wiggins, Mississippi v.
1:19-op-45576-DAP    Amerisourcebergen Drug Corporation et              Wiggins City            Mississippi     /s/ Peter J. Mougey
                                      al
                        Franklin County, Mississippi v.
1:19-op-45577-DAP    Amerisourcebergen Drug Corporation et             Franklin County          Mississippi     /s/ Peter J. Mougey
                                      al
                     Tule River Indian Tribe of California v.
                                                                  Tule River Indian Tribe of
1:19-op-45579-DAP    AmerisourceBergen Drug Corporation et                                       California     /s/ Peter J. Mougey
                                                                          California
                                       al
                        Lytton Band of Pomo Indians v.
1:19-op-45580-DAP    AmerisourceBergen Drug Corporation et       Lytton Band of Pomo Indians     California     /s/ Peter J. Mougey
                                      al

                     Sampson County v. AmerisourceBergen
1:19-op-45583-DAP                                                     Sampson County           North Carolina   /s/ Peter J. Mougey
                            Drug Corporation et al

                    City of Oviedo, Florida v. Purdue Pharma
1:19-op-45584-DAP                                                        Oviedo City              Florida        /s/ Eric Romano
                                    L.P., et al
                       Kingston Borough, Pennsylvania v.
1:19-op-45585-DAP                                                     Kingston Borough         Pennsylvania     /s/ Peter J. Mougey
                            Purdue Pharma L.P. et al
                        City of Deltona, Florida v. Purdue
1:19-op-45586-DAP                                                       Deltona City              Florida        /s/ Eric Romano
                                Pharma, L.P. et al
                     Lake County, Florida v. Purdue Pharma
1:19-op-45588-DAP                                                       Lake County               Florida        /s/ Eric Romano
                                     L.P. et al
                       Hamilton County, Florida v. Purdue
1:19-op-45589-DAP                                                     Hamilton County             Florida        /s/ Eric Romano
                                 Pharma LP et al
                      Suwannee County, Florida v. Purdue
1:19-op-45590-DAP                                                     Suwannee County             Florida        /s/ Eric Romano
                                 Pharma L.P. et al
                     Clay County, Florida v. Purdue Pharma
1:19-op-45591-DAP                                                       Clay County               Florida        /s/ Eric Romano
                                     L.P. et al
                     City of St. Augustine, Florida v. Purdue
1:19-op-45592-DAP                                                     St. Augustine City          Florida        /s/ Eric Romano
                                  Pharma LP et al
                     City of Florida City, Florida v. Purdue
1:19-op-45594-DAP                                                     Florida City City           Florida        /s/ Eric Romano
                                 Pharma, L.P. et al
                      City of Fort Pierce, Florida v. Purdue
1:19-op-45595-DAP                                                      Fort Pierce City           Florida        /s/ Eric Romano
                                Pharma L.P. et al
                     City of Port St. Lucie, Florida v. Purdue
1:19-op-45596-DAP                                                    Port St. Lucie City          Florida        /s/ Eric Romano
                                Pharma L.P. et al
                     Taylor County Florida v. Purdue Pharma
1:19-op-45597-DAP                                                      Taylor County              Florida        /s/ Eric Romano
                                      LP et al
                  City of Daytona Beach, Florida v. Purdue
1:19-op-45598-DAP                                                    Daytona Beach City           Florida        /s/ Eric Romano
                             Pharma L.P., et al
                     City of Sanford, Florida v. Purdue
1:19-op-45599-DAP                                                       Sanford City              Florida        /s/ Eric Romano
                             Pharma L.P.., et al
                      United Keetoowah Band of Cherokee
                                                                  United Keetoowah Band of
1:19-op-45600-DAP     Indians v. AmerisourceBergen Drug                                           Kansas        /s/ Peter J. Mougey
                                                                      Cherokee Indians
                                Corporation et al

                    Board of Commissioners of Leavenworth
1:19-op-45602-DAP    County, Kansas v. AmerisourceBergen            Leavenworth County            Kansas        /s/ Peter J. Mougey
                             Drug Corporation et al

                    Union County, Florida v. Purdue Pharma
1:19-op-45603-DAP                                                       Union County              Florida        /s/ Eric Romano
                                  L.P., et al



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  Case Number                    Case Caption                          Plaintiff             State               Signed by

                     Dixie County Florida v. Purdue Pharma
1:19-op-45604-DAP                                                    Dixie County            Florida          /s/ Eric Romano
                                    LP et al
                       Gilchrist County, Florida v. Purdue
1:19-op-45605-DAP                                                   Gilchrist County         Florida          /s/ Eric Romano
                                 Pharma LP et al
                     County Commissioners of Calvert
1:19-op-45609-DAP County, Maryland v. Purdue Pharma L.P.            Calvert County         Maryland           /s/ John Raggio
                                   et al
                     Georgetown County, South Carolina v.
1:19-op-45612-DAP                                                 Georgetown County      South Carolina     /s/ Brent P. Ceryes
                            Purdue Pharma LP et al

                    Alamance County v. AmerisourceBergen
1:19-op-45615-DAP                                                  Alamance County       North Carolina     /s/ Peter J. Mougey
                           Drug Corporation et al

                     Sussex County, New Jersey v. Purdue
1:19-op-45616-DAP                                                    Sussex County        New Jersey        /s/ James E. Cecchi
                              Pharma L.P. et al
                    City of Clarksdale v. Purdue Pharma L.P.
1:19-op-45620-DAP                                                   Clarksdale City        Mississippi        /s/ John Raggio
                                       et al
                    City of Bismarck v. Purdue Pharma L.P.
1:19-op-45629-DAP                                                    Bismarck City        North Dakota        /s/ John Raggio
                                       et al
                    Williams County v. Purdue Pharma L.P.
1:19-op-45633-DAP                                                   Williams County       North Dakota        /s/ John Raggio
                                       et al
                     Grand Forks County v. Purdue Pharma
1:19-op-45647-DAP                                                 Grand Forks County      North Dakota        /s/ John Raggio
                                    L.P. et al
                     County Commission of Craig County,
1:19-op-45652-DAP                                                    Craig County          Oklahoma          /s/ James Young
                     Oklahoma v. Purdue Pharma, L.P. et al
                      Hanover Township, Pennsylvania v.
1:19-op-45654-DAP                                                  Hanover Township       Pennsylvania      /s/ Eva B. Pearlman
                            Purdue Pharma, L.P. et al
                    County of Lycoming v. Purdue Pharma,
1:19-op-45655-DAP                                                  Lycoming County        Pennsylvania      /s/ Eva B. Pearlman
                                    L.P. et al
                       St. Lucie County, Florida v. Purdue
1:19-op-45656-DAP                                                   St Lucie County          Florida          /s/ Eric Romano
                                Pharma L.P. et al
                      People of the State of Illinois et al v.
1:19-op-45657-DAP                                                  Williamson County         Illinois       /s/ Mark D. Prince
                            Purdue Pharma L.P. et al
                       Claiborne County, Tennessee v.
1:19-op-45658-DAP   Amerisourcebergen Drug Corporation et          Claiborne County        Tennessee        /s/ Peter J. Mougey
                                     al
                       County of Rockland, New York v.
1:19-op-45662-DAP                                                  Rockland County         New York       /s/ J. Gerard Stranch, IV
                          Purdue Pharma, L.P. et al

                    Hernando County v. Amerisourcebergen
1:19-op-45667-DAP                                                  Hernando County           Florida        /s/ Peter J. Mougey
                           Drug Corporation et al

1:19-op-45671-DAP   Lee County v. Purdue Pharma L.P., et al           Lee County             Florida          /s/ John Raggio

                    Town of Braintree v. Purdue Pharma L.P.
1:19-op-45673-DAP                                                 Braintree Town City    Massachusetts     /s/ Vincent L. Greene
                                      et al
                    County of Wicomico, Maryland v. Purdue
1:19-op-45681-DAP                                                  Wicomico County         Maryland           /s/ John Raggio
                                Pharma, L.P. et al
                           Fauquier County, Virginia v.
1:19-op-45686-DAP                                                   Fauquier County         Virginia          /s/ Kevin Sharp
                             Mallinckrodt LLC, et al
                      Board of Supervisors, Prince William
1:19-op-45687-DAP                                                Prince William County      Virginia          /s/ Kevin Sharp
                       County v. Purdue Pharma L.P. et al
                       Northumberland County, Virginia v.
1:19-op-45688-DAP                                                Northumberland County      Virginia          /s/ Kevin Sharp
                             Purdue Pharma L.P. et al
                     Strafford County v. Purdue Pharma L.P.
1:19-op-45689-DAP                                                   Strafford County     New Hampshire    /s/ Robert J. Bonsignore
                                      et al
                    City of Claremont, NH v. Purdue Pharma
1:19-op-45690-DAP                                                   Claremont City       New Hampshire    /s/ Robert J. Bonsignore
                                    L.P. et al




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                    Grafton County v. Purdue Pharma L.P. et
1:19-op-45691-DAP                                                   Grafton County        New Hampshire   /s/ Robert J. Bonsignore
                                       al
                       Halifax County, Virginia v. Purdue
1:19-op-45692-DAP                                                   Halifax County           Virginia         /s/ Kevin Sharp
                               Pharma, L.P. et al
                      City of Lexington, Virginia v. Purdue
1:19-op-45693-DAP                                                   Lexington City           Virginia         /s/ Kevin Sharp
                                Pharma L.P. et al
                     Rockbridge County, Virginia v. Purdue
1:19-op-45694-DAP                                                 Rockbridge County          Virginia         /s/ Kevin Sharp
                              Pharma, L.P. et al
                      Roanoke County, Virginia v. Purdue
1:19-op-45695-DAP                                                   Roanoke County           Virginia         /s/ Kevin Sharp
                               Pharma L.P. et al
                      City of Roanoke, Virginia v. Purdue
1:19-op-45696-DAP                                                    Roanoke City            Virginia         /s/ Kevin Sharp
                               Pharma L.P. et al
                    City of Salem, Virginia v. Purdue Pharma
1:19-op-45697-DAP                                                     Salem City             Virginia         /s/ Kevin Sharp
                                    L.P. et al
                    Floyd County, Virginia v. Purdue Pharma
1:19-op-45698-DAP                                                    Floyd County            Virginia         /s/ Kevin Sharp
                                     L.P. et al
                      Alleghany County, Virginia v. Purdue
1:19-op-45700-DAP                                                  Alleghany County          Virginia       /s/ Kevin H. Sharp
                                Pharma L.P. et al
                       Franklin County, Virginia v. Purdue
1:19-op-45701-DAP                                                   Franklin County          Virginia         /s/ Kevin Sharp
                                Pharma L.P. et al
                       Madison County, Virginia v. Purdue
1:19-op-45702-DAP                                                   Madison County           Virginia         /s/ Kevin Sharp
                                Pharma L.P. et al
                     Rockingham County v. Purdue Pharma
1:19-op-45703-DAP                                                 Rockingham County       New Hampshire   /s/ Robert J. Bonsignore
                                     L.P. et al
                    Sullivan County v. Purdue Pharma L.P. et
1:19-op-45704-DAP                                                   Sullivan County       New Hampshire     /s/ Shayna E. Sacks
                                         al
                    Belknap County v. Purdue Pharma L.P. et
1:19-op-45705-DAP                                                   Belknap County        New Hampshire   /s/ Robert J. Bonsignore
                                         al
                     Cheshire County v. Purdue Pharma L.P.
1:19-op-45706-DAP                                                   Cheshire County       New Hampshire   /s/ Robert J. Bonsignore
                                        et al
                    Town of Belmont, NH v. Purdue Pharma
1:19-op-45707-DAP                                                   Belmont Town          New Hampshire   /s/ Robert J. Bonsignore
                                     L.P. et al
                     City of Chesapeake, Virginia v. Actavis,
1:19-op-45712-DAP                                                   Chesapeake City          Virginia         /s/ Kevin Sharp
                                     LLC et al
                      Accomack County, Virginia v. Purdue
1:19-op-45715-DAP                                                  Accomack County           Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                        City of Bristol, Virginia v. Purdue
1:19-op-45719-DAP                                                     Bristol city           Virginia         /s/ Kevin Sharp
                                Pharma L.P. et al
                        Louisa County, Virginia v. Purdue
1:19-op-45720-DAP                                                    Louisa County           Virginia         /s/ Kevin Sharp
                                Pharma L.P., et al
                           City of St. Albans, VT v.
1:19-op-45721-DAP    AmerisourceBergen Drug Corporation et          St. Albans City         Vermont         /s/ Peter J. Mougey
                                       al
                  City of Youngstown v. Actavis Pharma,
1:19-op-45722-DAP                                                  Youngstown City            Ohio          /s/ Jeffrey D. Price
                                  Inc. et al
                  City of Hazleton, Pennsylvania v. Purdue
1:19-op-45724-DAP                                                    Hazleton City         Pennsylvania     /s/ Eva B. Pearlman
                             Pharma, L.P. et al
                      Chatham County Hospital Authority,
                                                                Chatham County Hospital
1:19-op-45725-DAP     Georgia v. Amerisourcebergen Drug                                      Georgia         /s/ Mark A. Tate
                                                                       Authority
                               Corporation et al
                      County of Alameda, California et al v.
1:19-op-45726-DAP                                                   Alameda County          California      /s/ Anne Andrews
                             Purdue Pharma L.P. et al
                       City of Westminster et al v. Purdue
1:19-op-45727-DAP                                                   Westminster city        California      /s/ Anne Andrews
                                 Pharma L.P. et al
                       City of San Clemente et al v. Purdue
1:19-op-45728-DAP                                                  San Clemente city        California      /s/ Anne Andrews
                                 Pharma L.P. et al




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  Case Number                     Case Caption                          Plaintiff                State              Signed by

                          City of Danville, Virginia v.
1:19-op-45730-DAP    AmerisourceBergen Drug Corporation et            Danville City             Virginia        /s/ Peter J. Mougey
                                      al
                       Pemiscot County, Missouri v. Purdue
1:19-op-45733-DAP                                                   Pemiscot County            Missouri         /s/ Peter J. Mougey
                                Pharma L.P. et al
                  City of Irvine et al v. Purdue Pharma L.P.
1:19-op-45734-DAP                                                       Irvine city            California       /s/ Anne Andrews
                                       et al
                     City of Costa Mesa et al v. Purdue
1:19-op-45736-DAP                                                    Costa Mesa city           California       /s/ Anne Andrews
                               Pharma L.P. et al
                     City of Austin, Indiana v. Purdue Pharma
1:19-op-45739-DAP                                                      Austin City              Indiana       /s/ D. Blayne Honeycutt
                                      L.P. et al
                       City of Madison, Indiana v. Purdue
1:19-op-45740-DAP                                                     Madison City              Indiana       /s/ D. Blayne Honeycutt
                                Pharma L.P. et al
                      Passaic County, New Jersey v. Purdue
1:19-op-45741-DAP                                                    Passaic County           New Jersey        /s/ James E. Cecchi
                                Pharma L.P. et al
                            City of Fairfield, Ohio v.
1:19-op-45742-DAP    AmerisourceBergen Drug Corporation et            Fairfield City             Ohio           /s/ Peter J. Mougey
                                        al
                     City of Argo, Alabama v. Purdue Pharma
1:19-op-45744-DAP                                                      Argo Town               Alabama          /s/ Jeffrey D. Price
                                     L.P. et al
                     County of Ventura v. Purdue Pharma L.P.
1:19-op-45747-DAP                                                    Ventura County            California        /s/ Linda Singer
                                       et al
                      Covington County, Alabama v. Purdue
1:19-op-45751-DAP                                                   Covington County           Alabama          /s/ Jeffrey D. Price
                                 Pharma L.P. et al
                     Bingham County v. Purdue Pharma, L.P.
1:19-op-45758-DAP                                                   Bingham County               Idaho           /s/ Jayne Conroy
                                       et al
                       Bertie County v. AmerisourceBergen
1:19-op-45759-DAP                                                     Bertie County          North Carolina     /s/ Peter J. Mougey
                               Drug Corporation et al
                     LaMoure County v. Purdue Pharma L.P.
1:19-op-45760-DAP                                                   La Moure County          North Dakota         /s/ John Raggio
                                       et al
                      Fairfax County Board Of Supervisors v.
1:19-op-45766-DAP                                                    Fairfax County             Virginia          /s/ Kevin Sharp
                             Purdue Pharma, L.P. et al
                      City Of San Jose v. Amerisourcebergen
1:19-op-45768-DAP                                                     San Jose City            California       /s/ Peter J. Mougey
                               Drug Corporation et al
                        Oxford, Alabama, City of v. Purdue
1:19-op-45774-DAP                                                      Oxford City             Alabama          /s/ Jeffrey D. Price
                                 Pharma L.P. et al

1:19-op-45775-DAP    Ada County v. Purdue Pharma, L.P. et al           Ada County                Idaho             /s/ David Ko

                     Locust Fork, Town of v. Purdue Pharma
1:19-op-45777-DAP                                                  Locust Fork Town            Alabama          /s/ Jeffrey D. Price
                                      LP et al
                      City of Daleville, Alabama v. Purdue
1:19-op-45778-DAP                                                     Daleville City           Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Dadeville, Alabama v. Purdue
1:19-op-45779-DAP                                                    Dadeville City            Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      Triad Health Systems, Inc. v. Purdue
1:19-op-45780-DAP                                               Triad Health Systems, Inc.     Kentucky        /s/ Robert K. Finnell
                                Pharma, L.P. et al
                      City of Prattville, Alabama v. Purdue
1:19-op-45783-DAP                                                     Prattville City          Alabama           /s/ Keith Jackson
                                Pharma, L.P. et al
                       City of Orange Beach, Alabama v.
1:19-op-45784-DAP                                                  Orange Beach City           Alabama           /s/ Keith Jackson
                            Purdue Pharma, L.P. et al
                             City of Warfield, KY v.
1:19-op-45787-DAP                                                     Warfield City            Kentucky          /s/ Emily Roark
                      AmerisourceBergen Corporation et al
                      Decatur County, Tennessee v. Purdue
1:19-op-45789-DAP                                                    Decatur County            Tennessee        /s/ Mark P. Chalos
                                Pharma L.P. et al
                      Chariton County, Missouri v. Purdue
1:19-op-45790-DAP                                                   Chariton County            Missouri         /s/ Peter J. Mougey
                                Pharma L.P. et al




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  Case Number                    Case Caption                           Plaintiff                  State             Signed by

                        Town of Bennington, Vermont v.
1:19-op-45791-DAP                                                  SHARON TOWN                   Vermont           /s/ Kevin Sharp
                           Mallinckrodt PLC, et al
                      Laborers Local 235 Welfare Fund v.       Laborers Local 235 Welfare
1:19-op-45792-DAP                                                                                New York         /s/ Mark A. Tate
                           Purdue Pharma L.P. et al                      Fund
                      Painting Industry Insurance Fund v.      Painting Industry Insurance
1:19-op-45793-DAP                                                                                New York         /s/ Mark A. Tate
                           Purdue Pharma L.P. et al                       Fund
                     CWA Local 1182 & 1183 Health &
                                                             CWA LOCAL 1182 HEALTH
1:19-op-45794-DAP   Welfare Funds v. Purdue Pharma L.P. et                                       New York         /s/ Mark A. Tate
                                                               & WELFARE FUND
                                      al
                     CWA Local 1182 & 1183 Health &
                                                             CWA LOCAL 1183 HEALTH
1:19-op-45794-DAP   Welfare Funds v. Purdue Pharma L.P. et                                       New York         /s/ Mark A. Tate
                                                               & WELFARE FUND
                                      al
                    Westchester Heavy Construction Laborers Westchester Heavy Construction
1:19-op-45795-DAP     Local 60 Health & Welfare Fund v.      Laborers Local 60 Health &          New York         /s/ Mark A. Tate
                           Purdue Pharma L.P. et al                 Welfare Fund
                    Orange County, Florida v. Pudue Pharma
1:19-op-45797-DAP                                                    Orange County                Florida         /s/ Eric Romano
                                  L.P., et al
                     City of Covington, Virginia v. Purdue
1:19-op-45799-DAP                                                    Covington City               Virginia         /s/ Kevin Sharp
                               Pharma L.P. et al
                       City of Blackshear, Georgia v.
1:19-op-45802-DAP   Amerisourcebergen Drug Corporation et            Blackshear City              Georgia         /s/ Mark A. Tate
                                     al
                      Charleston County, South Carolina v.
1:19-op-45803-DAP                                                  Charleston County           South Carolina    /s/ Brent P. Ceryes
                             Purdue Pharma LP et al
                    NOITU Insurance Trust Fund v. Purdue
1:19-op-45808-DAP                                            NOITU Insurance Trust Fund          New York         /s/ Mark A. Tate
                                Pharma L.P. et al
                     Local 8A-28A Welfare Fund v. Purdue
1:19-op-45809-DAP                                            Local 8A-28A Welfare Fund           New York         /s/ Mark A. Tate
                                Pharma L.P. et al
                    Drywall Tapers Insurance Fund v. Purdue
1:19-op-45810-DAP                                           Drywall Tapers Insurance Fund        New York         /s/ Mark A. Tate
                                Pharma L.P. et al
                      Nassau University Medical Center v.     Nassau University Medical
1:19-op-45812-DAP                                                                                New York         /s/ Randi Kassan
                            Purdue Pharma L.P. et al                     Center
                       Municipality of Villalba v. Purdue
1:19-op-45815-DAP                                                       Villalba                Puerto Rico       /s/ Randi Kassan
                                Pharma L.P. et al
                     Municipality of Catano, Puerto Rico v.
1:19-op-45816-DAP                                                        Catano                 Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                     Municipality of Arroyo, Puerto Rico v.
1:19-op-45817-DAP                                                        Arroyo                 Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                    Municipality of Bayamon, Puerto Rico v.
1:19-op-45818-DAP                                                       Bayamon                 Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                      Municipality of Ceiba, Puerto Rico v.
1:19-op-45819-DAP                                                         Ceiba                 Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                     Municipality of Coamo, Puerto Rico v.
1:19-op-45820-DAP                                                        Coamo                  Puerto Rico       /s/ Randi Kassan
                            Purdue Pharma L.P. et al
                     County of Knox et al v. Purdue Pharma
1:19-op-45822-DAP                                                    Knox County                   Maine         /s/ Shayna E. Sacks
                                     LP et al
                    City of Rockland v. Purdue Pharma LP et
1:19-op-45823-DAP                                                    Rockland City                 Maine         /s/ Shayna E. Sacks
                                        al
                       Russell County, Alabama v. Purdue
1:19-op-45826-DAP                                                   Russell County               Alabama        /s/ jEFFREY d. pRICE
                                Pharma L.P. et al
                       City of Alexander City, Alabama v.
1:19-op-45827-DAP                                                 Alexander City City            Alabama         /s/ Jeffrey D. Price
                            Purdue Pharma L.P. et al
                       Structural Steel 806 Health Plan v.
1:19-op-45831-DAP                                           Structural Steel 806 Health Plan     New York         /s/ Mark A. Tate
                           McKesson Corporation et al




                                                                                                                    Page 65 of 87
   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 67 of 88. PageID #: 640557
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                             Plaintiff               State          Signed by

                       International Brotherhood of Trade
                                                                International Brotherhood of
1:19-op-45832-DAP        Unions Local 713 v. McKesson                                            New York    /s/ Mark A. Tate
                                                                  Trade Unions Local 713
                                 Corporation et al
                         City of San Antonio, Texas v.
1:19-op-45833-DAP    AmerisourceBergen Drug Corporation et           San Antonio City             Texas     /s/ Peter J. Mougey
                                      al
                     City of Ocala, Florida v. Purdue Pharma
1:19-op-45834-DAP                                                        Ocala City               Florida     /s/ Eric Romano
                                    L.P., et al
                     Brighton Health Plan Solutions, llc d/b/a Brighton Health Plan Solutions,
1:19-op-45837-DAP     MagnaCare Administrative Services v.          llc d/b/a MagnaCare          New York    /s/ Mark A. Tate
                           McKesson Corporation et al              Administrative Services
                    Brighton Health Plan Solutions, LLC   Brighton Health Plan Solutions,
                  d/b/a MagnaCare Administrative Services     LLC d/b/a MagnaCare
1:19-op-45838-DAP                                                                                New York    /s/ Mark A. Tate
                     and MagnaCare, LLC v. McKesson        Administrative Services and
                             Corporation et al                   MagnaCare, LLC
                    Loudoun County, Virginia v. Purdue
1:19-op-45842-DAP                                                     Loudoun County             Virginia     /s/ Kevin Sharp
                             Pharma, L.P. et al
                  City of Auburn v. Purdue Pharma L.P. et
1:19-op-45843-DAP                                                       Auburn City              New York   /s/ Shayna E. Sacks
                                     al
                         Wampanoag Tribe of Gay Head
                                                               Wampanoag Tribe of Gay Head
1:19-op-45844-DAP       (Aquinnah) v. Mallinckrodt Brand                                         Missouri   /s/ T. Roe Frazer II
                                                                      (Aquinnah)
                           Pharmaceuticals, Inc. et al
                      Lauderdale County, Alabama v. Teva
1:19-op-45845-DAP                                                    Lauderdale County           Alabama     /s/ Keith Jackson
                         Pharmaceuticals USA, Inc., et al
                        Greensville County, VA v. Purdue
1:19-op-45848-DAP                                                    Greensville County          Virginia     /s/ Kevin Sharp
                                Pharma, L.P. et al
                      Culpeper County, Virginia v. Purdue
1:19-op-45849-DAP                                                     Culpeper County            Virginia     /s/ Kevin Sharp
                                Pharma L.P. et al
                      Charlotte County, Virginia v. Purdue
1:19-op-45851-DAP                                                     Charlotte County           Virginia     /s/ Kevin Sharp
                                Pharma L.P. et al
                      City of Ogdensburg v. Purdue Pharma
1:19-op-45852-DAP                                                     Ogdensburg City            New York   /s/ Shayna E. Sacks
                                    L.P. et al
                       Jamaica Hospital Medical Center v.        Jamaica Hospital Medical
1:19-op-45855-DAP                                                                                New York    /s/ Mark A. Tate
                           McKesson Corporation et al                     Center
                       City of Saratoga Springs v. Purdue
1:19-op-45857-DAP                                                  Saratoga Springs City         New York   /s/ Shayna E. Sacks
                                Pharma L.P. et al
                         County of Kauai v. CVS Health
1:19-op-45862-DAP                                                      Kauai County               Hawaii    /s/ Shayna E. Sacks
                                Corporation, et al.
                      Flushing Hospital Medical Center v.        Flushing Hospital Medical
1:19-op-45866-DAP                                                                                New York    /s/ Mark A. Tate
                           McKesson Corporation et al                     Center
                     City of Apopka, Florida v. Endo Health
1:19-op-45883-DAP                                                       Apopka City               Florida     /s/ Eric Romano
                               Solutions Inc. et al
                       City of Dothan, Alabama v. Purdue
1:19-op-45886-DAP                                                       Dothan City              Alabama    /s/ Jeffrey D. Price
                                Pharma L.P. et al
                       The Fiscal Court of Casey County,
1:19-op-45887-DAP      Kentucky v. Teva Pharmaceutical                 Casey County              Kentucky   /s/ Robert K. Finnell
                              Industries, Ltd. et al
                       The Fiscal Court of Lewis County,
1:19-op-45889-DAP      Kentucky v. Teva Pharmaceutical                 Lewis County              Kentucky   /s/ Robert K. Finnell
                              Industries, Ltd. et al
                       The Fiscal Court of Gallatin County,
1:19-op-45891-DAP       Kentucky v. Teva Pharmaceutical               Gallatin County            Kentucky   /s/ Robert K. Finnell
                               Industries, Ltd. et al
                          Okaloosa County, FL v. Teva
1:19-op-45894-DAP                                                    Okaloosa County              Florida   /s/ Shayna E. Sacks
                         Pharmaceuticals USA Inc. et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                            Plaintiff                   State           Signed by

                    Mayflower Municipal Health Group et al     Mayflower Municipal Health
1:19-op-45897-DAP                                                                                Massachusetts   /s/ Shayna E. Sacks
                          v. Johnson & Johnson et al                  Group et al
                       City of Fredericksburg, Virginia v.
1:19-op-45898-DAP                                                   Fredericksburg City            Virginia        /s/ Kevin Sharp
                           Purdue Pharma, L.P. et al
                          City of Sylacauga v. Teva
1:19-op-45900-DAP                                                     Sylacauga City               Alabama        /s/ Keith Jackson
                        Pharmaceuticals USA, Inc. et al
                    Incorporated Village of Garden City, NY
1:19-op-45902-DAP                                                   Garden City Village           New York        /s/ Mark A. Tate
                         v. McKesson Corporation et al
                    Incorporated Village of Island Park, NY
1:19-op-45903-DAP                                                   Island Park Village           New York        /s/ Mark A. Tate
                        v. McKesson Corporation et al
                     Wise County Board of Supervisors v.
1:19-op-45907-DAP   Amerisourcebergen Drug Corporation et              Wise County                 Virginia      /s/ Peter J. Mougey
                                     al
1:19-op-45908-DAP       City of Vancouver v. Sackler et al            Vancouver City              Washington        /s/ David Ko
                       Town of Vance, Alabama v. Purdue
1:19-op-45909-DAP                                                      Vance Town                  Alabama       /s/ Jeffrey D. Price
                                 Pharma LP et al
                    City of Brent, Alabama v. Purdue Pharma
1:19-op-45910-DAP                                                       Brent City                 Alabama       /s/ Jeffrey D. Price
                                     LP et al
                      City of Sweetwater, Florida v. Purdue
1:19-op-45914-DAP                                                    Sweetwater City                Florida       /s/ Eric Romano
                                Pharma L.P. et al
                     Town of Rockford, Alabama v. Purdue
1:19-op-45915-DAP                                                     Rockford Town                Alabama       /s/ Jeffrey D. Price
                                Pharma L.P. et al
                     Dickey County v. Teva Pharmaceuticals
1:19-op-45919-DAP                                                     Dickey County              North Dakota     /s/ John Raggio
                                  USA, Inc. et al
                     Town of Easton v. Amerisourcebergen
1:19-op-45920-DAP                                                      Easton Town               Massachusetts   /s/ Peter J. Mougey
                              Drug Corporation et al
                    Village of Wappingers Falls, New York
1:19-op-45922-DAP   v. AmerisourceBergen Drug Corporation        Wappingers Falls Village         New York        /s/ Mark A. Tate
                                    et al
                     Board of County Commissioners of the
1:19-op-45923-DAP                                                      Mesa County                 Colorado         /s/ David Ko
                        County of Mesa v. Sackler et al
                           City of Norfolk, VA v.
1:19-op-45926-DAP   AmerisourceBergen Drug Corporation et              Norfolk City                Virginia      /s/ Peter J. Mougey
                                     al
                     County of Burlington v. Purdue Pharma
1:19-op-45928-DAP                                                    Burlington County            New Jersey      /s/ Kevin O'Brien
                                    L.P. et al
                    Prince George County, Virginia v. Purdue
1:19-op-45929-DAP                                                  Prince George County            Virginia        /s/ Kevin Sharp
                                Pharma, L.P. et al
                     Suffolk Transportation Services, Inc. v. Suffolk Transportation Services,
1:19-op-45933-DAP                                                                                 New York        /s/ Mark A. Tate
                           McKesson Corporation et al                       Inc.
                    City of Pascagoula, Mississippi v. Purdue                                                      /s/ Matthew G.
1:19-op-45934-DAP                                                     Pascagoula City             Mississippi
                                Pharma L.P. et al                                                                      Mestayer
                        UOPW Local 175 Welfare Fund v.
1:19-op-45940-DAP                                             UOPW Local 175 Welfare Fund         New York        /s/ Mark A. Tate
                           McKesson Corporation et al
                      AFL-CIO Local 475 Health & Welfare AFL-CIO Local 475 Health &
1:19-op-45941-DAP                                                                                 New York        /s/ Mark A. Tate
                       Fund v. McKesson Corporation et al              Welfare Fund
                       Local 381 Group Insurance Fund v.
1:19-op-45942-DAP                                             Local 381 Group Insurance Fund      New York        /s/ Mark A. Tate
                           McKesson Corporation et al
                     IUOE Local 138 Health Benefit Fund v. IUOE Local 138 Health Benefit
1:19-op-45943-DAP                                                                                 New York        /s/ Mark A. Tate
                           McKesson Corporation et al                      Fund
                    United Crafts Benefits Fund v. McKesson
1:19-op-45945-DAP                                               United Crafts Benefits Fund       New York        /s/ Mark A. Tate
                                Corporation et al
                     Uniformed Fire Officers Association
                                                                  Uniformed Fire Officers
1:19-op-45946-DAP   Benefits Fund v. McKesson Corporation                                         New York        /s/ Mark A. Tate
                                                                 Association Benefits Fund
                                     et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 69 of 88. PageID #: 640559
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                             Plaintiff                State             Signed by

                       City of Huntsville, Alabama v. Teva
1:19-op-45947-DAP                                                       Huntsville City           Alabama         /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                         City of Athens, Alabama v. Teva
1:19-op-45953-DAP                                                         Athens City             Alabama         /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                       Village of Islandia, NY v. McKesson
1:19-op-45954-DAP                                                       Islandia Village          New York        /s/ Mark A. Tate
                                 Corporation et al
                      Village of Amityville, NY v. McKesson
1:19-op-45955-DAP                                                      Amityville Village         New York        /s/ Mark A. Tate
                                  Corporation et al
                     Brookhaven Ambulance Co., Inc. d/b/a         Brookhaven Ambulance Co.,
1:19-op-45957-DAP    South Country Ambulance v. McKesson            Inc. d/b/a South Country      New York        /s/ Mark A. Tate
                               Corporation et al                           Ambulance
                   Fiscal Court of Grant County, Kentucky
1:19-op-45961-DAP v. Teva Pharmaceutical Industries, Ltd. et             Grant County             Kentucky       /s/ Robert K. Finnell
                                      al
                    City of San Jose, California et al v.
1:19-op-45964-DAP                                                        San Jose City            California     /s/ Peter J. Mougey
                               Sackler et al
                   City of Ocoee, Florida v. Endo Health
1:19-op-45966-DAP                                                         Ocoee City               Florida         /s/ Eric Romano
                            Solutions, Inc., et al
                  Town of Southampton, NY v. McKesson
1:19-op-45968-DAP                                                     Southampton Town            New York        /s/ Mark A. Tate
                             Corporation et al
                    Coquille Indian Tribe v. McKesson
1:19-op-45970-DAP                                                    Coquille Indian Tribe         Oregon        /s/ T. Roe Frazer II
                             Corporation et al
                       Confederated Tribes of the Goshute
                                                                   Confederated Tribes of the
1:19-op-45972-DAP    Reservation v. McKesson Corporation et                                         Utah         /s/ T. Roe Frazer II
                                                                     Goshute Reservation
                                       al
                      City of Homewood, Alabama v. Teva
1:19-op-45973-DAP                                                      Homewood City              Alabama         /s/ Keith Jackson
                               Pharmaceuticals et al
                      Pinoleville Pomo Nation v. McKesson
1:19-op-45974-DAP                                                   Pinoleville Pomo Nation       California     /s/ T. Roe Frazer II
                                 Corporation et al
                         Pueblo of Pojoaque v. McKesson
1:19-op-45975-DAP                                                     Pueblo of Pojoaque        New Mexico       /s/ T. Roe Frazer II
                                 Corporation et al
1:19-op-45977-DAP         City of Greeley v. Sackler et al               Greeley City             Colorado          /s/ David Ko
                        City of Columbia South Carolina v.
1:19-op-45979-DAP                                                       Columbia City           South Carolina   /s/ Jeffrey D. Price
                              Purdue Pharma LP et al
                        City of Homestead, Florida v. Endo
1:19-op-45980-DAP                                                       Homestead City             Florida         /s/ Eric Romano
                             Health Solutions Inc. et al

1:19-op-45981-DAP    City of Bainbridge Island v. Sackler et al      Bainbridge Island City      Washington         /s/ David Ko

                       Macon County, Alabama v. Purdue
1:19-op-45982-DAP                                                       Macon County              Alabama        /s/ Jeffrey D. Price
                                 Pharma L.P. et al
                      Crenshaw County, Alabama v. Purdue
1:19-op-45983-DAP                                                      Crenshaw County            Alabama        /s/ Jeffrey D. Price
                                 Pharma L.P. et al
                      City of Palatka, Florida v. Endo Health
1:19-op-45984-DAP                                                         Palatka City             Florida         /s/ Eric Romano
                                Solutions Inc., et al
                      County of Freestone v. Purdue Pharma
1:19-op-45985-DAP                                                      Freestone County             Texas        /s/ Jeffrey B. Simon
                                     L.P., et al
                       City of Geneva, Alabama v. Purdue
1:19-op-45986-DAP                                                        Geneva City              Alabama        /s/ Jeffrey D. Price
                                 Pharma L.P. et al
                     Building Service Local 2 Welfare Fund v.      Building Service Local 2
1:19-op-45991-DAP                                                                                 New York        /s/ Mark A. Tate
                            McKesson Corporation et al                  Welfare Fund
                  Incorporated Village of Lawrence, NY v.
1:19-op-45992-DAP                                                      Lawrence Village           New York        /s/ Mark A. Tate
                        McKesson Corporation et al
                   Westmoreland County, Virginia et al v.
1:19-op-45993-DAP                                                      Richmond County             Virginia      /s/ Robert K. Finnell
                         Purdue Pharma L.P. et al
                   Westmoreland County, Virginia et al v.
1:19-op-45993-DAP                                                       Warren County              Virginia      /s/ Robert K. Finnell
                         Purdue Pharma L.P. et al




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  Case Number                    Case Caption                           Plaintiff                  State            Signed by

                     Westmoreland County, Virginia et al v.
1:19-op-45993-DAP                                                 Westmoreland County            Virginia      /s/ Robert K. Finnell
                          Purdue Pharma L.P. et al
                       Coosa County, Alabama v. Purdue
1:19-op-45995-DAP                                                     Coosa County               Alabama        /s/ Jeffrey D. Price
                              Pharma L.P. et al
                           Town of Andover v. Teva
1:19-op-45996-DAP                                                    Andover Town              Massachusetts   /s/ Robert T, Naumes
                         Pharmaceuticals USA Inc et al
                      West Pittston, Pennsylvania v. The
1:19-op-45997-DAP                                                West Pittston Borough         Pennsylvania    /s/ Eva B. Pearlman
                     Purdue Frederick Company, Inc., et al
                       Village of Millerton, NY et al v.
1:19-op-45998-DAP   AmerisourceBergen Drug Corporation et           Millerton Village           New York         /s/ Mark A. Tate
                                      al

                     Incorporated Village of East Rockaway,
1:19-op-45999-DAP                                                East Rockaway Village          New York         /s/ Mark A. Tate
                       NY v. McKesson Corporation et al

                      Incorporated Village of Floral Park v.
1:19-op-46000-DAP                                                  Floral Park Village          New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                         Village of Stewart Manor, NY v.
1:19-op-46002-DAP                                                Stewart Manor Village          New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                     South Farmingdale Fire District, NY v.
1:19-op-46003-DAP                                            South Farmingdale Fire District    New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                     Port Washington Water District, NY v.
1:19-op-46004-DAP                                            Port Washington Water District     New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                      City of Long Beach, NY v. McKesson
1:19-op-46005-DAP                                                   Long Beach City             New York         /s/ Mark A. Tate
                                 Corporation et al
                       City of Lynn Haven, Florida v. Teva
1:19-op-46006-DAP                                                   Lynn Haven City               Florida        /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                     Plumbers Local Union No. 68 Welfare      Plumbers Local Union No. 68
1:19-op-46008-DAP                                                                                 Texas         /s/ T. Roe Frazer II
                       Fund v. McKesson Corporation et al             Welfare Fund
                    Incorporated Village of Lynbrook, NY v.
1:19-op-46009-DAP                                                  Lynbrook Village             New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                       Town of Eatonville, Florida v. Endo
1:19-op-46014-DAP                                                   Eatonville Town               Florida        /s/ Eric Romano
                            Health Solutions, Inc., et al
                    Rosalyn Water District, NY v. McKesson
1:19-op-46015-DAP                                                 Roslyn Water District         New York         /s/ Mark A. Tate
                                 Corporation et al
                     Town of Brookhaven, NY v. McKesson
1:19-op-46018-DAP                                                  Brookhaven Town              New York         /s/ Mark A. Tate
                                 Corporation et al
                      Village of Bellport, NY v. McKesson
1:19-op-46019-DAP                                                   Bellport Village            New York         /s/ Mark A. Tate
                                 Corporation et al

                    Incorporated Village of New Hyde Park,
1:19-op-46022-DAP                                                New Hyde Park Village          New York         /s/ Mark A. Tate
                       NY v. McKesson Corporation et al

                     Incorporated Village of Valley Stream,
1:19-op-46023-DAP                                                 Valley Stream Village         New York         /s/ Mark A. Tate
                       NY v. McKesson Corporation et al

                    Incorporated Village of Massapequa Park,
1:19-op-46024-DAP                                               Massapequa Park Village         New York         /s/ Mark A. Tate
                       NY v. McKesson Corporation et al

                    Incorporated Village of Westbury, NY v.
1:19-op-46025-DAP                                                   Westbury Village            New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                     Incorporated Village of Hempstead, NY
1:19-op-46026-DAP                                                  Hempstead Village            New York         /s/ Mark A. Tate
                          v. McKesson Corporation et al
                      Incorporated Village of Poquott, NY v.
1:19-op-46031-DAP                                                    Poquott Village            New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                    Incorporated Village of Lake Grove, NY
1:19-op-46032-DAP                                                  Lake Grove Village           New York         /s/ Mark A. Tate
                          v. McKesson Corporation et al
                      Town of Smithtown, NY v. McKesson
1:19-op-46033-DAP                                                   Smithtown Town              New York         /s/ Mark A. Tate
                                 Corporation et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                            Plaintiff              State        Signed by

                     Bellmore Fire District, NY v. McKesson
1:19-op-46034-DAP                                                 Bellmore Fire District       New York    /s/ Mark A. Tate
                                Corporation et al
                     Town of Hempstead, NY v. McKesson
1:19-op-46035-DAP                                                   Hempstead Town             New York    /s/ Mark A. Tate
                              Corporation et al
                      Town of Riverhead, NY v. McKesson
1:19-op-46036-DAP                                                    Riverhead Town            New York    /s/ Mark A. Tate
                               Corporation et al
                    Incorporated Village of Farmingdale, NY
1:19-op-46037-DAP                                                  Farmingdale Village         New York    /s/ Mark A. Tate
                         v. McKesson Corporation et al
                   Town of Huntington, NY v. McKesson
1:19-op-46038-DAP                                                   Huntington Town            New York    /s/ Mark A. Tate
                              Corporation et al
                  Incorporated Village of Patchogue, NY v.
1:19-op-46039-DAP                                                   Patchogue Village          New York    /s/ Mark A. Tate
                        McKesson Corporation et al
                    Town of East Hampton, NY v. McKesson
1:19-op-46040-DAP                                                 East Hampton Village         New York    /s/ Mark A. Tate
                               Corporation et al
                     Town of Oyster Bay, NY v. McKesson
1:19-op-46041-DAP                                                   Oyster Bay Town            New York    /s/ Mark A. Tate
                              Corporation et al
                      The Board of Education of the City of
                                                              Baltimore City Board of School
1:19-op-46042-DAP      Chicago, School District No. 299 v.                                     Maryland    /s/ Cyrus Mehri
                                                                     Commissioners
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.      Bangor School Department        Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.    Cape Elizabeth School District    Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.             District 299             Illinois   /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.              District 86             Illinois   /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.     East Aurora Public Schools       Illinois   /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.     Ellsworth School Department      Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.         Joliet Public Schools        Illinois   /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.      Maine Regional "RSU" 10         Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.           Maine RSU 13               Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.           Maine RSU 25               Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.           Maine RSU 26               Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al
                      The Board of Education of the City of
1:19-op-46042-DAP      Chicago, School District No. 299 v.           Maine RSU 29               Maine      /s/ Cyrus Mehri
                              Cephalon, Inc. et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 72 of 88. PageID #: 640562
                      Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                  Case Caption                         Plaintiff           State       Signed by

                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 34           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 40           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 50           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 57           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 60           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine RSU 71           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.          Maine RSU 9           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 15           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 35           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 44           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 53           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 55           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.          Maine SAD 6           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 61           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.         Maine SAD 72           Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.    Maine SAD28/Five Town       Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al
                    The Board of Education of the City of
                                                            Miami-Dade County Public
1:19-op-46042-DAP    Chicago, School District No. 299 v.                                Florida   /s/ Cyrus Mehri
                                                                 School District
                            Cephalon, Inc. et al
                    The Board of Education of the City of
1:19-op-46042-DAP    Chicago, School District No. 299 v.     Portland School District   Maine     /s/ Cyrus Mehri
                            Cephalon, Inc. et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 73 of 88. PageID #: 640563
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff                State        Signed by

                     The Board of Education of the City of
1:19-op-46042-DAP     Chicago, School District No. 299 v.    Rochester City School District   New York     /s/ Cyrus Mehri
                             Cephalon, Inc. et al
                     The Board of Education of the City of
1:19-op-46042-DAP     Chicago, School District No. 299 v.    Scarborough School Department      Maine      /s/ Cyrus Mehri
                             Cephalon, Inc. et al
                     The Board of Education of the City of
                                                                 South Portland School
1:19-op-46042-DAP     Chicago, School District No. 299 v.                                       Maine      /s/ Cyrus Mehri
                                                                      Department
                             Cephalon, Inc. et al
                     The Board of Education of the City of
                                                              St. George Municipal School
1:19-op-46042-DAP     Chicago, School District No. 299 v.                                       Maine      /s/ Cyrus Mehri
                                                                        District
                             Cephalon, Inc. et al
                     The Board of Education of the City of
                                                                Thornton Fractional High
1:19-op-46042-DAP     Chicago, School District No. 299 v.                                      Illinois    /s/ Cyrus Mehri
                                                                        Schools
                             Cephalon, Inc. et al
                     The Board of Education of the City of
1:19-op-46042-DAP     Chicago, School District No. 299 v.        Thornton High Schools         Illinois    /s/ Cyrus Mehri
                             Cephalon, Inc. et al
                     The Board of Education of the City of
1:19-op-46042-DAP     Chicago, School District No. 299 v.     Waterville School Department      Maine      /s/ Cyrus Mehri
                             Cephalon, Inc. et al
                       Town of North Hempstead, NY v.
1:19-op-46043-DAP                                               North Hempstead Town          New York     /s/ Mark A. Tate
                          McKesson Corporation et al
                        City of Bayonne, New Jersey v.
1:19-op-46044-DAP                                                    Bayonne City             New Jersey   /s/ Mark A. Tate
                          McKesson Corporation et al
                        City of Elizabeth, New Jersey v.
1:19-op-46045-DAP                                                    Elizabeth City           New Jersey   /s/ Mark A. Tate
                          McKesson Corporation et al
                      Borough of Paramus, New Jersey v.
1:19-op-46046-DAP                                                  Paramus borough            New Jersey   /s/ Mark A. Tate
                          McKesson Corporation et al
                      Town of Babylon, NY v. McKesson
1:19-op-46047-DAP                                                   Babylon Town              New York     /s/ Mark A. Tate
                                Corporation et al
                       North Merrick Fire District, NY v.
1:19-op-46048-DAP                                             North Merrick Fire District     New York     /s/ Mark A. Tate
                          McKesson Corporation, et al
                    Uniondale Fire District, NY v. McKesson
1:19-op-46049-DAP                                                Uniondale Fire District      New York     /s/ Mark A. Tate
                                Corporation et al
                    Incorporated Village of Northport, NY v.
1:19-op-46050-DAP                                                  Northport Village          New York     /s/ Mark A. Tate
                          McKesson Corporation et al
                    Village of Port Washington North, NY v.
1:19-op-46051-DAP                                            Port Washington North Village    New York     /s/ Mark A. Tate
                          McKesson Corporation et al
                     Incorporated Village of Lloyd Harbor,
1:19-op-46052-DAP                                                 Lloyd Harbor Village        New York     /s/ Mark A. Tate
                       NY v. McKesson Corporation et al
                     The City of Dunwoody, Georgia v.
1:19-op-46054-DAP   Amerisourcebergen Drug Coropration et           Dunwoody City              Georgia      /s/ Matt Conn
                                     al
                    Incorporated Village of West Hampton
1:19-op-46055-DAP   Dunes, NY v. McKesson Corporation et      West Hampton Dunes Village      New York     /s/ Mark A. Tate
                                      al
                      The City of Doraville, Georgia v.
1:19-op-46056-DAP   Amerisourcebergen Drug Coropration et            Doraville City            Georgia      /s/ Matt Conn
                                     al
                      The City of Louisville, Alabama v.
1:19-op-46058-DAP   AmerisourceBergen Drug Corporation et           Louisville Town            Alabama      /s/ Matt Conn
                                      al
                     The Health Care Authority of Cullman
                                                               Cullman Regional Medical
1:19-op-46059-DAP     County et al v. Teva Pharmaceutical                                      Alabama      /s/ Matt Conn
                                                                     Center, Inc.
                            Industries, LTD. et al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 74 of 88. PageID #: 640564
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                            Plaintiff                  State           Signed by

                     The Health Care Authority of Cullman
                                                                 Health Care Authority of
1:19-op-46059-DAP     County et al v. Teva Pharmaceutical                                         Alabama         /s/ Matt Conn
                                                                    Cullman County
                            Industries, LTD. et al
                    Plainview-Old Bethpage Public Library v. Plainview - Old Bethpage Public
1:19-op-46061-DAP                                                                                New York        /s/ Mark A. Tate
                           McKesson Corporation et al                    Library
                   Incorporated Village of Babylon, NY v.
1:19-op-46062-DAP                                                    Babylon Village             New York        /s/ Mark A. Tate
                        McKesson Corporation et al
                  Incorporated Village of Nissequogue, NY
1:19-op-46063-DAP                                                  Nissequogue Village           New York        /s/ Mark A. Tate
                       v. McKesson Corporation et al
                    Incorporated Village of Lindenhurst, NY
1:19-op-46064-DAP                                                  Lindenhurst Village           New York        /s/ Mark A. Tate
                         v. McKesson Corporation et al
                       Rockville Centre Public Library v.
1:19-op-46065-DAP                                             Rockville Centre Public Library    New York        /s/ Mark A. Tate
                         McKesson Corporation et al
                            City of Alamogordo v.
1:19-op-46067-DAP    AmerisourceBergen Drug Corporation et           Alamogordo City            New Mexico      /s/ Peter J. Mougey
                                      al
                        City of Hobbs, New Mexico v.
1:19-op-46068-DAP    AmerisourceBergen Drug Corporation et             Hobbs City               New Mexico      /s/ Peter J. Mougey
                                      al
                     Board of County Commissioners of the
                      County of Hidalgo, New Mexico v.
1:19-op-46069-DAP                                                    Hidalgo County             New Mexico      /s/ Peter J. Mougey
                     AmerisourceBergen Drug Corporation et
                                      al

                    South Florida Behavioral Health Network South Florida Behavioral Health
1:19-op-46070-DAP                                                                                  Florida       /s/ Eric Romano
                       v. Endo Health Solutions Inc. et al             Network

                        Atlantic County, New Jersey v.
1:19-op-46071-DAP    AmerisourceBergen Drug Corporation et           Atlantic County             New Jersey        /s/ Jim Hood
                                      al
                            Town of Clinton, MA v.
1:19-op-46072-DAP    Amerisourcebergen Drug Corporation et            Clinton Town              Massachusetts   /s/ Peter J. Mougey
                                      al
                          City of New Port Ritchey v.
1:19-op-46073-DAP    Amerisourcebergen Drug Corporation et        New Port Richey City             Florida      /s/ Peter J. Mougey
                                      al
                  Incorporated Village of Mill Neck, NY v.
1:19-op-46074-DAP                                                   Mill Neck Village            New York        /s/ Mark A. Tate
                         McKesson Corporation et al
                    Incorporated Village of Old Westbury,
1:19-op-46075-DAP                                                 Old Westbury Village           New York        /s/ Mark A. Tate
                      NY v. McKesson Corporation et al
                  City of Clifton, New Jersey v. McKesson
1:19-op-46076-DAP                                                      Clifton City              New Jersey      /s/ Mark A. Tate
                               Corporation et al
                  Levittown Fire District, NY v. McKesson
1:19-op-46077-DAP                                                 Levittown Fire District        New York        /s/ Mark A. Tate
                               Corporation et al
                    Friendship Engine & Hose Company, NY        Friendship Engine & Hose
1:19-op-46078-DAP                                                                                New York        /s/ Mark A. Tate
                          v. McKesson Corporation et al               Company, NY
                         Town of Islip, NY v. McKesson
1:19-op-46079-DAP                                                       Islip Town               New York        /s/ Mark A. Tate
                                 Corporation et al
                       Village of Saltaire, NY v. McKesson
1:19-op-46080-DAP                                                    Saltaire Village            New York        /s/ Mark A. Tate
                                 Corporation et al
                     Town of Orangetown, NY v. McKesson
1:19-op-46081-DAP                                                   Orangetown Town              New York        /s/ Mark A. Tate
                                 Corporation et al
                     Town of Haverstraw, NY v. McKesson
1:19-op-46083-DAP                                                   Haverstraw Town              New York        /s/ Mark A. Tate
                                 Corporation et al
                     Village of Greenport, NY v. McKesson
1:19-op-46084-DAP                                                   Greenport Village            New York        /s/ Mark A. Tate
                                 Corporation et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                          Plaintiff              State          Signed by

                        Town of Clinton, New Jersey v.
1:19-op-46085-DAP                                                   Clinton Town            New Jersey    /s/ Mark A. Tate
                         McKesson Corporation et al
                      Village of Suffern, NY v. McKesson
1:19-op-46087-DAP                                                  Suffern Village          New York      /s/ Mark A. Tate
                                Corporation et al
                     Town of Clarkstown, NY v. McKesson
1:19-op-46088-DAP                                                 Clarkstown Town           New York      /s/ Mark A. Tate
                               Corporation et al
                       Village of West Haverstraw, NY v.
1:19-op-46089-DAP                                              West Haverstraw Village      New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                      Town of Southold, NY v. McKesson
1:19-op-46090-DAP                                                  Southold Town            New York      /s/ Mark A. Tate
                               Corporation et al
                      The Town of Wappingers Falls, New
1:19-op-46091-DAP      York v. AmerisourceBergen Drug             Wappinger Town            New York      /s/ Mark A. Tate
                               Corporation et al
                    City of Spokane v. Endo Health Solutions
1:19-op-46092-DAP                                                   Spokane City            Washington      /s/ David Ko
                                     Inc et al
                          Merrick Library v. McKesson
1:19-op-46097-DAP                                                  Merrick Library          New York      /s/ Mark A. Tate
                                Corporation et al
                       Dade County, Georgia v. McKesson
1:19-op-46099-DAP                                                    Dade County             Georgia      /s/ Mark A. Tate
                                Corporation et al
                     Centereach Fire District, New York v.
1:19-op-46100-DAP                                              Centereach Fire District     New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                      City of Ashland, Alabama v. Purdue
1:19-op-46102-DAP                                                   Ashland Town             Alabama     /s/ Jeffrey D. Price
                                Pharma LP et al
                    City of Center Point, Alabama v. Purdue
1:19-op-46103-DAP                                                 Center Point City          Alabama     /s/ Jeffrey D. Price
                                Pharma LP et al
                    City of Buffalo v. Purdue Pharma L.P. et
1:19-op-46104-DAP                                                    Buffalo City           New York     /s/ Shayna E. Sacks
                                        al
                    United Wire, Metal & Machine Local 810
                                                           United Wire, Metal & Machine
1:19-op-46105-DAP      Health Benefit Fund v. McKesson                                      New York      /s/ Mark A. Tate
                                                           Local 810 Health Benefit Fund
                               Corporation et al
                     Nesconset Fire District, New York v.
1:19-op-46106-DAP                                               Nesconset Fire District     New York      /s/ Mark A. Tate
                          McKesson Corporation et al
                     Centerport Fire District, New York v.
1:19-op-46107-DAP                                              Centerport Fire District     New York      /s/ Mark A. Tate
                          McKesson Corporation et al
                     Hauppauge Fire District, New York v.
1:19-op-46108-DAP                                              Hauppauge Fire District      New York      /s/ Mark A. Tate
                          McKesson Corporation et al
                     Miller Place Fire District, New York v.
1:19-op-46109-DAP                                              Miller Place Fire District   New York      /s/ Mark A. Tate
                          McKesson Corporation et al
                     Mount Sinai Fire District, New York v.
1:19-op-46110-DAP                                              Mount Sinai Fire District    New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                      Smithtown Fire District, New York v.
1:19-op-46111-DAP                                               Smithtown Fire District     New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                       Melville Fire District, New York v.
1:19-op-46112-DAP                                                Melville Fire District     New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                     Stony Brook Fire District, New York v.
1:19-op-46113-DAP                                             Stony Brook Fire District     New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                       Village of the Branch, New York v.
1:19-op-46114-DAP                                           Village Of The Branch Village   New York      /s/ Mark A. Tate
                           McKesson Corporation et al
                    Obion County, Tennessee v. Endo Health
1:19-op-46115-DAP                                                   Obion County            Tennessee     /s/ Mark Chalos
                               Solutions, Inc., et al
                       City of Haleyville, Alabama v.
1:19-op-46118-DAP   Amerisourcebergen Drug Corporation et           Haleyville City          Alabama     /s/ Peter J. Mougey
                                     al
                     City of Centerville, Alabama v. Purdue
1:19-op-46120-DAP                                                  Centreville City          Alabama     /s/ Jeffrey D. Price
                                Pharma LP et al




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff                State             Signed by

                      The City of Ormond Beach, Florida v.
1:19-op-46121-DAP    Amerisourcebergen Drug Corporation et        Ormond Beach City            Florida        /s/ Peter J. Mougey
                                      al
                     Putnam County, Florida v. Endo Health
1:19-op-46122-DAP                                                   Putnam County              Florida         /s/ Eric Romano
                             Solutions Inc. et al
                     City of Coral Springs, Florida v. Endo
1:19-op-46123-DAP                                                 Coral Springs City           Florida         /s/ Eric Romano
                           Health Solutions Inc. et al
                     City of Brundidge, Alabama v. Purdue
1:19-op-46128-DAP                                                   Brundidge City            Alabama         /s/ Jeffrey D. Price
                               Pharma L.P. et al
                       City of Lanett, Alabama v. Purdue
1:19-op-46130-DAP                                                     Lanett City             Alabama         /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      City of Headland, Alabama v. Purdue
1:19-op-46131-DAP                                                   Headland City             Alabama         /s/ Jeffrey D. Price
                                Pharma L.P. et al
                       City of Eufaula, Alabama v. Purdue
1:19-op-46132-DAP                                                    Eufaula City             Alabama         /s/ Jeffrey D. Price
                                Pharma L.P. et al
                         City of Middletown, Ohio v.
1:19-op-46133-DAP   AmerisourceBergen Drug Corporation et          Middletown City              Ohio          /s/ Peter J. Mougey
                                      al
                          Coos County et al v. Teva
1:19-op-46136-DAP                                                    Coos County            New Hampshire   /s/ Robert J. Bonsignore
                       Pharmaceuticals USA, Inc. et al
                   Carroll County v. Teva Pharmaceuticals
1:19-op-46137-DAP                                                   Carroll County          New Hampshire   /s/ Robert J. Bonsignore
                               USA, Inc. et al
                  Livingston Parish v. Teva Pharmaceutical
1:19-op-46140-DAP                                                  Livingston Parish          Louisiana     /s/ D. Blayne Honeycutt
                             Industries, Ltd. et al
                      City of Espanola, New Mexico v.
1:19-op-46142-DAP   AmerisourceBergen Drug Corporation et            Española City           New Mexico       /s/ Peter J. Mougey
                                     al
                      City of Brookhaven, Mississippi v.
1:19-op-46143-DAP    Amerisourcebergen Drug Corporation et         Brookhaven City           Mississippi      /s/ Peter J. Mougey
                                      al
                        Ridge Fire District, New York v.
1:19-op-46144-DAP                                                 Ridge Fire District         New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                      Village of Great Neck, New York v.
1:19-op-46145-DAP                                                 Great Neck Village          New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                     Teamsters Local 445 Welfare Fund v.      Teamsters Local 445 Welfare
1:19-op-46146-DAP                                                                             New York         /s/ Mark A. Tate
                           McKesson Corporation et al                    Fund
                        Roofers Local 8 WBPA Fund v.
1:19-op-46147-DAP                                             Roofers Local 8 WBPA Fund       New York         /s/ Mark A. Tate
                           McKesson Corporation et al
                       Patrick County, Virginia v. Purdue
1:19-op-46149-DAP                                                   Patrick County             Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                    Shenandoah County, Virginia v. Purdue
1:19-op-46150-DAP                                                 Shenandoah County            Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                    Allegany County v. Purdue Pharma Lp et
1:19-op-46151-DAP                                                  Allegany County            New York        /s/ Shayna E. Sacks
                                        al
                    City of Waynesboro, Virginia v. Purdue
1:19-op-46152-DAP                                                  Waynesboro City             Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                    Cumberland County, Virginia v. Purdue
1:19-op-46153-DAP                                                 Cumberland County            Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                       City of Radford, Virginia v. Purdue
1:19-op-46154-DAP                                                    Radford City              Virginia         /s/ Kevin Sharp
                                Pharma, L.P. et al
                    County of Ocean, New Jersey v. Purdue
1:19-op-46157-DAP                                                   Ocean County             New Jersey        /s/ Randi Kassan
                                Pharma L.P. et al
                     City of Amsterdam v. Purdue Pharma
1:19-op-46162-DAP                                                  Amsterdam City             New York        /s/ Shayna E. Sacks
                                    L.P. et al
                    City of Poughkeepsie v. Purdue Pharma
1:19-op-46163-DAP                                                  Poughkeepsie city          New York        /s/ Shayna E. Sacks
                                    L.P. et al




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  Case Number                    Case Caption                            Plaintiff                 State            Signed by

                     Clark County v. Purdue Pharma, L.P. et
1:19-op-46168-DAP                                                      Clark County               Nevada       /s/ Peter J. Mougey
                                       al
                       Howard County, Maryland v. Teva
1:19-op-46169-DAP                                                     Howard County              Maryland        /s/ John Raggio
                        Pharmaceuticals USA, Inc., et al
                    Town of Hull v. Amerisourcebergen Drug
1:19-op-46172-DAP                                                       Hull Town              Massachusetts   /s/ Peter J. Mougey
                               Corporation et al
                          Scott County, Missouri v.
1:19-op-46174-DAP                                                      Scott County              Missouri      /s/ Shayna E. Sacks
                      AmerisourceBergen Drug Corp. et al
                    Borough of Edwardsville, Pennsylvania v.
1:19-op-46176-DAP    Amerisourcebergen Drug Corporation et         Edwardsville Borough        Pennsylvania    /s/ Peter J. Mougey
                                      al
                     Forty Fort Borough, Pennsylvania v.
1:19-op-46177-DAP   Amerisourcebergen Drug Corporation et           Forty Fort Borough         Pennsylvania    /s/ Peter J. Mougey
                                     al
                         City of Pontiac, Michigan v.
1:19-op-46183-DAP   AmerisourceBergen Drug Corporation et              Pontiac City              Michigan      /s/ Shayna E. Sacks
                                      al
                       Lawrence County, Kentucky v.
1:19-op-46184-DAP   AmerisourceBergen Drug Corporation et            Lawrence County             Kentucky      /s/ Shayna E. Sacks
                                     al
                      City of Emporia, Virginia v. Purdue
1:19-op-46850-DAP                                                      Emporia City              Virginia        /s/ Kevin Sharp
                               Pharma L.P. et al
                    Village of Pleasant Prairie Wisconsin v.
1:20-op-45010-DAP   AmerisourceBergen Drug Corporation et         Pleasant Prairie Village      Wisconsin      /s/ Peter J. Mougey
                                       al
                       City of Kenosha, Wisconsin v.
1:20-op-45011-DAP   AmerisourceBergen Drug Corporation et              Kenosha City             Wisconsin      /s/ Peter J. Mougey
                                     al
                         Bath County Fiscal Court v.
1:20-op-45012-DAP   Amerisourcebergen Drug Corporation et              Bath County               Kentucky      /s/ Peter J. Mougey
                                     al
                        County of Hawaii v. Endo Health
1:20-op-45014-DAP                                                     Hawaii County               Hawaii       /s/ Shayna E. Sacks
                              Solutions Inc. et al
                       Fiscal Court of Monroe County,
1:20-op-45016-DAP      Kentucky v. Teva Pharmaceutical                Monroe County              Kentucky      /s/ Robert K. Finnell
                             Industries, Ltd. et al
                       West Hempstead Public Library v.
1:20-op-45018-DAP                                              West Hempstead Public Library    New York        /s/ Mark A. Tate
                         McKesson Corporation et al
                      Hui Huliau, A Native Hawaiian
                                                          Hui Huliau, A Native Hawaiian
1:20-op-45025-DAP Organization v. McKesson Corporation et                                         Hawaii        /s/ Mark A. Tate
                                                                   Organization
                                    al
                     Hudson Regional Hospital v. McKesson
1:20-op-45026-DAP                                                Hudson Regional Hospital       New Jersey      /s/ Mark A. Tate
                              Corporation et al
                      Iron Workers Local 40 Health Fund v.      Iron Workers Local 40 Health
1:20-op-45027-DAP                                                                               New York        /s/ Mark A. Tate
                           McKesson Corporation et al                      Fund
                     Iron Workers Local 361 Health Fund v.     Iron Workers Local 361 Health
1:20-op-45028-DAP                                                                               New York        /s/ Mark A. Tate
                           McKesson Corporation et al                      Fund
                     Iron Workers Local 417 Health Fund v.     Iron Workers Local 417 Health
1:20-op-45029-DAP                                                                               New York        /s/ Mark A. Tate
                           McKesson Corporation et al                      Fund

                   Metallic Lathers and Reinforcing Iron      Metallic Lathers and
1:20-op-45030-DAP Workers Local 46 Health & Benefit Fund Reinforcing Iron Workers Local         New York        /s/ Mark A. Tate
                      v. McKesson Corporation et al        46 Health & Benefit Fund

                      UFCW Local 342 Healthcare Fund v.         UFCW Local 342 Healthcare
1:20-op-45033-DAP                                                                               New York        /s/ Mark A. Tate
                         McKesson Corporation et al                     Fund




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                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                           Plaintiff                State           Signed by

                        UFCW Local 342 Welfare Fund v.
1:20-op-45034-DAP                                             UFCW Local 342 Welfare Fund      New York       /s/ Mark A. Tate
                          McKesson Corporation et al
                       St. James Fire District v. McKesson
1:20-op-45035-DAP                                                 St James Fire District       New York       /s/ Mark A. Tate
                                Corporation et al
                       Town of Stony Point, New York v.
1:20-op-45036-DAP                                                  Stony Point Town            New York       /s/ Mark A. Tate
                         McKesson Corporation et al
                    IBEW Local 25 Health & Benefit Fund v.      IBEW Local 25 Health &
1:20-op-45037-DAP                                                                              New York       /s/ Mark A. Tate
                         McKesson Corporation et al                 Benefit Fund
                      Tishomingo County, Mississippi v.
1:20-op-45039-DAP    Amerisourcebergen Drug Corporation et         Tishomingo County          Mississippi       /s/ Casey Lott
                                      al
                       UFCW Local 1500 Welfare Fund v.         UFCW Local 1500 Welfare
1:20-op-45041-DAP                                                                              New York       /s/ Mark A. Tate
                         McKesson Corporation et al                    Fund
                        Town of Ramapo, New York v.
1:20-op-45042-DAP                                                    Ramapo Town               New York       /s/ Mark A. Tate
                         McKesson Corporation et al
                       City of Milwaukee, Wisconsin v.
1:20-op-45044-DAP    AmerisourceBergen Drug Corporation et          Milwaukee City             Wisconsin     /s/ Shayna E. Sacks
                                      al
                            Amherst County, Virginia v.
1:20-op-45046-DAP                                                    Amherst County             Virginia       /s/ Kevin Sharp
                               Mallinckrodt PLC et al
                     Narragansett Indian Tribe v. Endo Health
1:20-op-45047-DAP                                               Narragansett Indian Tribe     Rhode Island   /s/ T. Roe Frazer II
                                 Solutions Inc. et al
                         Medford Volunteer Ambulance v.
1:20-op-45048-DAP                                             Medford Volunteer Ambulance      New York       /s/ Mark A. Tate
                            McKesson Corporation et al
                      Islip Terrace Fire District v. McKesson
1:20-op-45049-DAP                                               Islip Terrace Fire District    New York       /s/ Mark A. Tate
                                  Corporation et al
                          North Patchogue Fire District v.
1:20-op-45050-DAP                                             North Patchogue Fire District    New York       /s/ Mark A. Tate
                            McKesson Corporation et al
                            City of Calais, Maine v.
1:20-op-45051-DAP    AmerisourceBergen Drug Corporation et             Calais City               Maine       /s/ Shayna E. Sacks
                                       al
                     County of Angelina v. Allergan PLC, et
1:20-op-45053-DAP                                                   Angelina County              Texas       /s/ Jeffrey B. Simon
                                      al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital          Anaheim City              California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital           Encinitas city           California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital          La Habra city             California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital           La Mesa city             California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital           Oxnard city              California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital           Placentia city           California    /s/ Anne Andrews
                             v. Actavis LLC et al
                    Acadia-St. Landry Hospital Service
1:20-op-45055-DAP District d/b/a Acadia-St. Landry Hospital          Santa Ana city            California    /s/ Anne Andrews
                             v. Actavis LLC et al




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  Case Number                    Case Caption                            Plaintiff                 State              Signed by

                     The Fiscal Court of Adair County v.
1:20-op-45059-DAP   AmerisourceBergen Drug Corporation et             Adair County               Kentucky         /s/ Peter J. Mougey
                                      al
                    City of Henderson v. Purdue Pharma L.P.
1:20-op-45062-DAP                                                    Henderson City              Kentucky       /s/ Michael D. Grabhorn
                                      et al
                       Hardin County Fiscal Court et al v.
1:20-op-45063-DAP                                                      Ohio County               Kentucky       /s/ Michael D. Grabhorn
                           Purdue Pharma L.P. et al
                         Botetourt County, Virginia v.
1:20-op-45064-DAP                                                    Botetourt County             Virginia          /s/ Kevin Sharp
                            Mallinckrodt PLC et al
                     Hicksville Water District v. McKesson
1:20-op-45072-DAP                                                Hicksville Water District       New York          /s/ Mark A. Tate
                                Corporation et al
                     Williams v. AmerisourceBergen Drug
1:20-op-45073-DAP                                                        Williams              North Carolina     /s/ Garry Whitaker
                                 Corporation et al
                    The Fiscal Court of Edmonson County v.
1:20-op-45084-DAP                                                   Edmonson County              Kentucky          /s/ Eric Romano
                        Endo Health Solutions Inc. et al
                    Davis et al v. Teva Pharmaceuticals USA,
1:20-op-45085-DAP                                                       Davis et al                Ohio           /s/ Shayna E. Sacks
                                     Inc. et al
                    Wyoming, Pennsylvania v. Cephalon, Inc.
1:20-op-45087-DAP                                                   Wyoming Borough            Pennsylvania       /s/ Eva B. Pearlman
                                       et al
                       City of Leeds, Alabama v. Purdue
1:20-op-45088-DAP                                                       Leeds City               Alabama          /s/ Jeffrey D. Price
                                 Pharma L P et al
                     Fairfield, City of, Alabama v. Purdue
1:20-op-45089-DAP                                                      Fairfield City            Alabama          /s/ Jeffrey D. Price
                                  Pharma LP et al
                    Sugar Notch Borough, Pennsylvania v.
1:20-op-45090-DAP   Amerisourcebergen Drug Corporation et         Sugar Notch Borough          Pennsylvania       /s/ Peter J. Mougey
                                     al
                     Pell City, Alabama, City of v. Purdue
1:20-op-45091-DAP                                                     Pell City City             Alabama          /s/ Jeffrey D. Price
                                Pharma LP et al
                     Stevens v. AmerisourceBergen Drug
1:20-op-45092-DAP                                                        Stevens               North Carolina     /s/ Garry Whitaker
                                Corporation et al
                    City of Level Plains, Alabama v. Purdue
1:20-op-45100-DAP                                                   Level Plains Town            Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                    Kickapoo Traditional Tribe of Texas v.     Kickapoo Traditional Tribe of
1:20-op-45104-DAP                                                                                  Texas          /s/ T. Roe Frazer II
                          McKesson Corporation et al                     Texas
                      Geneva County, Alabama v. Purdue
1:20-op-45105-DAP                                                     Geneva County              Alabama          /s/ Jeffrey D. Price
                                  Pharma L.P.
                    County of Madison, Mississippi v. Teva
1:20-op-45106-DAP                                                    Madison County             Mississippi       /s/ Shayna E. Sacks
                        Pharmaceuticals USA, Inc. et al
                      Leysen v. AmerisourceBergen Drug
1:20-op-45107-DAP                                                         Leysen               North Carolina     /s/ Garry Whitaker
                                Corporation et al
                      City of Luverne, Alabama v. Purdue
1:20-op-45109-DAP                                                      Luverne City              Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                          Rapides Parish Police Jury v.
1:20-op-45111-DAP                                                     Rapides Parish             Louisiana        /s/ Peter J. Mougey
                      AmerisourceBergen Drug Corp et al
                     Escambia County, Alabama v. Purdue
1:20-op-45112-DAP                                                   Escambia County              Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                     City of Chickasaw, Alabama v. Purdue
1:20-op-45115-DAP                                                    Chickasaw City              Alabama          /s/ Jeffrey D. Price
                                Pharma, L.P. et al
                      City of Satsuma, Alabama v. Purdue
1:20-op-45116-DAP                                                      Satsuma City              Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                     City of Uniontown, Alabama v. Purdue
1:20-op-45117-DAP                                                   Uniontown Town               Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                       City of Linden, Alabama v. Purdue
1:20-op-45118-DAP                                                      Linden City               Alabama          /s/ Jeffrey D. Price
                                Pharma L.P. et al
                      Town of Dauphin Island, Alabama v.
1:20-op-45119-DAP                                                 Dauphin Island Town            Alabama          /s/ Jeffrey D. Price
                            Purdue Pharma L.P. et al




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  Case Number                     Case Caption                                Plaintiff                 State            Signed by

                       Town of Sweet Water, Alabama v.
1:20-op-45120-DAP                                                        Sweet Water Town             Alabama        /s/ Jeffrey D. Price
                          Purdue Pharma L.P. et al
                    City of Kirkland v. Endo Health Solutions
1:20-op-45121-DAP                                                           Kirkland City            Washington         /s/ David Ko
                                     Inc et al
                     Town of Faunsdale, Alabama v. Purdue
1:20-op-45122-DAP                                                         Faunsdale Town              Alabama        /s/ Jeffrey D. Price
                               Pharma L.P. et al
                      Phillip Terrell v. AmerisourceBergen           District Attorney of Rapides
1:20-op-45123-DAP                                                                                     Louisiana     /s/ Peter J. Mougey
                                 Drug Corp et al                                 Parish
                       King and Queen County, VA v.
1:20-op-45138-DAP                                                     King And Queen County           Virginia        /s/ Kevin Sharp
                          Mallinckrodt, PLC, et al
                    Adams County v. Purdue Pharma L.P. et
1:20-op-45140-DAP                                                          Adams County             Pennsylvania    /s/ Joseph J. Cappelli
                                     al
                    City of Fullerton et al v. Cephalon Inc. et
1:20-op-45143-DAP                                                           Fullerton City           California      /s/ Anne Andrews
                                         al
                          Northampton County, VA v.
1:20-op-45144-DAP                                                       Northampton County            Virginia        /s/ Kevin Sharp
                              Mallinckrodt, PLC
                    Isle Of Wight County v. Mallinckrodt,
1:20-op-45145-DAP                                                       Isle Of Wight County          Virginia        /s/ Kevin Sharp
                                    PLC
                  IBEW Local 716 Electrical Medical Trust            IBEW Local 716 Electrical
1:20-op-45148-DAP                                                                                      Texas         /s/ T. Roe Frazer II
                         v. McKesson Corporation et al                   Medical Trust

                    The People of the State of Illinois et al v.
1:20-op-45154-DAP                                                        Sangamon County               Illinois     /s/ Peter J. Mougey
                    Teva Pharmaceutical Industries, Ltd. et al

                  Perry County, Alabama v. Purdue Pharma
1:20-op-45158-DAP                                                           Perry County              Alabama        /s/ Jeffrey D. Price
                                  L.P. et al
                       City of Buena Vista, Virginia v.
1:20-op-45159-DAP                                                         Buena Vista City            VIrginia        /s/ Kevin Sharp
                           Mallinckrodt PLC et al

                    Mohegan Tribe of Indians of Connecticut         Mohegan Tribe of Indians of
1:20-op-45164-DAP                                                                                    Connecticut     /s/ T. Roe Frazer II
                      v. Endo Health Solutions Inc. et al                 Connecticut

                       Elko Band of the Te-Moak Tribe of
                                                                   Elko Band of the Te-Moak Tribe
1:20-op-45165-DAP      Western Shoshone Indians v. Endo                                                Nevada        /s/ T. Roe Frazer II
                                                                    of Western Shoshone Indians
                           Health Solutions, Inc. et al
                     Stone County, Mississippi v. McKesson
1:20-op-45168-DAP                                                           Stone County             Mississippi    /s/ Peter J. Mougey
                                Corporation et al
1:20-op-45169-DAP     Seeley v. McKesson Corporation et al                     Seeley                New York       /s/ Eva B. Pearlman
                       Wampanoag Tribe of Gay Head
                                                          Wampanoag Tribe of Gay Head
1:20-op-45170-DAP   (Aquinnah) v. McKesson Corporation et                                           Massachusetts    /s/ T. Roe Frazer II
                                                                 (Aquinnah)
                                     al
                   Henrico County, VA v. Mallinckrodt
1:20-op-45172-DAP                                                          Henrico County             Virginia        /s/ Kevin Sharp
                                 PLC et al
                  Chesterfield County, VA v. Mallinckrodt
1:20-op-45173-DAP                                                        Chesterfield County          Virginia        /s/ Kevin Sharp
                                 PLC et al
                          Mecklenburg County, VA v.
1:20-op-45174-DAP                                                       Mecklenburg County            Virginia        /s/ Kevin Sharp
                             Mallinckrodt PLC et al
                    Goochland County, VA v. Mallinckrodt,
1:20-op-45175-DAP                                                        Goochland County             Virginia        /s/ Kevin Sharp
                                     PLC et al
                         City of Winchester, Virginia v.
1:20-op-45176-DAP                                                          Winchester City            Virginia        /s/ Kevin Sharp
                             Mallinckrodt PLC et al
                    City of Fairfax, VA v. Mallinckrodt PLC
1:20-op-45177-DAP                                                            Fairfax City             Virginia        /s/ Kevin Sharp
                                       et al
                      Stafford County, VA v. Mallinckrodt
1:20-op-45178-DAP                                                          Stafford County            Virginia        /s/ Kevin Sharp
                                     PLC et al
                    Bedford County v. Purdue Pharma L.P. et
1:20-op-45184-DAP                                                          Bedford County           Pennsylvania      /s/ James Young
                                        al




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  Case Number                     Case Caption                           Plaintiff          State             Signed by

                    City of Chico et al v. Amerisourcebergen
1:20-op-45189-DAP                                                       Chico City        California     /s/ Peter J. Mougey
                             Drug Corporation et al

                       Hinds County, Mississippi v. Teva
1:20-op-45190-DAP                                                     Hinds County        Mississippi   /s/ James R. Segars, III
                        Pharmaceuticals USA, Inc., et al
                     City of West Frankfort, Illinois v. Teva
1:20-op-45191-DAP                                                   West Frankfort City     Illinois     /s/ Peter J. Mougey
                      Pharmaceutical Industries, Ltd. et al
                         City of Herrin, Illinois v. Teva
1:20-op-45192-DAP                                                       Herrin City         Illinois     /s/ Peter J. Mougey
                      Pharmaceutical Industries, Ltd. et al

                    People of the State of Illinois et al v. Teva
1:20-op-45194-DAP                                                    Franklin County        Illinois     /s/ Peter J. Mougey
                      Pharmaceutical Industries, Ltd. et al

                        City of Madison, Alabama v.
1:20-op-45198-DAP   AmerisourceBergen Drug Corporation et              Madison City        Alabama          /s/ Matt Conn
                                     al

                    City of Maryville, Tennessee et al v. Teva
1:20-op-45199-DAP                                                      Decatur town       Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD, et al

                    City of Maryville, Tennessee et al v. Teva
1:20-op-45199-DAP                                                    Germantown city      Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD, et al

                    City of Maryville, Tennessee et al v. Teva
1:20-op-45199-DAP                                                     Maryville City      Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD, et al

                    City of Maryville, Tennessee et al v. Teva
1:20-op-45199-DAP                                                    Pigeon Forge city    Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD, et al

                    City of Maryville, Tennessee et al v. Teva
1:20-op-45199-DAP                                                       Ripley city       Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD, et al

                     City of Opelika, Alabama et al v. Teva
1:20-op-45208-DAP                                                      Opelika city        Alabama         /s/ Keith Jackson
                        Pharmaceuticals USA, Inc., et al
                     City of Opelika, Alabama et al v. Teva
1:20-op-45208-DAP                                                      Slocomb city        Alabama         /s/ Keith Jackson
                        Pharmaceuticals USA, Inc., et al
                     City of Opelika, Alabama et al v. Teva
1:20-op-45208-DAP                                                    Spanish Fort City     Alabama         /s/ Keith Jackson
                        Pharmaceuticals USA, Inc., et al
                     City of Opelika, Alabama et al v. Teva
1:20-op-45208-DAP                                                   West Blocton town      Alabama         /s/ Keith Jackson
                        Pharmaceuticals USA, Inc., et al
                      DeKalb County, Alabama et al v.
1:20-op-45209-DAP   AmerisourceBergen Drug Corporation et            De Kalb County        Alabama          /s/ Matt Conn
                                     al
                      DeKalb County, Alabama et al v.
1:20-op-45209-DAP   AmerisourceBergen Drug Corporation et              Powell town         Alabama          /s/ Matt Conn
                                     al
                        City of Oneonta, Alabama v.
1:20-op-45210-DAP   AmerisourceBergen Drug Corporation et              Oneonta City        Alabama          /s/ Matt Conn
                                     al
                       Tunica County, Mississippi v. Teva
1:20-op-45213-DAP                                                     Tunica County       Mississippi   /s/ James R. Segars, III
                        Pharmaceuticals USA, Inc. et al
                      Bolivar County, Mississippi v. Teva
1:20-op-45214-DAP                                                     Bolivar County      Mississippi   /s/ James R. Segars, III
                        Pharmaceuticals USA, Inc., et al
                         City of Marion, Illinois v. Teva
1:20-op-45215-DAP                                                      Marion city          Illinois     /s/ Peter J. Mougey
                      Pharmaceutical Industries, Ltd. et al
                     Town of Dandridge, Tennessee v. Teva
1:20-op-45216-DAP                                                    Dandridge Town       Tennessee         /s/ Matt Conn
                      Pharmaceutical Industries, LTD. et al




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  Case Number                      Case Caption                            Plaintiff              State             Signed by

                       Town of Cleveland, Alabama et al v.
1:20-op-45217-DAP     AmerisourceBergen Drug Corporation et            Cleveland Town            Alabama          /s/ Matt Conn
                                       al
                       Town of Cleveland, Alabama et al v.
1:20-op-45217-DAP     AmerisourceBergen Drug Corporation et              Gurley town             Alabama          /s/ Matt Conn
                                       al
                       Town of Cleveland, Alabama et al v.
1:20-op-45217-DAP     AmerisourceBergen Drug Corporation et             Priceville town          Alabama          /s/ Matt Conn
                                       al
                            City of Killen, Alabama v.
1:20-op-45218-DAP     AmerisourceBergen Drug Corporation et              Killen Town             Alabama          /s/ Matt Conn
                                         al
                     Ard v. Teva Pharmaceuticals USA, Inc. et
1:20-op-45220-DAP                                                Sheriff Of Livingston Parish   Louisiana     /s/ D. Blayne Honeycutt
                                       al
                        City of Daphne, Alabama v. Amneal
1:20-op-45227-DAP                                                        Daphne City             Alabama      /s/ Mary Beth Mantiply
                             Pharmaceuticals, LLC et al
                         Wayne Farms, LLC v. McKesson
1:20-op-45229-DAP                                                    Wayne Farms, LLC           Oklahoma        /s/ T. Roe Frazer II
                                 Corporation et al
                      Poarch Band of Creek Indians v. Amneal
1:20-op-45231-DAP                                                Poarch Band of Creek Indians    Alabama        /s/ T. Roe Frazer II
                             Pharmaceuticals, LLC et al
                           Frederick County, Virginia v.
1:20-op-45233-DAP                                                     Frederick County           Virginia         /s/ Kevin Sharp
                               Mallinckrodt PLC et al
                         Scott County, Mississippi v. Teva
1:20-op-45238-DAP                                                        Scott County           Mississippi   /s/ James R. Segars, III
                          Pharmaceuticals USA, Inc., et al
                             City of Lakeport et al v.
1:20-op-45242-DAP     Amerisourcebergen Drug Corporation et             Lakeport City           California      /s/ Peter J. Mougey
                                        al
                        Municipality of Cidra, Puerto Rico v.
1:20-op-45244-DAP                                                           Cidra               Puerto Rico      /s/ Randi Kassan
                             Purdue Pharma L.P. et al
                      Municipality of Adjuntas, Puerto Rico v.
1:20-op-45245-DAP                                                          Adjuntas             Puerto Rico      /s/ Randi Kassan
                             Purdue Pharma L.P. et al
                    Fond du Lac Band of Lake Superior
                                                                  Fond du Lac Band of Lake
1:20-op-45250-DAP Chippewa v. Teva Pharmaceuticals USA,                                            Ohio         /s/ T. Roe Frazer II
                                                                     Superior Chippewa
                                Inc. et al
                             City of Clearlake et al v.
1:20-op-45251-DAP     Amerisourcebergen Drug Corporation et             Clearlake City          California      /s/ Peter J. Mougey
                                        al

1:20-op-45255-DAP City of Dublin et al v. Cephalon, Inc. et al           Dublin City            California      /s/ Anne Andrews

1:20-op-45255-DAP City of Dublin et al v. Cephalon, Inc. et al           Murrieta city          California      /s/ City of Murrieta

                           Town of Poughkeepsie v. Teva
1:20-op-45260-DAP                                                    Poughkeepsie Town          New York        /s/ Shayna E. Sacks
                          Pharmaceuticals USA, Inc. et. al.
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                         Attalla city           Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                      Camp Hill town            Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                     Cedar Bluff town           Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                         Centre city            Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                       Fultondale city          Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al
                        Fultondale, Alabama, City of et al v.
1:20-op-45265-DAP                                                       Graysville city          Alabama      /s/ Mary Beth Mantiply
                         Amneal Pharmaceuticals LLC et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 83 of 88. PageID #: 640573
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                           Plaintiff                State           Signed by

                      Municipality of Barceloneta v. Purdue
1:20-op-45267-DAP                                                     Barceloneta             Puerto Rico     /s/ Randi Kassan
                               Pharma L.P. et al
                       City of Muscle Shoals, Alabama v.
1:20-op-45268-DAP    AmerisourceBergen Drug Corporation et        Muscle Shoals City           Alabama         /s/ Matt Conn
                                       al
                       City of Northport, Alabama et al v.
1:20-op-45272-DAP    AmerisourceBergen Drug Corporation et         Brookwood town              Alabama        /s/ Brad Ponder
                                       al
                       City of Northport, Alabama et al v.
1:20-op-45272-DAP    AmerisourceBergen Drug Corporation et           Northport city            Alabama        /s/ Brad Ponder
                                       al
                       City of Northport, Alabama et al v.
1:20-op-45272-DAP    AmerisourceBergen Drug Corporation et          Robertsdale City           Alabama        /s/ Brad Ponder
                                       al
                       Monroe County, Alabama et al v.
1:20-op-45273-DAP    AmerisourceBergen Drug Corporation et          Monroe County              Alabama         /s/ Matt Conn
                                      al
                       Monroe County, Alabama et al v.
1:20-op-45273-DAP    AmerisourceBergen Drug Corporation et          Monroeville city           Alabama         /s/ Matt Conn
                                      al
                            Town of Millis, MA v.
1:20-op-45275-DAP    Amerisourcebergen Drug Corporation et            Millis Town            Massachusetts   /s/ Peter J. Mougey
                                      al
                     Board of Education of Thornton
                                                            Baltimore City Board of School
1:20-op-45281-DAP Township High Schools, District 205 et al                                    Maryland       /s/ Cyrus Mehri
                                                                   Commissioners
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al    Bangor School Department         Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Cape Elizabeth School District      Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al            District 86              Illinois      /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al    East Aurora Public Schools       Illinois      /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al   Ellsworth School Department       Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al       Joliet Public Schools         Illinois      /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al    Maine Regional "RSU" 10          Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 13                Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 25                Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 26                Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al



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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 84 of 88. PageID #: 640574
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                          Plaintiff            State     Signed by

                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 29            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 34            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 40            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 50            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 57            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 60            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 71            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al          Maine RSU 9            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 15            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 35            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 44            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 53            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 55            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al          Maine SAD 6            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 61            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 72            Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al    Maine SAD28/Five Town        Maine   /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                              Maine School Administrative
1:20-op-45281-DAP Township High Schools, District 205 et al                                 Maine   /s/ Cyrus Mehri
                                                                  District ("SAD") 11
                          v. Cephalon, Inc. et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 85 of 88. PageID #: 640575
                         Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                              Plaintiff                 State            Signed by

                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Mason County Public Schools               Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Portland School District          Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Rochester City School District          New York        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Scarborough School Department             Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                                     South Portland School
1:20-op-45281-DAP Township High Schools, District 205 et al                                           Maine         /s/ Cyrus Mehri
                                                                          Department
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                                 St. George Municipal School
1:20-op-45281-DAP Township High Schools, District 205 et al                                           Maine         /s/ Cyrus Mehri
                                                                           District
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                                   Thornton Fractional High
1:20-op-45281-DAP Township High Schools, District 205 et al                                          Illinois       /s/ Cyrus Mehri
                                                                           Schools
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                                   Thornton Township High
1:20-op-45281-DAP Township High Schools, District 205 et al                                          Illinois       /s/ Cyrus Mehri
                                                                           Schools
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Waterville School Department              Maine         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                          City of Auburn, Alabama v.
1:20-op-45282-DAP    Amerisourcebergen Drug Corporation et                Auburn City                Alabama      /s/ Peter J. Mougey
                                      al
                      Lower Makefield Township v. Purdue
1:20-op-45284-DAP                                                 Lower Makefield Township         Pennsylvania   /s/ Joseph J. Cappelli
                                 Pharma L.P. et al
                         Poarch Band of Creek Indians v.
1:20-op-45285-DAP                                                Poarch Band of Creek Indians        Alabama       /s/ T. Roe Frazer II
                      Amerisourcebergen Drug Corporation
                         Poarch Band of Creek Indians v.
1:20-op-45286-DAP                                                Poarch Band of Creek Indians        Alabama       /s/ T. Roe Frazer II
                            McKesson Corporation et al
                          City of Foley, Alabama v. Teva
1:20-op-45287-DAP                                                          Foley City                Alabama        /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                     Dinwiddie County v. Mallinckrodt, PLC
1:20-op-45291-DAP                                                      Dinwiddie County              Virginia       /s/ Kevin Sharp
                                        et al
                     Poarch Band of Creek Indians v. Cardinal
1:20-op-45294-DAP                                                Poarch Band of Creek Indians        Alabama       /s/ T. Roe Frazer II
                                    Health, Inc.
                     District Attorney of Clearfield County v.   District Attorney of Clearfield
1:21-op-45022-DAP                                                                                  Pennsylvania   /s/ Gabriel C. Magee
                             Purdue Pharma L.P. et al                        County
                       Sheet Metal Workers Local 19 Health       Sheet Metal Workers Local 19
1:21-op-45025-DAP                                                                                  Pennsylvania   /s/ Joseph J. Cappelli
                         Fund v. Purdue Pharma L.P. et al                 Health Fund
                          Middletown Township v. Teva
1:21-op-45030-DAP                                                   Middletown Township            Pennsylvania   /s/ Joseph J. Cappelli
                         Pharmaceuticals USA, Inc. et al
                       Pennington County, South Dakota v.
1:21-op-45048-DAP                                                     Pennington County            South Dakota   /s/ Robert K. Finnell
                         Mylan Pharmaceuticals, Inc. et al
                         City of Piedmont, Alabama v.
1:21-op-45049-DAP    AmerisourceBergen Drug Corporation et               Piedmont City               Alabama        /s/ Brad Ponder
                                      al
                     Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                     Appanoose County                Iowa          /s/ Jayne Conroy
                                    et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 86 of 88. PageID #: 640576
                       Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                   Case Caption                           Plaintiff               State          Signed by

                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                            CERRO GORDO COUNTY                 Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                              CHEROKEE COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                             CHICKASAW COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                EMMET COUNTY                   Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                               FREMONT COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                               HANCOCK COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                HENRY COUNTY                   Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                  IDA COUNTY                   Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                 JONES COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                KEOKUK COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                               MADISON COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                              MUSCATINE COUNTY                 Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                               OSCEOLA COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                             POCAHONTAS COUNTY                 Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                              POWESHIEK COUNTY                 Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                               WEBSTER COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                             WINNEBAGO COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Appanoose County et al v. Allergan PLC
1:21-op-45051-DAP                                                WRIGHT COUNTY                  Iowa       /s/ Jayne Conroy
                                   et al
                    Board of County Commissioners of the
1:21-op-45055-DAP   County of Colfax v. Allergan Finance            Colfax County            New Mexico    /s/ Jayne Conroy
                                 LLC et al
                    Board of County Commissioners of the
1:21-op-45056-DAP                                                   Luna County              New Mexico    /s/ Jayne Conroy
                    County of Luna v. Allergan PLC et al

                    Board of County Commissioners of The
1:21-op-45057-DAP                                                 UNION COUNTY               New Mexico    /s/ Jayne Conroy
                    County of Union v. Allergan PLC et al

                      Strickland v. Purdue Pharmaceutical
1:21-op-45058-DAP                                                     Strickland               Texas      /s/ Jeff Musslewhite
                               Products, L.P. et al
                     City of Las Cruces, New Mexico v.
1:21-op-45059-DAP   AmerisourceBergen Drug Corporation et          Las Cruces City           New Mexico   /s/ Peter J. Mougey
                                     al
                        St. John's Riverside Hospital v.
1:21-op-45063-DAP                                            St. John's Riverside Hospital   New York      /s/ Mark A. Tate
                         McKesson Corporation et al
                       Transitions Recovery Program v.
1:21-op-45066-DAP                                            Transitions Recovery Program      Florida     /s/ Mark A. Tate
                         McKesson Corporation et al
                     Teamsters Local 456 Welfare Fund v.     Teamsters Local 456 Welfare
1:21-op-45067-DAP                                                                            New York      /s/ Mark A. Tate
                         McKesson Corporation et al                     Fund




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 87 of 88. PageID #: 640577
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                     Case Caption                         Plaintiff            State             Signed by

                          City of Calera, Alabama v.
1:21-op-45070-DAP    Amerisourcebergen Drug Coropration et            Calera City         Alabama            /s/ Matt Conn
                                       al
                      City of Gatlinburg, Tennessee v. Teva
1:21-op-45071-DAP                                                   Gatlinburg City       Tennessee          /s/ Matt Conn
                      Pharmaceutical Industries, LTD et al
                       County Board of Arlington County,
1:21-op-45078-DAP                                                  Arlington County        Virginia         /s/ Kevin Sharp
                       Virginia v. Mallinckrodt PLC, et al
                           City of Niceville Florida v.
1:21-op-45081-DAP    AmerisourceBergen Drug Corporation et           Niceville City        Florida        /s/ Peter J. Mougey
                                       al
                     Russell, KY et al v. Abbott Laboratories
1:21-op-45094-DAP                                                    Russell City         Kentucky      /s/ Michael D. Grabhorn
                                       et al

1:21-op-45109-DAP Village of Lexington v. Actavis LLC et al        Lexington Village        Ohio          /s/ Leslie O. Murray

                      City of Brewton, Alabama et al v. Teva
1:21-op-45113-DAP                                                Brewton (AL), City of    Alabama          /s/ Keith Jackson
                          Pharmaceuticals USA, Inc. et al
                      City of Brewton, Alabama et al v. Teva
1:21-op-45113-DAP                                                Semmes (Al), City Of     Alabama          /s/ Keith Jackson
                          Pharmaceuticals USA, Inc. et al

1:21-op-45118-DAP Threadgill v. McKesson Corporation et al            Threadgill         Washington       /s/ W. Wylie Blair

1:21-op-45119-DAP     Vincent v. McKesson Corporation et al            Vincent            Kentucky        /s/ W. Wylie Blair
1:21-op-45121-DAP     Rubin v. McKesson Corporation et al              Rubin              New York        /s/ W. Wylie Blair
1:21-op-45122-DAP     Rubin v. McKesson Corporation et al              Rubin              New York        /s/ W. Wylie Blair
1:21-op-45123-DAP     Rubin v. McKesson Corporation et al              Rubin              New York        /s/ W. Wylie Blair
1:21-op-45124-DAP     Farrell v. McKesson Corporation et al            Farrell           Pennsylvania     /s/ W. Wylie Blair
                                                                                                             /s/ Patrick D.
1:21-op-45125-DAP     Funston v. McKesson Corporation et al            Funston            Missouri
                                                                                                              McMurtray

1:21-op-45126-DAP    Burcham v. McKesson Corporation et al             Burcham             Indiana        /s/ W. Wylie Blair

                     Moser et al v. McKesson Corporation et                                                  /s/ Patrick D.
1:21-op-45127-DAP                                                     Moser et al          Florida
                                       al                                                                     McMurtray

1:21-op-45128-DAP    Aanestad v. McKesson Corporation et al            Aanestad           California      /s/ W. Wylie Blair

1:21-op-45129-DAP    Rowaihy v. McKesson Corporation et al             Rowaihy            Missouri        /s/ W. Wylie Blair

1:21-op-45130-DAP     Calkins v. McKesson Corporation et al             Calkins           Missouri        /s/ W. Wylie Blair

1:21-op-45131-DAP    Carpenter v. McKesson Corporation et al           Carpenter          Maryland        /s/ W. Wylie Blair

1:21-op-45132-DAP    Chapman v. McKesson Corporation et al             Chapman            Alabama         /s/ W. Wylie Blair

1:21-op-45133-DAP Covington v. McKesson Corporation et al             Covington           Missouri        /s/ W. Wylie Blair

1:21-op-45134-DAP     Creech v. McKesson Corporation et al              Creech           New Mexico       /s/ W. Wylie Blair
                     City of Millbrook, Alabama et al v. Teva
1:21-op-45135-DAP                                                   Millbrook City        Alabama          /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                     City of Millbrook, Alabama et al v. Teva
1:21-op-45135-DAP                                               Wetumpka (AL), City of    Alabama          /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                        City of Fairhope, Alabama v. Teva
1:22-op-45002-DAP                                                    Fairhope City        Alabama          /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                      Elmore County, Alabama et al v. Teva
1:22-op-45003-DAP                                                   Elmore County         Alabama          /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al
                      Elmore County, Alabama et al v. Teva
1:22-op-45003-DAP                                                  Randolph County        Alabama          /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al

                      Board of County Commissioners of the
1:22-op-45004-DAP                                               TORRANCE COUNTY          New Mexico        /s/ Jayne Conroy
                     County of Torrance v. Allergan PLC et al




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   Case: 1:17-md-02804-DAP Doc #: 5547-1 Filed: 07/29/24 88 of 88. PageID #: 640578
                        Amending Plaintiffs Seeking Leave to Add the OptumRx Defendants


  Case Number                    Case Caption                          Plaintiff           State           Signed by

                     City of East Brewton, Alabama v. Teva
1:22-op-45005-DAP                                                 East Brewton City       Alabama       /s/ Keith Jackson
                         Pharmaceuticals USA, Inc. et al

1:22-op-45009-DAP    County of Coryell v. Walgreens Co. et al       Coryell County         Texas      /s/ Jeffrey B. Simon

1:22-op-45010-DAP County of Kendall v. Walgreens Co. et al          Kendall County         Texas      /s/ Jeffrey B. Simon

                       City of Roanoke, Alabama v. Teva
1:22-op-45011-DAP                                                   Roanoke City          Alabama       /s/ Keith Jackson
                        Pharmaceuticals USA, Inc. et al
1:22-op-45015-DAP      Eddy County v. Allergan PLC et al           EDDY COUNTY           New Mexico     /s/ Jayne Conroy
                      City of Columbiana, Alabama et al v.
1:22-op-45016-DAP    AmerisourceBergen Drug Corporation et         Columbiana city        Alabama        /s/ Matt Conn
                                      al
                      City of Columbiana, Alabama et al v.
1:22-op-45016-DAP    AmerisourceBergen Drug Corporation et           Helena City          Alabama        /s/ Matt Conn
                                      al
                      City of Columbiana, Alabama et al v.
1:22-op-45016-DAP    AmerisourceBergen Drug Corporation et           Pelham city          Alabama        /s/ Matt Conn
                                      al
                       City of Saraland, Alabama v. Teva
1:22-op-45017-DAP                                                    Saraland City        Alabama       /s/ Keith Jackson
                        Pharmaceuticals USA, Inc. et al
                      City of Bay Minette, Alabama et al v.
1:22-op-45018-DAP    AmerisourceBergen Drug Corporation et         Bay Minette City       Alabama       /s/ Brad Ponder
                                       al
                      City of Bay Minette, Alabama et al v.
1:22-op-45018-DAP    AmerisourceBergen Drug Corporation et           Loxley town          Alabama       /s/ Brad Ponder
                                       al
                      City of Bay Minette, Alabama et al v.
1:22-op-45018-DAP    AmerisourceBergen Drug Corporation et         Summerdale town        Alabama       /s/ Brad Ponder
                                       al
                       City of Gulf Shores, Alabama v.
1:22-op-45019-DAP    Amerisourcebergen Drug Corporation et         Gulf Shores City       Alabama     /s/ Christina D. Crow
                                      al
                       City of Childersburg, Alabama v.
1:22-op-45020-DAP    AmerisourceBergen Drug Corporation et         Childersburg City      Alabama       /s/ Brad Ponder
                                       al

                     Board of Education of Boardman Local        Board Of Education of
1:22-op-45023-DAP                                                                           Ohio        /s/ Cyrus Mehri
                      Schools et al v. Cephalon, Inc. et al     Boardman Local Schools

                     Board of Education of Boardman Local
1:22-op-45023-DAP                                                Liberty Local Schools      Ohio        /s/ Cyrus Mehri
                      Schools et al v. Cephalon, Inc. et al




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